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                          Exhibit “I”
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                                    I Defendants Document Request Page 2 of 196
 ~R.ICi   .11. ~IEPINS, I.~.
 i\'I'TORNEY i'\.T LAW

BOARD CERTIFIED BUSINESS BANKRUPTCY LAW
TEXAS BOARD OF LEGAL SPECIALIZATIONS



12770 COIT ROAD, SUITE I 100
DALLAS, TEXAS 7525 I
(972) 991-5591   FAx:   (972) 991-5788
ERIC@EALPC.COM




                                                             December 11, 2019


            Mr. Mark Weisbart
            12770 Coit Road
            Suite 541
            Dallas, Texas 75251


                        Re:    In re: Muhammad Siddiqi, case 19-42834


            Dear Mark:

                        Pursuant to your request of November 21, 2019, please find the following:

                        1.      Tax returns for the Debtor for 2015, 2016 and 2017.

                        2.     The tax return for Hiba Entertainment in 2015 and bank statements.

                        3.     Amended schedules with additional requested detail.

                        4.     Car Titles

                        5.     Proof of payments on Ford Vehicles by Debtor's brother. The brothers name is
                               Muhammad A. Siddiqi, 3020 Big Town Blvd., Mesquite Texas 75150 Phone 214-
                               727-7763.

                        6.     Final Judgment in the Ropal Lawsuit.

                        7.     Debtor's Divorce Decree.
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     8.     Debtor cannot access his bank statement because of the freeze on the account, but
            we got as many as we could and his Wife's statements are enclosed.

     9.     Debtor has no employment agreement with Eagle Protections Group, Inc.

     10.    Copy of Debtor's passport.

     11.    Formation documents for Eagle Protection Group, Inc.


     Please let me know if you need any additional information.
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              1.
          2015, 2016,
           2017 Tax
           Returns
                  Case 21-04077                                 Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                   Desc Exhibit
                                                                 I Defendants Document Request Page 5 of 196

      & 1040                   Depa,tmeotottheTreasury-lntemalRevenueService                                       (99)
      u.                       U.S. Individ ual Income Tax Return
  _F....;orc...lh;;.;ec..y""ee"'r_J....
                                                                                                                                 2015
                                    an__._1-0ec....;.;c.•3.;..1..;.,;;;.;2oc..1.;.::s._or__oth;.;;.c;ec..rt11X;;;.;.;..yea:..:.;:;.r....;be!li..=·n
                                                                                                                                                           0MB No. 1545-0074               !RS Use Only-Oo not Write or staple ,n !h,s space.
                                                                                                                                                     ""--,-- ------- ~-dln -'g.___ _ _ _--"._20'- -----1--S
                                                                                                                                                ...Ml9_.
    Your first name and initial                                                                                                                                                                             _ee__    se_.p_a_ra_t_e_ln_s_tru_c_lion_s_._ __
                                                                                                                                                          l.nl name
                                                                                                                                                                                                            'l'Ollr IIOCIIII aeur!ty number
      MUHAMMAD                                                                             SIDDI QI
   Ua /oint mtum, spouse's first name and Initial                                         Last name
                                                                                                                                                                                                                              -2222
                                                                                                                                                                                                     Spouse's social SCl<:urity number


                                                                                                                                                                                                         A Make sure the SSN{s) above
      1109 LAKE STREAM DR                                                                                                                                                                                A  and on line 6c are correcl
   C.ty, town Of post office. state. and ZIP code. If yoo have a lbr&.gn address. also
                                                                                       complete spaces below (sll'l< inrtuJctions).
                                                                                                        Preal~ntlal Election Campaign
   PLANO                           TX                              7 5 O7 5
 -----------------------,------                                                                    Cheek here if you. or )l"llA' spouse if felmg
  Foreign country name          - - - -  - -  - , -  -  -   - -  - - - - - 1 ) 0 0 \ l l y , w e n t $3to9010tll isfund.Chec ,;ng
                                    Forelgn proVince/slatf!lcoun!y            l'Oteign postal code a box below will not change ywr u,x or
                                                                                                                                                                                                     refund.
                                                                                                                                                                                                                            You                Spouse
                           X Single                                                                                                  4         Head ol household (will! qualilving person). {See instrueti<l<IS-l II
 Filing               :                                                                                                                        the qualifytng pe!Son Is a
                                Married filing jointly (even if only one had income)                                                                                            ut not your dependent, enier this
 Status               3
                                                                                                                                               ti'tild's name here.
 Check only one
 box.
                                Married fifing separately. Enlefspouse's SSN ab1We
                                                                                                                                   ►  .....---- ---- -
                               end full name t\ele.        ►                                                                        5
 Exempt ions                       6a      X Yourself. If someone can claim you as a dependent, do not check
                                    b        Spouse . .               . . . . , . __ . . . . . . _                                                                                                                          :e~\~~"
                                                                                                                                                                                                                            No, of ehHdren
                                                                                                                                                                                                                                                       1
                                      c    Depende nts:                                                                                                                                                                     oo6cwho:
                          (11 First name                                 Lastoame                                                                                                                                           • Jived with yow
                                                                                                                                                                                                                            e did not livtt with -
                                                                                                                                                                                                                            you duo to divorce
 If more lllan iour                                                                                                                                                                                                         or ..parallon
 dependents. see                                                                                                                                                                                                            (ue Instructions)
 instructions and                                                                                                                                                                                                           Depandents on &c
 Checkhere      ►□                                                                                                                                                                                                          not •mtered above
                                                                                                                                                                                                                            Add numbers
                                      d   Total number of exemptions claimed                                                                                                                                                on lines
                                                                                                                                                                                                                            above            ►
                                  7       Wages, salaries, lips, etc. Attach form(s) W-
 Income
                                  8a      Taxable interest Attach Schedulrt B 1f requi
                                   b      Tax-exempt Interest Do not includH on line 8a
Attach Form(s)
W-2 here. Also                    9a      Ordinary dividends. Attach Schedul1s B if required                                                   .. ..  ~         ,   '   . . . . . . ..
                                                                                                                                                                                 ~                   ~


attach Forms                       b      Qualified dividends • . . • . .
W-2Gand                         10        Taxable refunds. credits, or                  offs                                                   . L~L ----- -t''"' "''"'I
1099-R if tax                                                                                                                                                                                                10
                                11        Alimony received . . • • .
was withheld.                                                                                                                                                                                                11
                                12
                                                                                                                                                                                                             12
                                13
If you did not
get a W-2.                      14
                                                                                                                             . If not required, check here
                                                                                                                                                                                       ► □                   13
                                                                                                                                                                                                             14
see instructions.               15a
                                16a
                                                                                                                        ----- --1 b Ta,;able amount                                                          15b
                                                                                               ;;;:...i._ _ _ _ _ _ _ _ _..J                        b Taxable amount                                         16b
                                17                                                                    hips, S Corporations. !rusts, etc. Attach Schedule E                                                    17
                                18                                                          Schedule F                                            . . . . . . . • • . .                                      18
                                19
                                                                                                                                                                                                              19
                                                                                                                         ____ ___, b Taxable amount                                                          20b
                               21


Adjuste d
                               22
                               23
                                                                       ts in lhe far right column for line~ "{ through 21. This is your total Income
                                                                              . . . . . . . . . .. ... . . . . . . .. .                              23
                                                                                                                                                                                                 .           21
                                                                                                                                                                                                             22                   162,1 98
                               24                                 expenses of reservists, performing artists, and
                                                                                                                                                 t---+ ----- ----- -
Gross
Income                                                       emment officials. Attach Form 2106 or                  ;noo-EZ                       .24
                               25         Health savings account deduction. Attach. Form B889                                                    t---+
                                                                                                                                                 _2_s__
                                                                                                                                                        ----- -----
                               26         Moving expenses. Attach Foon 3903 . . .. • . . • .                                                     l'--"2" -6-t-- ------- fi
                               27         Deductible part of self-employment tax. Attach Schedule SE                                             ~27--t-_ _ __;..._ _ _ _r
                               28 Self-employed SEP, SIMPLE, and qua!ifled plans                 i--2_ 8-i-- ------ -
                               29 Se!f-employed health insurance d~on                            1--29 -+---- -~~-- -
                               30 Penafty on ear1y withdrawal of savitigs                        i--3__0 - + - - - - - ~ - - - t
                              31a Alimony paid b Recipient's SSN ►~-·------- t--3_1a_
                                                                                                           _ _ __
                              32  IRA deduction • . . . . • . • . , :.                              32
                              S3  Student loan interest df;lduction . • Z . •
                                                                                                 t--+- -----
                                                                                                 i-,-:3'-- 3-+---- -..~ - - - - '
                              34  Tuition and fees. Attad, Form 8917 -: . .                         ;34
                              35  Domestic production activities deduction. AFaeh Foon SOOl · 1--';,...     ,.+--"-- ----'"'-- --t:
                                                                                                 ,__35_....__ _ _ _ _ _ _---i'
                              36  Add lines 23 through 35 • . • . • •
                                                                                                                                  i--3_6____ ____ __
                              37 Subtract line 36 from line 22. This is your adjusted gross Income .
                                                                                                                              ►      37                                                                                         162,1 98
For Disclosure, Privacy Act, and Paperwo rk Reductio n Act Notice, soo
EEA                                                                    separate instructio n$. '                                                                                                                              Form 1040 {2015;'
                Case 21-04077                           Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                    Desc Exhibit
                                                         I Defendants Document Request Page 6 of 196
  Form 1040(201 5)MUHAM MAD                             SIDDIQ I                                                                                                                    -2222 Pa e2
                             38          Amount from line 37 (adjusted gross income)" . • • .
  Tax and                                                                                                                                                                             162,19 8
                             39a         Check { 8Youwe re born before January 2, 1951,
  Credits
                                         If:            Spouse was born before January 2, 1951,
                                    b    If your spouse Itemizes on a separate return Of you were a dual-status anen. check here
      Standard                                                                                                                   • . . ► 39b
      Deduction              40          ltemiud deduction s (from Schedule A} or your standard deduction (see left margin)
      for.
                                                                                                                                                                      40          12 , 15 3
                             41          Subtractlin e40fromlin e38 . . • . • . • • . . . . . • • . . . • . • • • .
                                                                                                                                            • . • . • •               41        150,04 5
      •People who            42          Exemption s. If line 38 is $154,950orle ss, mulllply $4,000 bylhe numbetori line 6d. Otherwise. see
      check any                                                                                                                                 instructions          42            4 , 000
      !>ox on fine           43          Taxable income. Subtract line 42 from line 41. lfline 42is more than line 41, enter-0-
      39aor39bo r                                                                                                                                                     43        146, 045
      who can be
      Claimed as a
                             44
                            45
                                         Tax(seeins tructions). Check if any from: a QFonn(s)/18 14 b DF01T11497 2C
                                         Alternative minimum tax (see ins1ructions). Attach Form 6251
                                                                                                                                           O ____ _                ,__44--t_ _ _ _3_3~,_9_6_4_
      dependent,                                                                                                                                                     45
      see                   46           Excess advance premium tax credit repayment Attach Form 8962                           • •
      Instructions.                                                                                                                                                  46
                            47          Add lines 44, 45, and 46 . . . • • . • . • • .                  . . . . .          ,----,_.;...--'-'--__,;.-'-
      • All others:                                                                                                                                  ►-+,,47 _ _ _ _3_3~,_9_6_4_
                            48          Foreign tax credit. Attach Form 1116 if required                • . • • •            48
      Single or
      Mamedfiling           49          Credit for child and dependent care expenses. Attach Form 2441
                                                                                                                             49
      separately,
      $6,300                so          Education credits from Form 8863, line 19 . • . • . . . .                            50
      Married filing        51          Retirement savings conlribu!Jons credit Attach Form 8880                             51
      jointly or
                            52                                                                                            r---t--: ---
      Qualifying                        Ctu1d tax credit Attach Schedule 8812, if required                                i-::5;;;.2-+-~
      widow(er).            53          Residential energy credil Attach Fonn 5695
      $12,600
      Head of
                            54          Other credits from Fonn: a   D   3800     b   D   8801      c   D ___
      household,            55          Add lines 48 through 54. These are your total credits
      $9,250
                            56          Subtract line 55 from line 47. If line 55 is more than line 47. enter
                                                                                                                                                               ►       56                     33,964
                            57          Self-employment tax. Attach Schedule SE
                                                                                                                                                                       57
 Other                      58          Unreported social security and Medicare tax from Fonn:
                                                                                                                                                                       58
 Taxes                     59           Additional tax on IRAs, other qualified retirement plans. etc.
                                                                                                                                                                     59
                           60 a         Household employment taxes from Schedule
                                                                                                                                                                    60a
                              b         First-time homebuyer credit repayment. A
                                                                                                                                                                    60b
                           61           Health care: Individual responsibility (see Ins
                            62          Taxes from: a     O  Form 8959 b            F O                                                   00                         61
                                                                                                                                                                     62
                           63           Add lines 56 throu h 62. This is our total tax
                                                                                                                                                                       63                   33,964
Payments                   64           Federal income tax withheld from Forms W-2 and 1099
                           65           2015 estimated lax payments and am
 lfyoo have a
 qualifying                66a          Earned Income credit (EiC)
 child, attach                  b       Nontaxable combat pay election .
 ScheduteEIC.
                                        Additional chifd tax credit. A
                                        American opportunity er
                           69
                           70
                           71           Excess soci
                           72
                           73

Refund
                                                                                                                                                                                          42,149
                                                                                           63 from lne 74. This is the amount you overpaid                                                 8,185
                                                                                                                        check here    . ►                                                     8,185
                                                                                                                        Checking □ Savings
Direct deposit?        ►
See
instructions.

Amount                                     ou owe. SubCract line 74 from line 63. For details on how to pay, see instructions
You Owe                    79   Estimated tax penalty (see instructions)    • . • . • . . • • . .     79
Third Party
Desi nee
                           Do you want to allow another person to discuss this return with the IRS (see instructions
                           =~n,:.S                                                                        ~,:
                                                                                                                     )?                                  !;J Yes. Complete,..b_e..,.low_. ~-.--:;ac_ .,

                            nder penalUes of pe~uiy, I dedare that I have examined this return and aecompanying sehedu
                                                                                                                                                 ~=~cp'/:tficaUon           ►
                                                                                                                           es     and slatemenls, and to Ille bes! my knowledge and belief.
Sign                       thoy are true. com,ct, and complete, Declaration of preparer (ollw than lllxp&Y<lf) ls ba$8d
                                                                                                                        on Bii lrafocmatlon of whieh Pfl11)8!'!1r hes any knowledge,
                           Your signature
Here                                                                                         Data                       Your occupation                                     Daytime phone number
                           41931                                                                 6-22-2 016 ECURITY SUPERVISOR
~~~~; See              Spouse's signature. If a joint relUm. both must sign,
Keep a copy for                                                                              Dale                      Spouse's OCCOJ)a6ori                                 [d&ntlly ProteetiM PIN (~oe insU
your records.
                           Pn,pere,'o signature


Paid                         RS Easle                                                                                           6-22-2 016
Preparer
                           Pnnvrype pniparets name        R S Eas 1 e
Use Only               Flnn'sname                ►        TAX FILING Servic es                                                                            Finn's EIN    ►
                       Firm's address            ►        7 3 6 N Main
                                                          Dunca nville                     TX 75116                                                        Phooeno.    972-29 8-2161
EEA
                                                                                                                                                                                     orm 1040 (2015)
             Case 21-04077                    Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                        Desc Exhibit
                                               I Defendants Document Request Page 7 of 196
   SCHEDULE A                                                         Itemized Deductions
   (Fonn 1040)
   Otpaitmentotlhe T-1111'
                                   ►   Information about Schedule A and its separate instructions Is at www.lr
                                                                                                              s.gov/schedulea.
                                                                                                                                              2015
   1n1en111 ~SeM ce 199)
                                                                     ► Attach to Form 1040.
                                                                                                                                           Attachment
   Name(s) lhowrl on Fann 1040                                                                                                             Sequen ce No.    07
  MOHAMMAD SIDDI I
  Medlcal                    Caution. Do not Include expenses reimbursed or paid by others.
  and                   1 Medical and dental expenses (see instructions)           . • • • • • • .
  Dental                2 Enter amount from Fonn 1040, line 38 ...._2__._ _ _ _
  Expenses                                                                                _ __
                        3 Multiply fine 2 by 10% (.10). But If el1her you or your spouse
                                                                                         was



                             :~ ==~es }................ ";,
                             bom before January 2, 1951, rrnltlply line 2 by 7.5% (.075)
                                                                                         instead
                        4    subtract line 3 from lne 1.
                                                      If line 3 Is more than line 1, enter -o-
  Taxes You             5    state and local (c:heck only one box):            ·
  Paid
                                                                                                      i---;.s__-c1~2_1___,;.l_
                        6 Real estate taxes (see instructions) • • • . • . • •- . •
                                                                                    . • • • • • • -··i-,-;; 6-+---'l l
                        7 Personal property taxes • . • . • • . . . . . ;. . •
                                                                                    . • • . . . .
                        8 Other taxes. List type and amount ►-----
                                                                                   ---           --
                        9    Add lines 5 lhro h 8     • • . • • . . • .
 Interest           10 Home mortgage interest and poi,ts reported to you on Form 1098                                                            6,81 2
 You Paid           11 Home mortgage Interest not reported to you on Form 1098. If paid
                            to the person from whom you bought lhe home, see inStructi
 Note,                                                                                 ons
 Your mortgage              and show that person's name, Identifying no., and address
 Interest
 dedUctiOn may
 be !lmlted (see
 lnsl/WtionS}.
                    12 Points not reported to you on Form 1098. See in
                            special rules • • • • . • • • • • • . • • • • • •
                                                                                                        12
                   13       Mortgage insurance premium s (see instructi ons)
                                                                                                        13
                   14       Investment Interest Attach Form 4952 If required. (See instructi
                                                                                            ons.)       14
                  15 Add lines 10       h 14
                  16 Gifts by cash or check. If you made                                                                                         5 341
Gifts to
Charity              see instructions • • • • • • • • • • • • .
                                                                                                      16
If you made a     17 Other than by cash or check. If a
gift and got a       instructions. You must attach
benefit for ii.
                                                                                                      17
                  18 Carryover from prior year
see lnstruclions. 19                                                                                  18
                     Add lines 16 through 18
Casualt y and
Theft Losses 20
                                                        =~4684=..;~·~See=ins=truc=tions=~--~·..:..· . • . . • . • • . . • • .
Job Expens es 21                                       - job travel, union dues, job
and Certain                                      2106 or 2106-EZ if required. (See instr.)
Miscellaneous
Deductions 22
                   23
                                                                                                                         91


                   24                               .••..••....•..•.....
                   25 Enter amount from Fonn 1040, line 38
                                                                                                                         91
                                                                    25          16 2 19 8
                   26 Multiply line 25 by 2% (.02) • • • . • • . • • • • • • • •
                                                                                      • • • • .        26           3,24 4
                   27 Subtract line 26 from line 24. If llne 26 is more than line 24,
                                                                                      enter -0--
Other              28 Other - from list In instructions. List type and amount
                                                                                                                                                        0
Miscella neous
                                                                                      ►~-----------
Deduct ions

Total        29 Is Form 1040, Rne 38, over $154,950?
Itemize d
Deduct ions
                         0
                      No. Your deduction is not Umited. Add lhe amounts in the far right
                      for lines 4 through 28. Also, enter 1h18 amount on FOffll
                                                                                           counn
                                                                                1040, line 40.
                 l:&I Yes. Your deduction may be limited. See the Itemized Deductions
                      Worksheet in the instructions to figure the amount to enter.
             30 If you elect to itemize deductions even \hough they are less
                                                                                                               l----
                                                                                 than your standard
                 deduction, check here • . • • . . . • . • • • . • • • • • , • •
                                                                                          . . • . • . • . • • • •
For Paperwork Reduction Act Notice, see Fom1 1040 instruct
                                                                 ions.                                                          Schedu le A (Form 1040) 2015
EV.
              Case 21-04077                 Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                  Desc Exhibit
                                             I Defendants Document Request Page 8 of 196
     SCHEDULE E                                         Sup plem enta l Inco me and Los s                                                                          0MB No. 1545-0074
     (Form 1040)                       (From rental real estate, roya!lles, partnerships, S corporations,
                                                                                                estates, trusts, REMICs, etc.I
     Department d the Treasury
     lntemal Revenve SoMce (99)
                                                       ► Attach to Form 1040, 1040NR, or Form
                                                                                                 1041.                                                                  2015
                                  ►   Information about Schedule E and Its separate Instruc
     Name(s)Shown on l'lltum                                                                tions Is at www.ir s.gov/s chedul ee.

     MUHAMMAD SIDD IQI
     .• ,,iH;r,l~{• Income or Loss From Rental Real Estate and Royalties                                                                                                2222
                                                                                 Note: If you are in the business of renting personal propert
                  Schedule C or C-EZ (see instructions). if you are an individu                                                              y. use
                                                                                 al. report farm rental income or loss from Form 4835
      A Old you make any payments in 2015 that would require you                                                                       on page 2, line 40.
                                                                     to Ille Form(s) 1099? (see instructions)
      S If "Yes; did ou or wiH u file    uired Fonns 1099?
                                                                                                                                           Yes       !Xl No    D
       1a     Physical address of each pro erty (street, ci • state,                                                                       Yes       fXl No    D
                                                                     ZIP code}
         A      114 CARSON CT ROWLBTT TX 75088
         B
         C
         1b        Type of Property        2 For each rental real estate property listed
                                                                                                             Fair Rental                 Person al Use
                   (from list below          above, report the number of fair rental and
                                             personal use days. Check the QJV box                                                                                         QJV
         A                                                                                                                                       Days
                           1                 only if you meet the requirements to file as          A
         B                                   a qualified joint venture. See instructions.                                                           0                        D
                                                                                                   B
         C                                                                                                                                                                   D
                                                                                                   C
 Type of Property:                                                                                                                                                           □
 1 Single Family Residence                   3 Vacation/Short-Term Rental             5
 2 Multi-Fami Residence                      4 Commercial
      Income:
     3    Rents received   . .                                                                                                                                           C
  4       Ro altias received
 Expenses:
  5       Advertising . • • . • .. . • ..
  6       Auto and travel ( see inslructions)
  7       Cleaning and maintenance
  8       Commissions .. . . . . . • ..
  9       Insurance . . . . • . . . . . . .
                                                                                           9                1 778
 10       Legal and other professional fees
                                                                                          10
 11       Management fees . . . . . . . .
                                                                                          11
 12       Mortgage interest paid to banks, etc. (se,; inst;ructi
                                                                                          12
 13       Other interest
                                                                                          13
 14       Repairs .
15 Supplies.
                                                                                          14                  929
16
                                                                                          15                3 451
         Taxes ..
17
                                                                                          16                2 279
         Utilities .
                                                                                          17
18
                                                                                          18                5 196
19
                                                                                          19
20
                                                                                          20           13 633
21
         result is a (l

                                                                                          21           ( 12 199)
22
                                                                                          22   (
23a Total of ail amounts          on line 3 for all rental properties
  b Total of all amounts reported on line 4 for a!! royalty propert
                                                                                                                                         1,43
                                                                                                               i.;2::::3:::.::a:.+-_ ___;::..L.      4 ~
                                                                                                                                                .;:.;::..::
                                                                   ies                                         i.;2::: 3:::b~ .;,_-- ----l
     c Total of all amounts reported on line 12 for ali propert
                                                               ies                                            i.;2:::: 3:::.::c :.J.."-- ------
  d Total of all amounts reported on line 18 for. al! properties
  e Total of all amounts reported on line 20 for all propert
                                                                                                                                      5 196
                                                                                                              (..;2::3 :.:d:.+- ---=:..i.     .:=-=--1
                                                             ies                                              ,.2;;;;.;3e""'""..__13,6
24 Income. Add positive amounts shown on line 21. Do                                                                              .....;;;;;.._33
                                                                                                                                                -'-''-,,---r
                                                              not include any losses
25       Losses. Add royally losses from line 21 and rental real                                                                                    24                           0
                                                                 estate losses from llne.22. Enter total losses here.
26       Total rental real estate and royalty Income or (loss}. Combin                                                                              25                           0
                                                                               e lines 24 and 25. Enter the result her~.
         If Parts ll, Ill, IV, and line 40 on page 2 do not apply to you.
                                                                          also enter !his amount on Form 1040, fine
         17, or Form 1040NR, line 18. Otheiwise, Include this amount
                                                                            In the total on line 41 on page 2                                       26
For Paperw ork Reduc tion Act Notice , see the separa                                                                                                                            0
                                                                te instruc tions.                                                           Schedu le E (Form 1040) 2015
EEA
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  Form     4562                                               Depreciation and Amor tizatio n                                                                0MB No. 1545-0172
                                                        (Including Information on Listed Property)
  Department d the Trea11uiy                                       ► Attach to your tax return.                                                                      2015
  1ntema1 Revenue Servie. (99)    ►   Information about Form 4562 and its separate Instructio ns Is at www.lnJ.g                                             Attachment
  Name(s) shOwn on retum
                                                                                                                ov/form4562.                                 Sequence No.          179
                                                                                      BusineN or activity to which this form Allates
  MUHAMMAD SIDDI QI                                                                       RENTAL HOUSE
         _, 4J     Election To Expense Certain Propert y Under Section 179                                                                                                     2222
                   Note: if you have an listed prope , complete Part V before you complete
                                                                                                       Part I.
     1   Maximum amount (see instructions) • . • . • • . • . • • . • • . • . . • .
                                                                                                .•..                                                 1
     2   Total cost ofsection 179 property placed in service (see instructions)          . • • . . . .                                               2
     3   Threshold cost of section 179 property before reduction in limitation (see instruction
                                                                                                      s)                                             3
     4   Reduction in limitation. Subtract line 3 from line 2. Jf zero or less_, enter -0-
                                                                                                                                                    4
     5   Dollar limitation for tax year. Subtract line 4 from line 1. If zero or'less, enter -0-.
                                                                                                  If married filing
         separa      . see Instructions • . . . • .
                                                                                                                                                    5
     6                           (a) Descnption of property                          (b) Cost (businoss use onfy)



     7   listed property. Enter the amount from line 29           . • . . . . . . . . . . . . . .
     8   Total elected cost of section 179 property. Add amounts in column (c).
                                                                                lines 6 and 7
  9   Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . .
                                                                                  . . . .                                                           9
 10    Carryover of disallowed deduction from line 13 of your 2014 Form 4562
                                                                                                                                                    10
 11    Business income limitation. Enter the smaller of business income (not less than
                                                                                       z                                                            11
 12 Section 179 expense deduction. Add lines 9 and 10, but do not enter more
                                                                                                                                                    12
 13   Ca over of disallowed deduction to 2016. Add lines 9 and 10, less line 12
 Note: Do not use Part II or Part Ill below for list

                                                                                                                                                         See instructions.)
 14      Special depreciation allowance for qualified property (other th
         during the tax year (see instruction s) . . .
                                                                                                                                                    14
 15      Property subject to section 168(f)(1) election
                                                                                                                                                    15
 16      Other depreciation includi ACRS)
                                                                                                                                                 16


 17      MACRS deductions for assets placed in service in
 18      If you are electing to group any assets placed in s
         asset accounts. check here
                          Section B • Assets Pia
                                                                                 depredalioo
                                                                     usinen/hwestmenl use        d) RecolltllY   l•l   Conventioo      (f) MethOd
                                                                     only..iee Instructions)                                                             (DI Dep.-«iation dedl.lctton
                                                                                                    period
 19a




                                                                                                                                           S/L
                                                                           149,1 00                                      MM                S/L                           5,196
                                                                                                                         MM                Sil
                                                                                                                         MM                S/L
                                                                                                                         MM                Sil
                                                                             2015 Tax Year Usln the Alternative Depreciation S tem
20a Class life
                                                                                                                       SIL
  b 12- ear
                                                                                            12 yrs.                    SIL
  C 40-year
                                                                                            40yrs.        MM           SIL
'lllt!JV}       Summa           See instructions.)
21    Listed property. Enter amountfrom tine 28 . • . . . • . . • • . . . . .
                                                                                    . • • • • • • . . • • . •                  21
22    Total. Adel amounts from line 12, lines 14 through 17, lines 19 and 20 in column
                                                                                       (g), and line 21. Enter
     here and oo the appropriate lines of your return. Partnerships and S corporatio
                                                                                      ns• see,--ln_s_tru,...c_li_on_s'-----+....,;,,,
23 For assets shown above and placed fn service during the current year, enter
                                                                                    the
     portion of the basis attributable to section 263A costs            . • . • . • • . .      23
For Paperwork Reduction Act Notice, see separate Instructions.
                                                                                                                                                                Form 4562 (2015)
EEA
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  Fonn                  8582                             Passi ve Activ ity Loss Limita tions                                                         OMSNo. 1545-1008
                                                                                  ►
                                                                       See separate Instructio ns.
 Department of lhe Treasury                                      ► Attaeh to Form 1040 or Form 1041.                                                       2015
                                                                                                                                                       Attachment
 1n1ema1 Revenue SIINic:e (99)     ►   Informati on about Form 8582 and its instructio ns is available at www.irs.g
                                                                                                                    ov/form8582,                       Sequence No.   88
 Name(s) ~ on return

 MUHAMMAD SIDDIQI
                                                                                                                                                             2222
 }P.iffil:!t 2015 Passive Activity Loss
               Caution: Com e Worksheets 1, 2, and 3 before completin Part I.
Rental Real Estate Activities With Active Participation (For the definition of
                                                                               active participation, see
Special Allowance for Rental Real Estate Activities In the instructions.)
 1a Activities with net income (enter the amount from Worksheet 1,
       column (a))      . . , • • . . . • . . . • .   . . • . • . • . • . .            1a
   b Activities with net loss (enter the amount from Worksheet 1, column
      (b))    •......•....•....•.•.........
                                                                                       1b
   c Prior years unallowed losses (enter the amount from Worksheet 1,
      column (c)} . . • . • . • • . • . • • . . . • . • . • . • . • .
  d Combine lines 1a, 1b, and 1c
Commercial Revitalization Deductions From Rental Real Estate Activities
 2a Commercial revitalization deductions from Worksheet 2, coJumn (a)
  b Prior year unallowed commercial revitalization deductions from
      Worksheet 2. column (b)
  c Add lines 2a and 2b
All Other Passive Activities
 3a Activities with net Income (enter the amount from Worksheet 3,
      column (a))      . . . . . . • . • • • . . . . . . .
  b Activities with net loss (enter the amount from Worksheet 3,
             (b)}    ........................•.
     c       Prior years unallowed losses {enter the amount from Workshe
             column (c})      . . . . . • . • • . • • • . . • .
     d       Combine lines 3a, 3b, and 3c
                                                                                                                                               3d
 4           Combine lines 1d, 2c, and 3d. If this line is zero or                    p here and include this form with
             your return; all losses are allowed, Including any p                     nallowed losses entered on line 1c,
             2b. or 3c. Report the losses on the fonns and sc                                sed       ....•...•.                               4       {12 199)
             If line 4 is a loss and:
                                                                                   zero or more), skip Part II and go to Part Ill.
                                        • Line                                   and 2c are zero or more), skip Parts II and Ill and go to line 15.
Caution: If your filing s                  ·                                 ou lived with your spouse at any time during the year, do not complete
Part II or Part Ill. !nstea
HtlL}                    Speci                                    · Real Estate Activities With Active Particip ation
                 Note:                                            sitive amounts. See instructions for an example.
 5       Enter the sma
 6       Enter $150,                                       , see Instructions
 7       Entermodifi                                   but not less than zero (see Inst.)
         Note: rt line                         equal to line 6, skip lines 8 and 9,
                                                o tolfne8.
 8                                                         ... .     .            .
                                                                         . . . . . . .                     ..
 9
                                                                              ~




                                                                                                                ---- ---- ---- -!
                                          o not enter more lhan $25,000. If married filing separately, see instructions
10       Enter the smaDer of lfne 5 or line 9        . . • . • • . • . • . • . • . . • . • • • . • . • . • . . . • .
         If line 2c is a loss, go to Part Ill. Otherwise,                                                                                                             0
                                                            to line 15.
•· ;;···: JU>            Special Allowan ce for Comme rcial Revitalization Deduct ions From Rental
                                                                                                   Real Estate Activitie s
                   Note: Enter all numbers in Part III as oositive amounls. Seetheexa m ple for Part 11· th .
                                                                                                         In emstructions.
11       Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately
                                                                                              , see instructions                               11
12       Enter the loss from line 4       .... ..   .        .. .        .
                                                                     . .. .. ...                           ~
                                                                                                                                               12
13       Reduce line 12 by the amount on line 10             .... . .                 .. " .   ~   ~       ~
                                                                                                                                               13
14       Enter the smallest of line 2c (treated as a positive amount), fine 11 , or line 13
                                                                                                                                               14
         ~   '.~.;,;f    Total Losses Allowed
15       Add the Income, if any, on lines 1a and 3a and enter the total           ..       .
                                                                              '                    ~   ~
                                                                                                                              ..         ..    15
16       Total losses allowed from all passive actlvltles for 2015. Add lines 10, 14,
                                                                                      and 15. See
         instructions to find out how to report the losses on your tax return       . .                    ~    .   ~   ..   ..    . .   . .   16                     0
For Paperwor k Reductio n Act Notice, see Instructio ns.
                                                                                                                                                      Form 8582 (2015)
EEA
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   Fo,m   8879                                               IRS e-ffle Signature Auth oriza tion
                                                                                                                                                               OMBNo.1545-0074
                                                              ►
                                                              Do not send to the IRS. This Is not a tax retum.
   Oepi,rtment of 1119 T,-ury
                                                                  ► Keep lhls form for your records,
   1n1ema1 Revanue StMce               ►   Information about Fomt 8879 and its instructions Is at www.lrs.gov/for
                                                                                                                 m8B79.                                               2015
  Submission Identification Number (SID)          ►
  Ta,cpayer's name

                     MUHAM.MAD SIDD I I·
  Spouse's name                                                                                                                              -222 2

                     Tax Return Information      - Tax Year Endin December 31, 2015                     (Whole Dollars On                     )
      1     Adjusted gross Income (Form 1040, line 38; Form 1040A. line 22; Form
                                                                                    1040EZ. line 4)    . . . . . . . . . .                   . .
      2     Total tax (Form 1040. line 63; Form 1040A. fine 39; Form 1040EZ, line                                                                                 162 198
                                                                                   12) • • • . • • . • . • . . . . • . .                     . .
      3     Federal Income tax withheld (Form 1040, line 64; Fomi 1040A, line 40;                                                                        2            33 964
                                                                                   Form 10401:2. line 7) • . • • . . • •                     . •
      4     Refund (Fonn 1040. line 76a; Form 1040A. line48a; Form 1040EZ                                                                                3            34 01.l
                                                                             , line 13a; Form 1040-SS. Part I, line 13a)
            Amount you owe Form 1040, ine 78; Form 1040A, line 50; Form                                                                                  4              8 1.85
                                                                            1040EZ               , line 14                                               5
  Under penalties of petjury, I declare lhat I have examined a copy of                                                                                  our return
                                                                           my elewonl c indlvldual Income tax retum and
  for lhe tax yes ending December 31, 2015, and to !he best of my                                                                                       slaternenfs
                                                                        knowledge and belief, It is true, cooect. and co
 In Part I above are the amounts from my electronic Income
                                                                 tax return. l consent to allow my Intermediate                                    the amounts
 originator (ERO} to send my return to the IRS and to receive from                                                                                tronle return
                                                                        1he IRS (a) an acknowleclgement of recel
 reason for any delay In pl'O<:MSing the return or refund, and (c)                                                                             transmission, (b) the
                                                                      the date
 Agent lo Initiate an ACH electronic funds withdrawal {direct debit) entry of any refund. If applicable, 1a                                  designated Financial
 of my federal taxes owed on this relllm and/or a payment of estimated to the financial lnStilution                                          software for payment
                                                                              lalc, and lhe llnanclal Institution
 remain In full fon:e and effect unlll I notify the U.S. Treasury Financial                                                               . This aulhot'izallon ls to
                                                                            Agent
 Treasury F1118nclal Agent at 1-888-353-4537. Payment cancellatlon requeststo terminate the                                                   I must contact the U.S.
                                                                                      must be received                                   the payment ( setllemen!)
 date. I also aulhorlze the financial lnsthltlans Involved In the procenm
 answer inqultles and resolve Issues related to the payment I further
                                                                            g of the electronic pa                                           tton necessary to
                                                                           acknowledge !hat the pers                                      Is my signalUre for my
 electronic: Income tax return and, If ar>Pkable. my Eleclronlc Funds
                                                                          Wdhdrawal



 T~er 's PIN: check one box only           RTN= 1110 0 0 6                                             , 1596 9217 73
  ~ I authorize TAX FILIN G Serv ices
                                                                                                       generate my PIN 419 31
                                     ERO firm name                                                                          Enter five dlgllS, but do
     as my signature on my tax year 2015 electronically
                                                                                                                            not enter all zeros
      0   I wHI enter my PIN as my signature on my tax year                        onically filed income tax return. Check lhls box only if you are
          entering your own PIN and your return is filed
                                                                                         PIN method. The ERO must complete Part Ill below.

 YDII" slgnawre ►    --- --- --- --1 1                                                                                     Date ►    06-2 2-20 16
 Spouse's PIN: check one box only
      0   I authorize_ _ _ ___,,,.,....--:::::z                   t--_ _ _ _ _to enter or generate my PIN ~--,. ----. --.-
                                                                                                                           Enter five digits, but do
                                                                                                                           not enter all zeros
      0   I wlll enter my PIN as                            tax year 2015 electronically filed income tax retum. Check lhls box only
                                                                                                                                       if you are
          entering your ON                                filed using the Practitioner PIN method. The ERO must complet
                                                                                                                           e Part Ill below.
Spouse's signature ►
                                                                                                                           Date ►   ___ ___ ___ ___
                                              ctitioner PIN Method Returns Only - continue below
flilffm           Certification and Authentication - Practitioner PIN Method Only

ERO'• EFIN/PIN. Enter your slx-diglt EFIN fullowed by your
                                                           ftve-dgit self-selected PIN.                                      7533 03-0 0002
                                                                                                                                            Do not enter all zeros
I certify that the above numeric ent,y is my PIN, which Is my signatur
                                                                        e for the tax year 2015 electronically filed income tax return for
the taxpayilr(s) indicated above. I confinn that I am submitting this
method and Publicatlon 1345, Handbook for Authorized IRS e-fi/e
                                                                      return In accordance            Willl
                                                                                                  lhe requiremenls of 1he Practitioner PIN
                                                                       Providers of Individual Income Tax Reuns .

ERO's signatu"e ►       R S Easl ey                                                                                        Date ►   06-2 2-20 16
                                                   ERO Must Retain This Form - See.Instructions
                                    Do Not Submit This Form to the IRS Unless Requested To Do
For Paperwork Reduction Act Notice, see your tax return lns1r\!c1
                                                                                                                                 So
                                                                 ions.
EEA                                                                                                                                                           Form 8879 (2015)
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           1040
                                            Overflow Statement
       Name(s) M shown on retum
                                                                                 Your Social Secunty Number
       MUHAMMAD SIDD IQI
                                                                                                              2222

                                       SCHEDULE E~ LINE 14 - REPAIRS
      Desc ripti on
      PAINT                                                                                  Amou nt
      CLEANING AND MA.INT                                                             $                       500
                                                                                                              429
                                                                       Tota l:        $                       929




OVERFLOW.l.D
      Case 21-04077     Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06             Desc Exhibit
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                                  W-2 Detail listin g                                      2015

                                                                                      Social Security No.
MUHAMMAD SIDD IQI
                                                                                                        2222
                                                     FEDERAL
T/S            E   loyer Name             Gross         WJH      State Code   Gross                     W/H
T     AGLE PROTECTIVE GRP INC            127,7 15      28,35 2
T     ELPING RESTORE ABIL ITY             3.4, 483       5,659
                                         162,1 98      34,01 1
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                                                  Excess Social Sec urit y• Nonrailroad
                                                                                        Employees
                                                           Worksheet - 1040, Line 71
                                                                              for    r records
                                                                                                                                      2015
       Name
         MUHAMMAD SIDDIQI                                                                                            SSN
       If you are filing a joint retum, you must figure                                                                                     -22 22
                                                        any excess tax withheld separately for each
       spouse. DO NOT combine amount of both
                                                      husb and and wife. .

  1.       Add all social security tax withheld (but
                                                     not more than $7,347.00
           for each employer). This tax should be show
                                                           n In box 4 of your
           Forms W-2. Enter the total here . • . ..
                                                         . • • • • . • • . • • . • . • . • • •
                                                                                               . • . . • • • • • • • . . . . . • • •
                                                                                                                                     . 1. _ _ _ _9__,_,_4-'-8_5
 2.       Enter any UlCOlleeted social security 1ax
                                                      on tips or group-term
          life insurance included in the total on Form
                                                        1040, line 62 • • . • • . • . • • • •
                                                                                               • • • .                 . . . . . . . • 2.
 3.       Add lines 1 and 2. If $7,347.00 or less,
                                                    stop here. You cannot claim
                                                                                                                                      -- -- -- -
          the credit . . • . . . . • . . . • •
                                               • . • . . • •• . . . • . . . • •• • . .
                                                                                                                                   3. _ _ _ _9_._,4.......;..8-"-5
 4.      Social security limit • . • • • . • . . • .
                                                     • . • • • • ., , • . • • • • • • • • .
                                                                                                                                   4. _ _ _ _s_1__
                                                                                                                                                ,34_7_.oo_

 5.      Excess. Subtract line 4 from line 3
                                                                                                              • •.• .•• •• , 5. _ _ _ _2_._,_1_38_




WK_EX_S$.LD
EEA
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                                                   Estimated Tax Worksheet for Next Year                                                            2015
         MUHAMMAD SIDDI I
                                                                                                                                                    -2222
       1.     Wages . . • . . . . . . . . . . . . ; . . . . . • . . . ·. . . . . . . . • • . . .
                                                                                                 . . • , . . . . . . . . .                   1.
       2.     l ~ and D ~ irll:Ome • • . • . • . , • . • . • . , , • . • • . • ,
                                                                                   • • • • , . • • • • • • . • . • • . • . :t
       3.     Capllal gain ~ . • • , . • . • . , . , • . • . . . • , • . . • . .
                                                                                 . . • . . • • • , . . . , , , . , . . . . . :t
       4.    TaxabtelRAIPeruskm im::ome • • • . . • • • . . . . . . • . . . • • , , . . . . ;
                                                                                                 .•. , • , . • . . . , • , . . .             4,
       II.   Tax:abieSocial ~ ineQme • • . • • • • • • • • . . • • • • . . . . . • . • •
                                                                                                 •.. , • , •.•.• , . . .                     5.
       S.    Suslness lnoo,me . • • • • • • • • • . • . . • , • , • . •. . • . , • . • . . • • •
                                                                                                 • • • . • . • . • . • . . . • . .           El. _ _ _ ···-·_ _
       1.    Of.her tnoome . , • • • • • • • • , • , • . . • . • . • . • . • . . . . . . . . •
                                                                                                 • . . • • • • . . . , . , , , . .           1.
       8.    Tomi lnc:orne (add Imes 1 lhru 7) . . . . . , . . . . , . • . • . . . . , . . . .
                                                                                               .•••...•... ,                  ... , . .      {l.
      9,     Ad~tsk >fncam e • • . . . . . . . . • . • . . . . . . • • . •
                                                                                          . , , .• . . . . . • • .                           ii.
      10.    Adjusted ~ inoome (wblrad h 9 from !ine 8)
      11.    E~am otmt{ ex~ • $4.050) .
                                                         . . . . . • .                                                    . . . . . . . .   t°' ___ --·.__
                                                            . .•.•....••.....••••                                        . .......          11.
   12.       ~ Mn& 11 from b         10 . • . . • . . . • . . . . . . . • • . . . , • , . . . . • •
                                                                                                                           . , .....
   13.       l ~ or ~ dool1clloo . . . . . • . . . . . • . . . . . . • . .
                                                                                      . . . .                                ' .. , ..
                                                                                                                                            12.
                                                                                                                                            13.
                                                                                                                                                   --- ---
   14,       Pmjer.:,1:oo Ta~lnco me{subl racUne i3 from ~ne 12) . • . . . . . . • . . .
                                                                                                                     ......••...            14.
  15.        Pro,;ctw Tax. . . . . .     . . . . . . . . . • . . . . . . . . . . . . . . . • . •                     . . . . . . . . . , . 15, _ _ _ - - ~
   't6.      A J ~ lilfinimum Tax        . . . . . . . . . . . . , . • . . . . . . . .                            . • . . . . . . , . . 18,
  17.        Total tax • • , . • • . •   . . . • • • . . . . . . . . . . • . . . . . . •
                                                                                                                        . . , . . . • . 17.
  11,        PmJeCted Credits • • • •       • . . • . . . • . • • . • . • • • . • . .                     . • • . . . . . • • . • . . . 18,        --·· ··-- -
  1&.        Sublra!ct line 11HiQffl !!tie 15 • • • • • • . • , . • . • . • .
                                                                                                        • . . . . • . . • . • . • , • . 19.
  20.        P ~ Se Tax• Taxpayer . • . . . . . . . • . . . . .
                                                                                                    • . . . . . . . . . . . . . . . . . . • 20. _ _ _ _ __
  21.        ~SETax~~ . . . . • • . . . . . • . . . .                                               • . • . . . . . . • . . . . . . . . . . 21. _ _ _ _ __
  22.        ~ ll!lxes ••••• , . • . • • . . • . • • . •
                                                                                                    • • . • , • . • . . • . • . . ... 22.
  23.t.      Add lines HHfill'O\JIQ!h 22 • • • • • . • . • .                                        • • • • • . • • • . • • • . ., . . , • 2311.   ------
        b.   Earned iricoroo Cfflldit. additional child i.x Cfedlt. fuel tax ~It. n e t ~ 1ax credit,
             n11\.indable Amwiean opportunity credit. and r                     from Form 8005        . . . . . . . . • . . . . . . . , . 23b.
        c.   Totaa 201 e• ~ tax. SootraeU!ne 23b from                            era or kml entef -0- . . . . . .
  24a.       Multiply !lne 23c by 90% (6' 213%                                          • . . • . . . . . . . . 248. _ _ _ _ __
        b.   Requi red~~ tbando oprior                                                  ) .. 1:10~. . . . 24b.
        c.
                                                                                                                              37,36 0
             Required annu al~ to avoid a
                                                                                                            . . . . . . . . ..
                                                                                                                             . . . . . No. _ _ _3_'_7~'._3_6_0_
  2$.        Projll!etOO ~Hl9 . . . . . . • . . .                                                              . , . . . . . . . . . . . ~- ___3_4_,-0_1_._1_
  26.        f't'OjectecH-4eH.ax (sublracU ne 25                   . • . . . . , .• , •      . . . . • .   . . . . • • . . . . . . . . . 8. _ _ _J_,~3_4_9_

Estim ates will                                                   $3,34 9. This is line 26.
Use scree n ETA                                      e accur ate estim ates of next year' s incom e,
deduc tions,                                          If scree n ETA is used, lines 1.-24a of
t.his works                                         autof illed .




WK_ES.LO

EEA
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• Item was disposed                                                                   Depreciation Detail Listing                                                                                 2015
of during current year.                                                                              RENTAL HOUSE                                                                                 PAGE 1
                                                                                               For your records on
Name(s) es allown on 11111111
                                                                                                                                                                   Social ltGllfil)' number/EIH
      MUHAMMAD SIDDIQI                                                                                                                                                         ■-2222
No.                                                               BuslneH       Section   Depredation                              Current   Accumulated         Prior               Bonus               AMT
                DesCllplkrl     Date       Cost      I Salvage                                            Life   Method    Rale
                                                                  pa'Gelllage     179        8asis                                  depr,    OePf'IICi9liOn    expense           depnldallon           Cunent
  1     114 CARSOII CT ROWI.ET,01012015    149,100                 100.00                     149, 100127.SISL        MM   3.485     5,196         5,196                                                   5,196
 2      114 CARSON CT LOT     01012015      30,0001 30,oool        100.00                               0 0                0




      !Totals                             179, 1001 30,000                                   149,100                               s. 196        5._196                                                    5!. 196
      Land Amount                                                                                                                                                              ST ADJ:
      Net Depreciable Cost                179,100
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                                                      TAX RETURN COMPARISON                                                                       2015
                                                                2013 / 201412015
   Name(s) as shown on return
 MUHAMMAD SIDDI QI

                                                        2013.                          2014                          2015
  Fifing Status . . . . .
                                                                                                  1                             1
  Number of Exemptions
                                                                                                  1                             1
  Income
    Wages,salaries,tips,etc..                                                           94,20 6                    162,1 98                              67,99 2
    Taxable interest and dividends
    Taxable state and local refunds
    Alimony . . . . . . .
    Business income (Joss) . . . • .
    Gains (iosses) . . . . • . . . .
    Pensions and IRA distributions
    Rent and royally income (loss) . •
    Part S-corps, trusts income (loss) •
    Farm income (loss) . . . • . . .
    Unemployment compensation .
    Total SS benefits received .
    Taxable SS benefits.
    Other income (loss) ••
   Total Income . . . . .
 Adjusted Gross Income
                                                                                                                                                        67,99 2
   Hall of self-employment tax
   IRA deduction. • . . . . •
   Other adjustments . . • •
   Total Acfusted Gron Income
                                                                                                                  162,1 98                              67,99 2
 Deductions
   Medical deductioos .
   State and local taxes
                                                                                                                       6 812                                   522
   Interest. . . . . . .                                                                 5 956                         5,341                              ( 615)
   Contnbutions .•••                                                                     l;OOO                                                          (1,000 )
   Employee business expenses .                                                          3,705                                                          (3 705)
   Standard or other deductions
   Total Itemized or Standard Ded                                                     16,95 1                        12 153                             (4,798 )
 Exemption Amount • •
                                                                                       3 950                          4,000                                 50
 Tax and Credits
   Taxable Income                                                                     73,30 5                     146,0 45                             72,74 0
   Tax . . . . . . .                                                                  14,18 8                       33,96 4                            19,77 6
   Credits . . "     .

   Other taxes • •
   Total Tax ..                                                                       14,18 8                       33 964                             19,77 6
 Payments
  Withholdings                                                                        15 999                        36,14 9                            20 150
                                                                                                                     6,000                              6,000
   Earned income credit
    other payments and credits . .
 Overpayment         . . . . . . . .       1------- -'----lC --<-,.;8 :...;:;l;: ;..;l=-i_ _ _...:;8"-'-,_;;;l::..::8:...;:;5~_ _ _ _...:;6_!,,...:;3....:.7....:
   Overpayment Applied • • .                                                                                                                                     4'----j.
 Refund . . . . .                                                                       1,811                         8 185                              6,374
 Balance Due . . .
 Resident State                                                                    TX
   Taxable income .
   iax • . . . • . • • .
 Refund • . . . . . .
 Balance Due • . .
Marginal tax rate • .                                                                   25.00                         28.00                                3.00
Effective tax rate . •                                                                  19.00                         23.26                                4.26
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                                                      Modified AGI Worksheets for Form 8962
                                                                  (Keep for your records)
                                                                                                                                                       2015
   Name as Shown on n!lum
                                                                                                                                            Social Security Number
  MUHAMMAD SIDD IQI
                                                                                                                                                              2222
                                                 Taxpayer's Modified AGI Worksheet • Line 2a
                              1. Enter your adjusted gross income (AGI)" from Form 1040,
                                                             °'
                                  line 38: Form 1040A, line 22; Fo,m 1040NR,
                                  line37 . • • . . • . . . . . • . • . . • . . . • • . . •
                                                                                           . .               1. _ _1_6_2=,_1_9_8_
                             2. Enter any tax-exempt interest from Form .
                                  1040, line Sb; Form 1040A, line 8b: or
                                 Form 1040NR, fine 9b . . . . • . . . . • 2. _ _ _ _ _ _
                                                                                            _
                             3. Enter any amounts from Form 2555, lines
                                 45 and 50, and Form 2555-EZ, .
                                 line 18 . . . . . . . . . . . . . . . .       3.
                             4. Enter the excess, if any, of Form 1040,
                                lines 20a over 20b; or Form 1040A. lines
                                 14a over 14b . . • . • . • . • . . . •        4.
                             5. Add lines 1 through 4. Enter here and on Form 8962,
                                llne2a .•
                                                                                                                      -..=::. ,,;;;;.L ~

                                                                                                                        -Line2 b
                            1. Enter the AGI* for your dependents from Form 1040,
                                line 38; Form 1040A. fine 22; Form 1040EZ. rine 3; and
                                Form 1040NR, line 37 • . . . . • • .
                                                                                                            1.
                            2. Enter any tax-exempt interest for your
                               dependents from Form 1040, line Sb; F
                                1040A, line Sb; Form 1040EZ, the amount
                               written to the left of the line 2 entry space;
                               and Form 1040NR, line 9b • .
                            3. Enter any amounts for your d
                                                                              . 2.
                                                                                    --- --- -
                               from Form 2555, lines 45 and
                               Form 2555-EZ, line 18 .•                         3.
                                                                                    --- --- -

                                                                             . 4.
                            5. Add lines 1 thr                                      --- --- -
                               line2♦.                                                 . ........
                            Wor
                                                                                                            5.
                                                         Id Incom e as a Percentage of the Federal Povert y line
                                                                                                                  --- --- -

                                                                                            . . . . . . .        1. _ _l_;6;...;;2c...,,._1_9;;;_8_

                                                                                    2. _ _1_1..._,_6_7_0_
                                                                                            . . . . . . .    3. _ _4_6~,....6_8_0_
                                         unt on line 1 more lhan the amount on

                               • Yes. The amount on line 1 above is more
                              than 400% of the Federal poverty line. Enter 401
                              here and on line 5 of Form 8962.
                              • No. Divide the amount on line 1 by the
                              amount on line 2. If the result Is not a whole
                              percentage, do not round, use only the first two
                              numbers after the decimal point. Enter the,result
                              here and on fine 5 of Form 8982. For example,
                              for 0.9984. enter the result as 99; for 1.8565,
                              enter the result as 185; for 3.997, enter the
                              result as 399 • . • . • . • • • • . • . • . • . . . . . • • . . . .
                                                                                                  . • 4. _ _ _ _4_0__1
                                                                                                                     .........

WK•.119621.1.D
EEA
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                                           Federal Su                              2015
        Name(s) as shown on retum                                                                 PGO l
                                                                                  Your Social Security Number
        MUHAMMAD SIDD IQI
                                                                                                                2222
                                          All Sou rce Gros s Inco me                      WK TTLGI
        Des crip tion
        Wages and tips                                                                         Amount
        Sche dule E rent                                                                    162, 198
                                                                                              1,43 4
        Tota l
                                                                                            163, 632




sn.uo
             Case 21-04077                          Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                               Desc Exhibit
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     §    1040                Ot>partment ol the Treasury• lntema! Revenue SeMce
                                                                                                      (99)
     ~                        U.S. Indiv idua l Income Tax Return
     For the year Jan. 1-Dec, 31, 2016, or otMttax yea, beginning
                                                                                                                2016                                             IRS Use Only-Do not wnte or stapl" In this space.
                                                                                                              , 2016, ending                     • 20
     Your first name and Initial                                                                                                                                          See separate inslructions.
                                                                               Last name
                                                                                                                                                                         Your social IMICUrity -
      MUHAMMAD                                                                  SIDD IQI
    If a joint retum. spouse's first name and initial
                                                                               Last name
                                                                                                                                                                                                -222 2

    Home address {number and street).

      6701 HAVENHURST CT                                                                                                                                                   A Make sure the SSN(s) above
    City, town or post office. stale, and ZIP eode. If you have a
                                                                                                                                                                          &   and on line 6c are correct.
                                                                  foreign   address. also complete spaces below (see instructions).
     ALLE N                                                                                                                                                                    Preslden dal Eleellon Campaig n
  ---      --- --- --- --- --- --- --- ---
                                       TX           7 5 Q O2
                                           --- --- -~-    --- ---                                                                                                        Check here if yo..., or your $PO<lse ,I filing
  Foreign coontry name
                                                                                           Foo,ign province.1:statelcounty                                  --1 a box betow will not change your tax or
                                                                                                                                              Foielgn postal cooe
                                                                                                                                                                         jointly, want$3to goto1hls fund. Cl'ie<:king

                                                                                                                                                                         refund •            You
                      1 X Single                                                                                                                                                                                Spouse
  Filing                                                                                                           4       Head of hovsehOld (with Ql.llllifylng person). (See irlslM:tion
                                                                                                                                                                                          s ) If
                      2       Married fifing jointly (even if only one had income )                                        the qualifying person ls a        but not ycur dependent. enter this
  Statu s                                                                                                                  child's name here.
  Chock only one
                      3       Mamed filing separately. Enter s!)QUse·s SSN above
                                                                                                                  ►~~--------
  box.                        and full name hera. ►
                                                                                                                   S       Q
                                  6a         Yourse lf. If someon e can ciaim you as              a dependent, do not
  Exem ptions                                                                                                                                                                                 &x•• checked
                                    b        Spouse . .                                                      • . • • . . . .                                                                  on Sa and Sb                1
                                    c     Dependents:                                                                                                                                         No. of children
                                                                                                                                                                                              on Ile who;
                          (1) Firsl name                       Lasl name                                                                                                                      e llved with you
                                                                                                                                                                                              0 did not live wtlh -
  If more lhsn four                                                                                                                                                                           you -    to clivon:a
                                                                                                                                                                                              orHpara tlon
 depeMen is, see                                                                                                                                                                              {$ff ,nslnlclk> ....)
 inslruclion$ and
                                                                                                                                                                                              Dependents on lie
 ctiecH.ere ► 0                                                                                                                                                                               not entored attove



 Incom e                          7
                                  8a
                                    d    Total numbe r of exemptions claimed
                                         Wages , salaries, tips, etc. Attach Form(s) W
                                         Taxable interes t Attach Schedule 6 if requir
                                                                                                                                                                                             =. .
                                                                                                                                                                                              Acid numbers

                                                                                                                                                                                                       ► 1
                                                                                                                                                                                                    149, 100
 Attach Form(s )
                                    b    Tax-exempt interes t Do not include on line 8a
 W•2 here. Also                  9a      Ordinar y dividen ds. Attach Schedule B if required
 attach Forms                      b     Qualifie d dividends . . . . • .
                                                                                                                                 9b
 W•2Gand                      10         Taxabl e refunds, credits, or offs
 1099-R if tax                                                                                                                                                                10
                              11         Alimony receive d . . . •
 was withhe ld.                                                                                                                                                               11
                             12          Busine ss income or (Joss).                              e
                                                                                                                                                                                                         1,97
                                                                                                                                                                    D _n_ _ _ _ _ __6
                                                                                                                                                                              12
                              13         Capital gain or (loss). Atta
 If you did not                                                                                   required. If not required, check here                      ►
 get a W-2,                  14                                                               7       .. ' . . . ' . . . . . ' ' . . .                                        14
 see instructions.           15a
                             16a
                             17
                                                                                      _________
                                                                                       .::......---------1
                                                                                                        ___,
                                                                                                             b Taxable amount
                                                                                                                                b Taxable amoun t
                                                                                                                                                                              15b
                                                                                                                                                                              16b
                                                                                  erships, S corporations, trusts,              etc.   Attach Schedule E                       17
                             18                                                 Schedu leF
                             19
                                                                                                                                                                              18
                                                                                                                                                                              19
                                                                                                                                                                             20b
                                                                                                                                                                             21
                                                               in 1he far right corumn for lines 7 through 21. This Is your
                                                                                                                            total Income                                      22                   151, 076
                             23.
Adjus ted                                                          .... '............                                          i---c :2~3 -1--- ----- -4f
                             24                          expenses of reservists, performing artists, and
Gross
                                                        nment officials. Attach Form 2106 or 2106-EZ
Incom e                                                                                                                         24
                             25         Health savings accoun t deduction. Attach Form 8889
                                                                                                                                25
                             26         l\lloving expens es. Attach Form 3903 . . .
                                                                                                                                26
                             21         Deductible part of self-em ployme nt tax. Attach Schedu
                                                                                                le SE                           27                               27
                             28         Self-employed SEP. SIMPLE , and qualified plans
                             29         Self-employed health insuran ce deduction
                                                                                                                                29
                             30         Penalty on early withdra wal of savings
                                                                                                                                30
                            31a         Alimony paid b Recipient's SSN ►            ___ ___ ___                                31a
                            32          IRA deduction     . . • . . • .                                                         32
                            33          Studen t loan interes t deduction . .
                                                                                                                                33
                            34          Tuition and fees. Attach Form 8917
                                                                                                                                34
                            35          Domes tic production activities deduction. Attach Form
                                                                                               8903                             35
                            36          Add lines 23 through 35          • . . • . . . • .
                            37
                          Subtrac t line 36 from line 22. This is your adjuste d
                                                                                                                                                                            36                                  27
                                                                                 gross Income .
For Disclos ure, Privacy Act, and Paperw ork Reduc
                                                        tion Act Notice, see separa te Instruc tions.
                                                                                                                                                                            37                     151, 049
EEA                                                                                                                                                                                           Form 1040 (2016)
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                                                              I Defendants Document Request Page 21 of 196
    Form 1040(20 16)MUH AMMAD                                     SIDD IQI
                                     38        Amount from line 37 (adjusted gross income) • . • •
                                                                                                                                                                                                                           2222 Page2
   Tax and                                                                                                                                       • • • • • • • . . • . • •
   Credits                           39a       Check {       0
                                                           You were born before January 2, 1952,                                                Bfind.} Total boxes
                                                                                                                                                                                                                            151 , 0 4 9
                                                                                                                                                                                            r-..;...~ ~t---... .;;;;;~- -'----'-~ -
                                               il:           D
                                                           Spouse was born before January 2, 1952,                                              Bfind.       checked           ► 39a
                                          b    If your spouse itemizes on a separate return or you were a dua~statu
                                                                                                                          s alien, check here •
      Standard                                                                                                                                     • ► 39b
      Deduction                      40        Itemized deductio ns (from Schedule A) or your standard deductio
                                                                                                                                    n (see left margin)                                                 40                     40,25 8
      for-                           41        Subtract Hne 40 from line 38        . . . . . . . . . . . . • . . . . . . . . . . . . . .
      •People who                    42        Exempti ons, rt lioe 38 is $155.650 or ress, multiply $4,050 by the number
                                                                                                                                                                                                        41                    110,7 91
      check any                                                                                                           on line 6d. Olher,,ise,
      boxonine                       43        Taxable Income. Subtract line42 from line 41. If One 42 is more
                                                                                                                                                                        see lnslruellons                42                      4,050
      39aor39 bor                                                                                              than line 41, enter-0-                                                                  43                    106,7 41
      who can be
      claimed as a
                                    44
                                    45
                                               Tax {see instructions). Check if any from: a OFo:m(sJ &&14
                                              Alternat ive minimum tax (sea instructions). Attach Form 6251
                                                                                                           b OFo,m                                          4972    cO ___ __                          44                        22,92 4
      dependent.                                                                                                                                                                                       45
      see                           46        Excess advance premium tax credit repayme nt Attach Form
                                                                                                             8962
      instructions.                                                                                                                                                                                    46
                                    47
      e All others:
                                    48
                                              Add lines 44, 45, and 46 • . . • . . . . . . . . • . . •
                                              Foreign tax credit. Attach Form 1116 if required . . . . .
                                                                                                                                                                                              ...      47                       22,92 4
      Single or                                                                                                   48
      Married filing                49        Credit for child and dependent care expenses. Attach Form 2441
      separately,                                                                                                 49
      $6.300                        50        Education credits from Form 8863, line 19 . . . . . . . .
                                                                                                                  50
      Married filing                51        Retirement savings contributions credit. Attach Form 8880
      jollllly or                                                                                                                                      51
                                    52        Child tax credit. Attach Schedule 8812, if required                             •
      Qualifying                                                                                                                                       52
      widow(er),                    53        Residential energy credit. Attach Form 5695
      $12,600
      Head of
                                    54        Other credits from Form: a   3S(l() O  b     $11()1 c   [J                 [J ____
      household,                    55        Acid lines 48 through 54. These are your total credits
      $9,300
                                    56        Subtract line 55 from line 47. If line 55 is more lhan line 47, enter
                                    57        Self-emp loyment tax. Attach Schedule SE
                                                                                                                                                                                              ►        56                       22 924
 Other                              58        Unreported social security and Medicare tax from Fonn:
                                                                                                                                                                                                       51                                   53
                                                                                                                                                                                                       58
 Taxes                             59         Additional tax on IRAs, other qualified retirement plans, etc.
                                                                                                                                                                                                       59
                                   60 a       Household employm ent taxes from Schedule
                                                                                                                                                                                                     SOa
                                         b First-time homebuy er credit repayment. Atta
                                                                                                                                                                                                     60b
                                   61         Health care: individual responsibiUty (see
                                                                                                                                                                     IB]                              61
                                   62         Taxes from: a          D
                                                                   Fonn 8959 b           F           O                                                                                                62
                                   63         Add lines 56 through 62. This is your total tax
                                                                                                                                                                                                      63                       22,97 7
 Payments                          64         Federal income tax withheld from Forms W-2 and 1099
                                                                                                                                                      64
 .---- ---·· 65                               2016 estimated lax payments and am
   If you have a              ~a
   qualifymg
                                              Earned income credit (EiC)
                              ~,-··
 '.••. Schedule
       child, attach
                  EiC.       .J    67
                                     b
                                              Nontaxab le combat pay election .

 L"..                  ...                    AdditiOnal child tax credit. A
                                   68         American opportun ity c
                                   69
                                                                                                                                                      69
                                   70                                                                                                                 10
                                   71
                                                                                                             x withheld                           1-"7..;.1- +-----='- '--;c..:.._ ;:_...+.'P:fid
                                   12
                                                                                                        0ml 4136      . . • , • , • ~7=-2 -1----- ----{:1 (;);:i'.; 'il
                                   73
                                  14
                                                                                                         ed e    D6885 d □- i.....:..;13;...i..._ _ _ _ _-41·1,·c•1•1e•,,-,1
                                                                                                         3. These are our total pa ments
Refund                            75
                                                                                                                                                                                                                              31,99 9
                                                                                                               from line 74. This Is the amount you overpai
                                  76
                                                                                                                                                                                                                               9,022
                                                                                                                                                           check here             .                                               9 022
Direct deposil?               ►
See                                                                                                                                                        Checking       □ Sa
instructions.

Amoun t                                                                                 .                      pay.see instruction
You Owe                           79     Estimated tax penal (see instructio ns)   . • . . . . • . . . .     79
Third Party                       Do you want to allow another person to discuss this return with
                                                                                                  the IRS (see instructions)?
                                  Designee·s                                                                                                                                                    Yes. Complete below.
Desi nee                          name ►
                                                                                                                                Phone
                                                                                                                                no. ►
                                                                                                                                                                                 PersOf131 denufication                ..----.--,. ......a;;;. :--,
                                  u..,., peoaNIM of perjury, I doelare that I l>lw• •,o,rinod lhio ,otum and a«orapartylr,                                                      number(PIN)                     ►
                                                                                                                           g .-uJM ""'1 .,........,.., and lo tl>e - o l 111J • ~ • and bellel.
Sign                              GC\Jl\!itufy !lat .ti emount and aouroea of lnoome t rei»IV4d during ~
                                                                                                          tu: year. Dedarati<,n of pro parer (oll'ler lha,. lu.peyo,} ill based~~ intorrnalion
                                                                                                                                                                                                       lhoy.,. 111.tO, oom>d, olld
                                                                                                                                                                                               or whidt preparer h" any knowledg,r,.
                                  YOU/ sign!llture
Here                                                                                                             Date                               YO\Jf occupalioo                                             Daytime phone numb.et
                                  11111
Joint return? See111111,-.;;;;;.......c;;;._ _ _ _ _ _ _ _ _ _ _ _                                      4-11-
                                                                                                  _ _--1---..      2017                          ECURITY SUPERVISOR
                                                                                                              :.c......- ..:.---1- -'-'----- '=---"'- ___,;;..
instruction s.                    Spouse's signature. If a joint return, both must sign.                                                                        ..c...;:: ___'-'-- -'-'--l-- ------
                                                                                                                Date                            Spouse's occupalfoo
Keep a copy for                                                                                                                                                                                               ldenUly Protection PIN (see insL)
your recoros.
                                  Preparers signature

Paid                                                                                                                                                    5-23- 2017
Preparer
                                  Print/Type preparer's name        R      s     Ea s 1 e
Use Only                          Firm'sname            ►           Tax Filin                          Serv ices                                                                         Finn's EIN      ►         81-34 34943
                                  Firm's oodress        ►           7 3 6 N Main
                                                                    Dunc anvil le, TX 75116                                                                                              ~one~.        972-2 98-21 61
EEA
                                                                                                                                                                                                                      Form 10 0           016)
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         SCHE DULE A
                                                                                  Itemized Ded uctio ns
         (form 1040)                                                                                                                        OMS !)IQ, ~74 _
                                               ►   tnformatkii'l at,Qui S c ~ A and its .-.pa n1w~
                                                                                                   ctloM ~ at-. In,4 ;r:,          v/~
                                                                                                                                               2016
                                                                                     ► Aftae bto~ 100> .
                                                                                                                                             Attoohment
                                                                                                                                             ~ No.        07
         MUHAMMAD SIDDI I
                                   c.t~lo n: Oo n« indu~ e x ~ relmoorsod or pakl
                                                                                                 by olh8!'S.
         Med o                   1 ~ arid dental ~se a (see irlstructloos)
                                                                                           • . . . • . . . . .
         and
         0.nl.tll
                                 2 Erner amount from foon 1040, line 38             Ll- --- --- -t> •
                                 3 Mul1tiplv Im 2 by 10% (0.10). But If e-llheryoo or )iOUr
         i.xp,M HS                                                                             ~ e was
                                   txlm befuru J3nua, y 2. 1002. multiply ltM 2 by 7.5%
                                                                                              (0.075) I n ~       3
                                 4 Subtract: line 3 from lne 1. lf line 3 l!S more tran line
                                                                                             1, 11mw .0.
                                 S Staw ll«ld ltl(;al (check only o~ bOx):
                                   a O !nCQ!!W: !a)l;es, «
                                        b~     Generaisa!ouaxes
                                                                      1 ,,..........,....
                                                                       J
                                                                                                                  5       1,20 4

                                 '.,    R~ estate t.l\1:i•1& (see lnstnu::!iooS} . . . • .
                                    f'ersoM I property taxes • • . . . . . . • ,
                                 5; Olher wes. List type arid ffi'Mlm t ►       __ __ __ __ __
                                 g
     Interest               10 Home IOOl1gage interest and pofflts reported to you on Form 1093                                                    7 591
    YouP ~                  11 Home mortgage inrerest oot reporte
                                                                  d to you on foon 1008. If paid
                               lio !he ~oo l'rofn whom you bought !he h.ome,
    Note:                                                                      ue instruc!loos
    Your ff'~11g l!            3!ld show hit person's mime, idenl!fying no., and
                                                                                 addres        s
    tmee~t
    d"'®el\!l.)l'\rroay
    hit limited f&II~
    ill1sTAA:tiOM)..
                           12 P-orn nm r ~ ro you oo Form 10&3.
                                                                See
                              special l'tlles • • • . • •
                           iS          ~ q1.m:met1 premiums             (see lmtrticlioflS)
                           i-4         h1~l1 ellt mtem it Attacti R,mi 4952 if reqwre
                                                                                     d. (See i n s ~ }           14
                           15 Add hs10 h                      14
   Gifts to                16           Gilt$ by cash Of chirolt. If yoo made                                                                   32 657
   Cl-t<W'ity                          iee instruel!ons • • . • • • .
                                                                                                                 16
   If yo,unade a           11          O!Mr ~ by cash o r ~ !f
   !}l!tt1ndswta                       instrucoom. You must
   ~lor -1.                                                                                                      17
                           18          Carvyo\!tll' from poor yea.
   $ill'> qifUC!i Qnli. 11                                                                                       18
                                       Md l\rm 16 Um:iu
  Casua lty and
  Theft LcoH 20
  Job Eli1;p!lnMG 21
  artdCortain
  M~lla rieou
  ~l.ldi oll$ Z!
                          23



                          25 Enlera mowil from Form 1040, iine:38 L2-'-11___._!
                                                                                    _ _ _ _ _ _,_ __,r---·W
                          26 Wtiply line25 b;t2% 11l02 ) . • . . • . . . .
                                                                                    •....••...
                          Z'f Sl.tbl!acl h :2~ from llrie 24. If line 26
                                                                          is more than lfne 24. enter -0-
 Od'ler                   28 Oflier • from !i'!lt in !nstructiOM. Ust t'Jpe Md a!ilOlJf
 ~alle Otill
                                                                                       lt   ►-----               ___ ___ __
 Oedudlor1$
              29 Is Form 1040, line la, aver$1 55,6SO ?
                 lZ! No. Yoor deduction Is not limlt9d,. Add lfle amoUl"lts in t!1tl fat righ t~
                     for llnes 4 lhrp!,jQh 28. Mso. enter ltH$ lilfflOIJflt oo Form
                 0 Yes. Yoor ~ may be limited. See lhe !~e d ~ 40.
                     Wom:she.lt rn !he lm,ll'Uetioos to !!gure ttW! amount
             30 1f yoo elect to ltemil:edectuctk>M even ttlQU!9h lhe)'
                                                                                      1040, line

                                                                                to ootel\
                                                                                                                      }
                                                                             a.--e - lhsn y o u r ~
                 doo ~n.~ here . . . . • • . • • . • • .
                                                                                     . •.••.... , ..•.
For P3pef W«t Redue tkm Act H:otictt, see Form
                                                  1040 instructions.
i':EA.
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      SCHE DULE C-EZ                                                Net Profit From Business
      (Fonn 1040}                                                                                                                                        0MB No. 1545-8074
                                                                                 (Sole Proprie torship)
     Department   or the T..asury
     lntemal Reveru,e Service        (99)
                                                  ►    Partnerships, joint ventures, etc., generally must fife Form
                                                                                                                    1065 or 1065-B.                          2016
                                                           ► Attach to Form 1040, 1040NR, or 1041.
                                                                                                          ► See Instruct ions.
     Na/lie c4 ptqlrietor                                                                                                                                              09A
     MUHAMMAD SIDD IQI
                                                                                                                                                            2222
     li.,ffifl~           General Inform ation



     YouMa yUse
     Schedule C-EZ
     Instead of
                           J                • Had business expenses of $5,000 or
                                              less,
                                            • Use the cash method of accounting,
                                            • Did not have an inventory at any time
                                                                                                                        • Had no employees during the year,
                                                                                                                        • Do not deduct expenses for business
                                                                                                                          use of your home,
                                                                                                                        • Do not have prior year unallowed
  Schedu leC                                  during the year,                                                            passive activity losses from this
  Only If You:                                                                                   And You:                     ess,and
                                            • Did not have a net loss from your
                                              business,                                                                           required to file Form 4562,
                                            • Had only one business as either a sole                                                    and Amortization, for
                                              proprietor, qualified joint venue, or                                                   s. See the instrucliOns for
                                             statutor y employee,                                                                      line 13. to find out if you


     A Principal business or profession, including product or service
                                                                                                                                       B Entvb loal-~ (-pege 2)
 SECURITY
 ---
 c   ---  ---
       name. no --· ---
          Business      --- --- --- --
                      name,     If     separate business            leave blank.
                                                                                                                                            ► 9 9 99
                                                                                                                                       0   Entw your EIN (_, page 2)

     E    Business address (including suite or room no.). Address not
           67QJ HAVENHURST CT
         City, town or post office, state, and ZIP code
          ALLEN               TX 7500 2
     F   Did you make any payments in 2016 that would require you to
                                                                     file                           ? (see the Instructions for
         Schedule C . • . • . • . . • . , • • • . • . •
  G                                                                                                                                                         Yes        No
                                                                                                                                                            Yea        No

  1       Gross receipts. Caution: If this
                                                                                      Form W-2 and the "Statutory
          employee" box on that form was
          Schedule C, lne 1, and check here
                                                                                                                     .... ► □                  1                  5 450
  2       Total expenses (see instructions).                                , you must use Schedule C
                                                                                                                                               2                  3,47 4
  3       Net profit. Subtract r
                                            ♦
                                                                     n zero, you must use Schedule C. Enter on both
          Form 1040, line 12.                                 ne 2. or on Form 1040NR. line 13, and Schedule SE,
          11.,. 2 (see ins                                    yees do not report this amount on Schedule SE, line 2.)
          Estates and
                                                                                                                                              3                   1 976
                                                      Your Vehicle. Complete this part only if you are claiming car or
                                                                                                                       truck expenses on line 2.
 4                                                le in service for business purposes? (month, day, year)
                                                                                                                    ►      01-0 1-20 16
 5       Of the !OW number of miles you drove your vehicle during 2016,
                                                                                      enter the number of miles you used your vehicle for:

     a   B~mes s _ _ _ _3~,~2_0_0__ b Commuting (see instructi
                                                              ons) _ _ _ _ _ _ _ __
                                                                                                                                  C Other                9,00 0
 6       Was your vehide avas1able for personal use during off-duty hours?
                                                                                                                                                      l!}ves       O No
 7       Do you (or your spouse) have anolher vehicle available for personal use?
                                                                                                                                                     OOves         0No
 8a      Do you have evidence lo suppart your deduction?
                                                                                                                                                     ~Yes          QNo
  b If "Yes," ls the evidence written?                 • • . • • . . .
For Paperwork Reduction Act Notice, see the separate lnatroctl
                                                                         ons for Schedul e C (Form 1040).
                                                                                                                                                     [xl Yes       O No
                                                                                                                                           Schedul e C•EZ (Form 1040) 2011
EM
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  SCHEDULE E                                                  Supp lemen tal Incom e and Loss                                                                         OMS No. 1545-0074
  (Fonn 1040}                                (From rental real estate, royalties, partnerships, S corporatio ns, estates,
                                                                                                                          trusts, REMICs, etc.)
  Department ol the Treasury                                  ► Attach to Form 1040, 104DNR, or Form 1041.                                                                   2016
  Internal Rev..-,..., s..,.,;ee (99)   ►   Informati on about Schedule E and its separate Instructio ns Is at www.lrs.g
  Name(s) sl\cWn on return                                                                                               ov/schedulee.

 MU'dAMMAD SIDDI QI
 :Patti. lrn:ome or Loss From Rental Real Estate and Royalties                                                                                                             -2222
                                                                                   Note: if you are in the business of renting personal property, use
                  Schedule C or C-EZ(see instructions). If you are an individual, report farm
                                                                                                  rental inC!)me or loss from Form 4835 on        2. line 40.
     A Did you make any payments in 2016 that would require you to file Form(s) 1099?
                                                                                              (see instructions)                                           No
     B If "Yes,• did you or will you fde required Forms 1099?
                                                                                                                                          0Yes          0No
      1a I Ph lea! address of each prop             street, city, slate, ZIP code)

       B
       C
       1b          Type of Property              2 For each rental real estate property listed                      Fair Rental               Personal Use
                    (from list below)              above, report the number of fair rental and                                                                                   QJV
                                                   personal use days. Check the QJV box                                                           Oas
       A                        1                  only if you meet the requirements to file as           A
       s                                           a qualified joint venture. See instructions.
                                                                                                                                                         0                         D
                                                                                                          B
       C                                                                                                  C
 Type of Property:                                                                                                                                                                 D
 1 Single Family Residence                          3 Vacation/Short-Term Rental                 5 Land
 2 Multi-Famil Residence                            4 Commercial                                 6
      Income:                                                                Pro ertles:                                                        B                              C
  3     Rents received . .
  4     Royalties received
 Expenses:
  5     Advertising . . . .
  6     Auto and travel {see instructions)
 7      aeaning and maintenance
 8      Commissions . . . .. .. .. •
 9      Insurance . . . . • . . . . . • .
                                                                                                      9          1,778
10      Legal and other professional fees                                                            10
11      Managementfees • . . . . • . .                                                               11
12      Mortgage interest paid to banks, etc. (see instructio                                        12
13      Other interest                                                                               13
14      Repairs .                                                                                    14          3,695
15      Supp&es.                                                                                     15
16      Taxes.                                                                                       16          5,197
17      Utilities .                                                                                  17
18      Depreciation expense or                                                                      18          5,421
19      Other (list) ►                                                                               19
20
21
                                                                                 . .   ~   . .   .   20        16,091
       result is a (I
       file Form 61                                              . . . . . . . . . . . . ·i-;.21_ _ _ _ _
                                                                                                        5.......::2~9~3--1_ _ _ _ _- I_ _ _ _ __
22     Deductible r
                                                                                                     22          5,293
23a
                                                                                                                        23a                21 384
     b Total of al! amounts reported on line 4 for all royalty properties
                                                                                                                        23b                               0
     c Total of all amounts reported on line 12 for all properties
                                                                                                                       i.;2;;;;3:.:c:..+-_ _ _ _ _ _0=-,I
                   au
     d Total of amounts reported on line 18 for all properties
                                                                                                                         23d                  5 , 4 21
  e Total of all amounts reported on line 20 for all properties
24 Income. Add positive amounts shown on line 21. Do not include any
                                                                                                                       [2~3e~~t-=.-=.=.-=.11LJ_6~:,JoE...9Ll!_~1.j1t'1!~'yJ}z.ltf:,µr~;\:;;:~Ls
                                                                               losses                                                                    24                   5,293
25 Losses. Add royalty tosses from line 21 and rental real estate losses from
                                                                                   line 22. Enter Iota! losses here                                      25                   5,293
26 Total rental real estate and royalty income or (loss). Combine lines
                                                                                24 and 25. Enter the result here.
     If Parts II. m, !V, and ~ne 40 on page 2 do not apply to you, also enter this amount
                                                                                            on Form 1040, Une
     17, or Form 1040NR, line 18. Otherwise, include !his amount in the total on
                                                                                    line 41 on pa e 2                                                   26                  0
For Paperwork Reduction Act Notice, see the separate Instructions.
                                                                                                                                                    Schedule E (Form 1040) 2016
E~
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   Schedule SE {Form 1040) 2016
                                                                                                              Attachment Sequence No. 17                                              Page   2
   Name or person With self-empl oyment income (as shown on Form
                                                                 1040 or Form 1040NR)                      Social security number of person
   MUHAMMAD SIDD IQI                                                                                       wilhself-emplo mentinoome ►
   Section B- Long Schedule SE                                                                                                                                                2222
   f~jriJ ··1 Self-E mploym ent Tax
   Note. If your only income subject to self-employment tax is church employe
                                                                                        e Income, see instructions. Also see instructions for the
   definition of church employee income.
    A If you are a minister, member of a religious order, or Christian
                                                                           Science practitioner and you filed Form 4361, but you
         had $400 or more of other net earnings from self-employment, check
    1 a Net farm profit or (loss) from Schedule F. line 34, and farm partnersh
                                                                                     here and continue with Part I
                                                                                   ips, Schedule K-1 (Form 1065},
                                                                                                                                                                                        ►    D
         box 14, code A Note. Skip lines 1a and 1b if you use the farm optiooal
                                                                                        method (see instructions)                  _1_a_ _ _ _ _ _ _ __
      b If you received social security rellrement or disabiflly benefits, enter
                                                                                  the amount of Conseivatien Reserve
         Program payments included on Schedule F, line 4b, or listed on Schedule
                                                                                           K-1 (Form 1065), box 20, code Z            1b
    2 Net profit or (loss) from Schedule C, line 31; Schedule C-EZ,
                                                                         fine 3; Schedule K-1 (Form 1065},
        box 14, code A (other than fanning); and Schedule K-1 (Form 1065-B),
                                                                                      box 9, code J1.
        Ministers and members of religious orders, see instructions for types
                                                                                    of income to report on
        this line. See instructions for other income to report Note. Skip this
                                                                                 line if you use the nonfarm
        opllonal method (see instructions) • . . . • . . . . . • . .
    3 Combine lines 1a, 1b, and 2
                                                                                                                                      2           1,976
                                           . . . . . . . . . . . . . . . . . . . . . . . . .
   4 a If tine 3 is more than zero, multiply line 3 by 92.35% (0.9235}.
                                                                                                                                      3           1 976
                                                                          Otherwise, enter am
        Note. If 6ne 4a is less than $400 due to Conservation Reserve
                                                                                                                                     4a           1,825
                                                                           Program payments
     b If you elect one or both of the optional methods, enter the total
                                                                          of lines 15 and                                            4b
     c Combine lines 4a and 4b. If less than $400, stop; you do not owe self
        Exception. If less than $400 and you had church employe e Income
                                                                                                                                ► 4c              1,825
   5 a Enter your church employe e income from Form W-2. See
       instructions for definition of church employee income
                                                                                                                                                              ~--- ---'- ---
     b Multiply line 5a by 92.35% (0.9235}. If less than $100, enter
   6 Add lines 4c and 5b          . . . . . . • . • . • . • . • . . .
   7 Maximum amount of combined wages and self-employment eami                                                                                                                 1 825
       tax or the 6.2% porllon of the 7.65% railroad retirement (tier 1) tax
                                                                             for 2016                                                                                              118,500.00
   8 a Total social security wages and tips (total of boxes
        Form(s) W-2) and railroad retirement (tier 1)
        If $ i 18,500 or more, skip lines 8b through 10,
                                                                                                                 8a           149 100
                                                                                                                Sb
   c Wages subject to social security tax {from
                                                                                                                Sc
   d Add lines       aa.
                  8b, and 8c
                                                                                                                                                         8d
  9 Subtract tine 8d from line 7. If zero or
                                                                                                                                                   ►      9                              0
 10 Multiply the smaller of line 6 or line
                                                                                                                                                         10
 11     MulUpty line 6 by 2.9% (O.~J""                .
                                                                                                                                                         11                            53
 12                                                                        here and on Form 1040, line 57, or Form 1040NR, line 55
 13
                                                                    It here and on
                                                             lne 27                  . . . . . . . . . .        13                          27
Farm Optiona l Me                           this method only If (a) your gross farm income1 was not more
than $7,560. or (b)                       s 2 were less than $5,457.
14 Maximum income for                  methods      . • . • . • . . . • . . . • . . . • . . . • . . . • •
15 Enter the smaller of: two-thirds {2/3) of gross farm income1 (not
                                                                          ress than zero) or $5,040. Also
      Jndude this amount on line 4b above           • . • . . . . . • . . . • . . . . . • . . . . . . • . . . • . .
                                                                                                                      .
Nonfarm Opttonal Method. You may use this method only if (a)
                                                                      your net nonfarm profits3 ware less than $5,457
and also less than 72.189% of your gross nonfann income~ and (b)
                                                                         you had net earnings from self-employment
of al feast $400 in 2 of the prior 3 years. Caution . Yoo may use this
                                                                         method no more than five times.
16 Subtractline 15 from fine 14         ...•...•.....•.•...•...........•
                                                                                                            ..•..                                       16
17 Enter the smaller of: two-thirds (213) of gross nonfarm income4
                                                                        {not less than zero) or the
    amount on line 16. Also include this amount on line 4b above
                                                                                        • . • • • • • • • • • • • • • • •                              .,____;.17_,__ _ _ _ _ __
1 Fl'Qm Sch. F. lin& 9. and Sen. K•1 (Form 1065~ box 14, code
                                                                    e.                             ::, Fl'Qm Seh. C, line 31; Sdl. C-El. line 3; ~ - K•l (Form 1065).
2 From Seh. F, line 34,                                                                                A; and                                                         bo, 14. coo,,
                            and Sch K-1 (Form 1065). box 14. code A •minus the                              Sch. K·1 {Fom> 1065-8). box 9. code J1.
  ll!Tl01.int )'OU would h1111e enlered on line 1b had you not used
 method.                                                            the optional                   4 Fram S<;h. C, line 7; Sch. C-EZ. line 1; Sch.
                                                                                                                                                   K-1 (Foon 1065), box 14, code
                                                                                                     C; and Sch. K-1 (Foon 106!H3), box 9, codeJ2.
EEA
                                                                                                                                                    Schedule SE (Form 1040) 2016
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     Form          8582                                   Passive ActJvity los s Limitations
                                                                            ►   SffQ Par nftl n~
     Dei>_, ,.,t ,Ji the T-w,y
     lntM\l!i ~ SeMt:e ~
                                                                       ► Attach to Form 1040       °"
                                                                                             Form 1041.                                                      2016
                                    ►    lriformaikm ;ibout fmm 8682 and 11$ mattu ctlons Is
                                                                                             avaltable: at..- -.·
     MUHAMMAD SIDDI I
     .• P1ttU7          2016 Passive Activity Lon
                        Cautlot'I: Compf(tte W<:!rksheets 1,
                                               ~and 3 before ~!etfn 9_Pa.......
                                                                          rt t_._ _ _ __
     R$~al Real Estate Actlvi l)M With Actlw ~ o n (For
                                                                             th&dem'lifion of a.c!Ne pertlcipatl<,n, see
     S~da f Aflowat100 f<:14" Roma! R~ Estate Activi tift
                                                          in the lnstm cbis. j
      ta Actlv ~ Witil oot ~ {oorer IN amount from
                                                           WO!t.'.shelit 1,
            eclurlm (a)}        • • • . . . • .          . ' • • • . . • • . • . ••.•••. - -
       b Act!Yiti1!5 wlth net. loss f~ the amo!Jnt from WO!t.'.shl.et                        ---                             s___
                                                                      1.         column
            {b}}      . . . • - . • • . . • . . • - .• , .. - - •
                                                                  •••••.• , ..•
      c Prior y~ ~lmv ed !oases (enw the Sl'l'lQl.lnl from Works
                                                                heet     t.
       coivmn          .•..•..••.••••.••••...•.••
                                                                             •.••
    d Combine !tl1(W 1a. 11:'.1, and 1c           _ ••.••.••.
  Cummereillt Rwttali2:a:tlen Ol/ad~o.,._ From Rent8 ' RN(
                                                               estate- Aetlvfflff
   2a Carnmffl'ci;al revltm atior. ~.11::tlons from Wcmh
                                                         eet.2. cduritn (a)
    b Prior yeer unallowoo ~ r.ewtta!llali0f1 deduct
                                                            iol'IS from
       Wo.i.sheet :!', ~ (b)           • . . . • • . . , , • . · . , , , ·
    <: Addfl\!lOS.!aaf'ld2b        •.•••••.•••••                      ••.•.••
  ~ Ot• Pa&&!V\:I Aeiiv'ltle1.
     3a    ~ wUh ll<l!t ~ {enter the amotm
                                          t from Worksheet 3,
           coit..1mo (a )j                   . . . . • . . . .
      b    klivllie s wl!li rnM loss (enter the amount froni_ Works
                                                                   heet 3.
           (bH                          .. , . • . • • . • • . • • . . ,
      c    P~ y~ ~M~ los.Sl!$ (enler ht amount from Work
           column (c))         . • • • . . • . . • . . • • . . , . • • • • •
                                                                             •
      d Combine I~ 30, :fu, ancf Jc              . • • • • . . . •
  4
           your remm; ~ looses are allowed, inch.!dng
           2b. or Sc. Report the !o$i.es oo the Joo'ns and


                                          • Uno2 eis                            ero or more}. skip Part II PO go to Part IU.
                                          • I.'                                  2c are zero Of !t'ICM'a}, skip Parts II and Ill and go to lffle 15.
 Caution: 1f ~ fiJfng .             ·                                       Jived wfttl your spouse at My time' during /hcl year, do n
 P.m II or Part m. In$                                                                                                                         ot~
 \Pirf}f'.          s                                             Real Estate Adiv ttiea With Active Participation
                                                                 ~~~~ .§SN ~.~in ~~~-· --· fat an example.

          Enter                                            see hmruc!loru;
          Enter                                                                                    1-- 6~- ---- ---- -1
                                                     • but not fe,s& l'lan zero {see !tlGt)
                                                     lo lirl.t> 6, $kp litre$ 8 and 9,
          e.rmw4-oo                           gow h6.
          SIA:l nctl~                                  . . • . . . . . . . . . . .
          Mu~y line 8 by                     o not enter more ~ $25,000. If married ffing ~
                                                                                            . see i n s ~
          EJ'ltef tmH1m allerol 'iit!e5o rllne9        , •....•••.. ,                ......•.•. , . , ...... .
                                                                                                                                                                   0
                                                  for Commercial Revitalization Deductions From
                      Not•: E~ a l l ~ in Pan m!1$ ~ mno,.w,t.
                                                                                                Renta                     l Real estate ActM ties
                                                                                See IN ex~ fat PM II in the~ -·_·- ·_ _.,....
11        enter $25,000 rnduced by the amount. if any, on                                                                          ___ - - - - -
12        En!t!f tie~ froln line 4
                                                             line 10. lf mafl'ied fliitlg ~tel y.       "°
                                                                                                  !Mln.letions               11
                                                        . . . . . . . . . . . ...... , . . . . . •
13        R ~ woe 12 by lh!HlfflOOnton line 10                                                             • . . . . . • . 1--1 _2- +--- -~--
                                                          ••.•.••.•. , , ...•.••••.. , •
14        tr,tel" lne etm1ilnt of /Jne 2c {treated as a                                                                      13
 J
-·=~       IV Total Loss  es AUowed                                                                                          14
    "--
15 J\dtHhe fm:lome,, hny.       oo Mnes 11und 3-.H!illd ~ the IOIBI
                                                                                      . . . . • . . • • . • , ••                          15
16   Total km:HS lllll~ from all pnslw a<:tivWH for
                                                            2016.. Add lirtos 10. 14. Md 15. See
                                                                                                                                                           5,29 3
     inswc ien& to flrn:i out !'low lo r8PQl't ! h e ~ oo
                                                            r !ml rottm           . . . . . . . . . . , • .
For Pap&nvork R«11..u:tkin Act No~ . s.. ln5truetton&.                                                                                    16               5 293
HA                                                                                                                                                     Form 8582 (2016)
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         Form       4562                                              Depreciation and Amortization                                                     oMa No, 1545 -0E~ -
                                                                      (1nctud,ng Information on Uste d PtoP9flY)
         OepMm ent of !he r,..esury
                                                                                   ► Attach to your tax tall.kl \,
                                                                                                                                                             2016
                                          ►
         Internal Revenue SeM<:e (99)                                                                                                                    ~t
                                              lnformaUot'I about Form45&2 ancl Its se
                                                                                                       m&INCtkm~~•~l•~at~~~io;rm_~-~~$111$~·~•·~~~~2.~~~
                                                                                                                                                         ~~~No~.J1L7;!9....
         Namo,/s) st,owr, on relum

     MUHAMMAD SID DIQ I
         e~                 Election To Expense Certain Property
                Note: It~ have any lm00Pf2Ptlfty, ~:='ete;;:;·::.:Pc..;a
                                                                        rt;.;.;··;...;v:...:~=··~·=..;;.;;;;==..;.;;;;;.:.:.:.._ _
     1 il.faximum amoont (SM in~ &) . • . .                                                                                         _ _ _ _,..._.....,._ _ _ _ _ _ __
                                                       . . • . . . . . • • . . .                             . . . . . . • . • • . • ,
     2 Total cost of section 179 property pli!Ced in a~e                                                                                       1
                                                              (MO lns?ruelion$}                              . . , • , • • • . • . • . , .
     3 Threshold cost ot section f79 ~ ~                                                                                                       2
                                                       reduction in limitation (SH l n s ~ )                               • • . • • • . • • •
     4 Redl.lCtkm in Jmtatioo. Subtract h 3 worn line
                                                        2. If zero or less. enter -o.                        . .  .  .  .  .   . ,•. .....
     5 Ool!af Jlmlta ~ for tax y~r. Subtract line 4 from line                                                                                  4
                                                               L lf zero or Iese.. entw -0-. If mame d filing
     ~tel                 y , see ir1slruclions . • . . . .            . • • • • • • • • . • • • • . . • • . .
         ti                                                                                                            . . . • • .                s
                                        (a) Oesctiptton of property
                                                                                                                   «;ly)


      ---
      ?
           ··· ·-- - --
        Llsted p,~rt y. Enter      --
                              1M' «tm01.ID -- - --- --- --- --- --+ --
                                                       I from lioo-29       .•..••.•.••.•••
         a        Tot al~ oost ot seem 179 prope,'iy. Add ~'lt
                                                                              t. in COium
      9           reri~v e oeducl.il.m. Enter f11umaller of lfne 5 line e . . . .n .(c),. .lioes
                                                                          °'                      . .
                                                                                                      6 81'\d 1
     10           Canyo\t$1' of dksa!l!:lw«l deductioo frOO'I h 13
                                                                                                       . ,..      ,
                                                                      of YO!Jlf 2015 F'Olm 4002
     11           Business irtccffie hftalfo.fl,. Enter loo s ~ of
                                                                       buslnfflls income, (not tes$ tiart
     12           S~tioo 179 ~ " dedm::oon. Md &nes 9 and 10. but
                                                                                  don't enter mom
 !L_ 9!:!Yuv« of disaiiowed deduclkm to 2017. Add lit.es 9
                                                                                 am.i 10-, less lioo 12
 Note: Doo't tl$e Pali fl 0( Part !fl ook.Wv ix listed'
                                                                               W'l$tead, use Part V.
                                                                               and
                  Special d.~t ion a!lowaaoo for quemlled j'WOpefty
                                                                    (othclr
                  durlti9 Iha tu y~ (s~ instroctiom,) • . . . . . . • , .
                                                                          .
                  f'l'OPffify su~ t lo s@cilon 168(t)\1) ~                                                                                    14
                                                                                                                                              1S



 11               MACRS d e d ~ fur assets
 18               If yoo a~~ k l ~ ainy
                  ~ aiccoums. llMCI< he,-!<_
                                             __
 -- -- -- --
           Section B                           ~   All

                                                                                                           ~
                                                                                                           ~




                                                                                                                                       SIL.
                                                                                                                           MM          SJt
     I        l                                                                                                            MM          Sil
                                                                                                                           MM          Sil
          ~B i'. .-- --- ··- --- -~- ---- --- -·
                               Seet!<:mC
                                                                                                   __ __ _....___,;_,.;.;.
                                                                                                                 MM _ . ,._,_Sil
                                                                                                                             ~_....___ __ ___
2.0a CfM-s ~re
     b 1            ear
     C
                                                                                                                           MM         Sil
~             listed property, fnh:,r .amoonUrom Nne 2'8
                                                                         . • • . . • • . . • .            . • • . . • •. •
22            Total. Add 11uri0wm; from line 12, lines 14 through                                                                            21
                                                                  17, lines 19 Md20 in column (g), and 11ml 21. filter
              Nite and oo lheapproprtat& h t of your rerum. Pam«
                                                                        ships and S ~ O f \ $ • see i l l $ ~
23            For assets shown 1 1 ~ and placed in $ffll'lOO
                                                             dwing Ille current year. en!er !he
              pMlOf! of !he· ~ attribvlable to seci!ion 263A
                                                             coats . . . . . • • . . • • . •                      23
       Case 21-04077               Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                    Desc Exhibit
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                                                                     Work shee t4
                                       Use this worksheet if an amount Is shown on Form 8582,
                                                                                                line 10 or 14
   Name($ )•.-,.. en retum
                                                                     See instructions.
   MUHAMMAD SIDD IQI
                                                 Form or schedule
                                                                                                                                         2222
                    Name of activity              and line number                                                                   (d} Subtrac t
                                                                            (a) loss                            (c) Special
                                                 to be reported on                          (b) Ratio                                column (c)
                                                  see instructions                                               allowance
               TAL HOUSE                                                                                                          from column a
                                                 LN 22                          6,90 6 1                                      0            6,90 6




       Total . • . . . . . . , . , . . . . . . • . • . · . · .   ►
WK_8582 4.W
                                                                             6 906          1.00                          0             6 906
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                                             Work sheet 5
                                    Alloc ation of Unanowed Losse s
                                           See instructions.                            2016
                                                                                        Ta>< IONumbet
  MUHAMMAD SIDD IQI
                                                                                                         222
                                             Form or schedule
                 Name of activity             and llne number                                   {c) Una!lowed
                                             to be reported on   (a) Loss      {b) Ratio
                                             see instructi ons                                       loss
        ENTAL HOUSE                          LN 22                   6,906 1                             6,906




     Total
WK_3582UD
                                                                  6,906        1.00                     6,906
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                                                                 Worksheet 6
                                                               Allowe d Losses
                                                                 Keep for our records)                              2016
  MUHAMMAD SIDDIQ I
                                                                                                                             -2222
                                                                         Form or schedule
                               Name of activity                           and line number                (b) Unallowed     (c}Allowed
                                                                         to be reported on    {a) Loss
                                                                                                             loss            loss
                                                                          see instruction s
           ENTAL HOUSE                                                      LN 22              12,199          6,906             5,293




        Total   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   ►     12,199         6 906             5,293
WK_85!!26.LD
          Case 21-04077                     Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                              Desc Exhibit
                                             I Defendants Document Request Page 31 of 196
   Form   8879                                                  IRS e-fi/e Signature Auth oriza tion
                                                                                                                                                                      OMBNo. 1545--0074
                                                                  ►
                                                                Don't send to the IRS. This isn't a tax retum.
  Oepartment of Ille Tnsasu,y
                                                                   ► Keep this fonn for your records.
  Intern al~ service                    ►   Information about Form 8879 and its instructions is at www.irs
                                                                                                            .gov/form8819.                                                  2016
  Submission Identification Number (SID)            ►
  Taxpaye(s name

      MUHAMMAD SIDDIQI


           Adjusted gross income (Form 1040, lne 38; Form 1040A. line
                                                                        22; Form 1040EZ, lne 4; Form 1040NR,
           line37) . • • . . • . • • . . . • • . • . • • . . . • • • . •
                                                                         .••.•••••.••••.•.
      2    Total lax (Form 1040, Une63; Form 1040A, line39; Form                                                                                                           151,0 49
                                                                   1040EZ. line 12; Form 1040NR, line61)
      3    Federal income tax wllhhekl from Forms W-2 and 1099 (Form                                                                                           2            22,97 7
                                                                        1040, lfne 64; Form 1040A, line 40:
           Form 1040EZ, line 7; Form 1040NR, line 62a) • . . • .
                                                                    • . • • . • • . . • . • • • • • • . • •
      4    Refund (Fonn 1040, line 76a; Form 1040A. line 48a; Form 1040EZ                                                                                      3             30 101
                                                                            , line 13a; Form 1040.SS, Part I,
           Form 1040NR. line 73a) . . • • • • • • • • • • • • • • •
                                                                        • . • • . . . • . • . . • .
      5    Amount you owe (Form 1040, line 78; Form 1040A. line 50; Form                                                                                       4                  9,02 2
                                                                           1040EZ, line 14; Form 1
  ;~JI ,           Tax a er Declaration and Si                     ature Authorization Be sure ou
                                                                                                                                                               5
 Under penalties of pe~ury, l declare that I have examined a copy of my                                                                                      our return
 for lhe tax year ending December 31, 2016, and to the best of my knowledg      •lectrDnlc lnef!Vldual income tax                      nylng ~ and slalemenls
 I reGtlived durtog lhe tax year. I further declare that lhe all'IO\lnts In          e and belief. It ls irue,                           all amounts and sources of income
                                                                            Pan I above are the amounts from                           !alt return. I consent to allow my
 Intermediate service provider, transmitter, or elecironic retum
                                                                    originato
 of receipt or reason for rejection of the lransmlssion, (b) the reason r (ERO) to send my return                                     from lhe IRS (a) an acknowledgeme11t
                                                                            for any delay In processing                             c) the date of any refund. If applicable, I
 authorize lhe U.S. Treasury and its designated Financial Agent
                                                                      to Initiate an ACH electronic fu                              ) entry to the financial lnsliMion
 account indlealed in the tax preparation software for payment of my federal
                                                                                     taxes                                 yment of estimated tax, and lhe financial
 institUl.ion to debit the entry to this account This authori%allon is
                                                                       to remain In                                       U.S. Treasury Financial Agent to terminate the
 authoril:alion. To revoke (cancel) a payment, I must contact the U.S.
                                                                             Treasury                                  537, Payment cancellation requests must be
 received no later than 2 business days prior to the payment (settleme
                                                                              nt) date.                             inslllutions involved in the processin g of lhe eleclronk:
 payment of taices to receive confld4'ntial information necessar
                                                                   y to - - lnq •                              related to the paymenL I furl.her acknowledge that the
 pem)lllll ldenllfica~on number (PIN} below Is my signature for
                                                                     my eleclronic                            applicable. my Eleclronic Funds Wilhdrawal Consent
 Ta~e r's PIN: check one box only
                                                                                                           =159 6921 773
      ~ !authorize        Tax Fili n                                                           to enter or generate my PIN
                                                                                                                       1111 1
                                                   ERO firm name
          as my signature on my tax year 2016 electronical                                                                       Enter flv• digits, but
                                                                                                                                 don't enter all zeros
      D I will enter my PIN as my signature on my tax                                         ly filed income tax retum. Check this box only if you are
          entering your own PIN and your return is fil                          'racllltorter PIN melhod. The ERO must complete Part Ill below.


                                                                                                                                 0ate ►     05-2 3-20 17
Spouse's PIN: check one box only
      0J authorize_ _ __                                              _ _ _ _ _ _to enter or generate my PIN _ _ _ _ _ __
                                                                                                                                 Enter five digits, but
                                                                                                                                 don't enter all zeros

      □   entering your
                                                             tax year 2016 electronically filed income tax return. Check this box only if
                                                         Is filed using the Practitioner PIN method. The ERO must complet
                                                                                                                                           you are
                                                                                                                              e Part Ill below.
Spouse's signall.lle ►                                                                                                           Date   ►   ___ ___ ___ ___


ERO's EFIN/PIN. Enter your six-digit EFIN followed by your
                                                           five-digit self-selected PIN.                                           7570 76-0 0003
                                                                                                                                                    Don't enter all zeros
J certify 1hat the above numeric entry Is my PIN, which is my signatur
                                                                       e for the tax year 2016 eleclronically flied income tax return for
the taxpayer(s) indicated above. I confirm that I am submitting
                                                                this return in accordance with the requirements of the Practitioner
method and Pub.1345, Handbook for Authorized IRS e-fiJe Provfde                                                                       PIN
                                                                     rs of Individual Income Tax Returns.

ERO's signature   ►      L E Easl ey                                                                                            Date ►      05-2 3-20 17
                                               ERO Must Retain This Form - See Instructions
                                      Don't Subm it This Form to the IRS Unless Requested To
For Paperwork Reduction Act Notice. see your tax return inslrucll
                                                                                             Do So
                                                                 ons.
EEA                                                                                                                                                                  Form 8879 {2016)
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              1040
       Name{s) as $how,, on rwtlum
                                                   Over flow Statement
       MUHAMMAD SIDD IQI

                                     SCHEDULE A, LINE 6 - REAL ESTATE TAXES
      DESCRIPTION
      BANK OF AMERICA 1098                                                                     AMOUNT
                                                                                           $       6,38 7
                                                                               TOTAL:      $       6,38 7




OVERFLOW.LO
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              1040
       Name(s) as showo on return
                                                Over flow State men t
                                                                                     Yt11.1r Social Security Number
       MUHAMMAD SIDDIQI
                                                                                                                  -222 2

                     SCHEDULE A, LINE 10 - HOME MTG INTEREST
                                                             AND POINTS ON FORM 1
       DESC RIPT ION
       BANK OF AMERICA 1098                                                                        AMOUNT
       CADENCE BANK 1098                                                                   $                4,37 9
       AFFILIATED BANK 1098                                                                                12,8 91
                                                                                                           15,3 9'7
                                                                            TOTAL:         $               32,6 67




OVERFLOW.LO
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                                        W-2 Detail Listing
                                         Keep for your records)                                  2016
                                                                                                 Tax ID Number
    MUHAMMAD SIDD I I
                                                                                                                 2222
                                                           FEDERAL
  TIS              Employer Name              Gross               W/H       State Code   Gross                   WJH
    TEAG LE PROTECTIVE GRP INC             108,8 00               23,19 2
    T HELPING RESTORE ABIL ITY              40,30 0                6,909
        Tota ls                            149,1 00               30,10 1




W2_UST.lll
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                                         Modi fied AGI Work shee ts for Form 8962
                                                            (Keep for        r records                                               2016
                                                                                                                                     Tax DNurnber
    MUHAMMAD SIDD IQI
                                                                                                                                                    2222
                                          Taxpayer's Modified AGI Works heet - Line 2a
                      1, Enter your adjusted gross income (AGI)* from Form 1040,
                          line 38: Form 1040A. line 22; or Fonn 1040NR,
                         line 37 . . . . . . . • . . . . . . . . . . . . . . . . . .
                                                                                     • . . . .      1. _ _ _1-.:.5"""1_,,_0_4-"--9
                     2. Enter any tax-exempt interest from Form
                         1040, line 8b; Form 1040A, line 8b; or
                         Form 1040NR. line 9b • • . . • . . . . . 2. _ _ _ _
                                                                                      _ __
                     3. Enter any amounts from Form 2555, lines
                         45 and 50, and Form 2555-EZ.
                         fine 18 • . . . . . . . . . . . . • . . . 3.
                     4. Enter the excess, if any, of Form 1040,              --- --- -
                        lines 20a over 20b; or Form 1040A, lines
                         14a over 14b . . . . . . • . . . . • . . . 4.
                     5. Add llnes 1 through 4. Enter here and on Form 8962,  --- ---
                        line2a •



                     1. Enter the AGI* for your: dependents from Form 1040,
                        line 38; Form 1040A, line 22; Form 1040EZ, line 4; and
                        Form 1040NR, line 37 • • . • . • • • • •
                     2. Enter any tax-exempt interest for your
                                                                                  . . 1.
                                                                                                      --- --- -
                        dependents from Form 1040, line 8b; Fo
                        1040A, line 8b; Form 1040EZ, the amount
                        written to the left of the line 2 entry space;
                        and Form 1040NR, line 9b • . • • . • • • . 2. _ _ _ _
                                                                               _ __




                    4. Enter for each of your d
                                                                        3.
                                                                             --- --- -
                       excess, if any, of Form
                       over 20b; and Form 1
                       14b . . • . . •                            . 4.
                                                                             --- --- -
                                                                                . · · · • · · · . 5. _ _ _ _ _ __
                                                  old Incom e as a Percentage of the Federal Pover ty Line


                                                                                         . . . . . . 1. _ _1_5_1__, _0_4_9

                                                                             2. _ _ _1_1_,7_7_0
                                                                                     . . . . . . 3. _ _ _4_7~,_0_8_0_
                    4. Is       mount on line 1 more than lhe amount on
                        line3?
                        • Yes. The amount on line 1 above is more
                       than 400% of the Federal poverty line. Enter 401
                       here and on line 5 of Form 8962.
                        • No. Divide the amount on Hne 1 above by
                       the amount on line 2 above. Do not round;
                       instead multiply this number by 100 (to express
                       it as a percentage) and then drop any numbers
                       after the decimal point Enter lhe result here and
                       on Nne 5 of Form 8962. For example, for 0.9984,
                       enter the result as 99; for 1.8565, enter the
                       result as 185; for 3.997, enter the result as
                       399*      . • . • • . • • • . . • . • • . . . • • . • • . . • . . . .
                                                                                             . • 4. _ _ _ _4.;;;....0_l


Wll:_111621.1.1)
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                                         Exces s Socia l Secur ity - Nonra ilroad Emplo yees
                                                 Work sheet - Form 1040, line 71
                                                                     (Keep for your records)                                           2016
  Name{s) as shewn on retum

  MUHAM!.JJAD SIDD IQI
                                                                                                                                                         -2222
    If you are filing a joint return, you must figure any excess tax withheld
                                                                              separately for each
    spouse. DO NOT combine amount of both husband and wife.


     1. Add all social security tax withheld (but not more 1han $7.347
        for each employer). This tax should be shown in box 4 of your
        Forms W-2. Enter the total here
                                                                                          . . . . . . . . . . . . . . . . . . .   1. _ _ _ _..;c9...,,....2_4--'-5
     2. Enter any uncollected social security tax on tips or group-term life
                                                                             insurance
        on Form 1040, line 62, identi!ied by "UT" . . . • . . . , . • . • • .
                                                                                  . . . . . . . . . . . . . . • . . . • . . . . 2. _ _ _ _ _ _
                                                                                                                                               __
     3. Add lines 1 and 2. If $7,347 or less, stop here. You cannot
                                                                    claim
        the credit . . . . .
                                                                                                                                  3. _ _ _ _...;;9;...,._2:=...:;;4.;:;;.5

     4. Social security limit
                                                                                                                                  4. _ _ _ _$_7__
                                                                                                                                               ,34_7_
     5. Excess. Subtract line 4 from line 3
                                                                                                                         . . . s. ___ _1__,__,_8_9_8




WK_EX_SS.ll)
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                                                      Auto Expense Worksheet
                                                                                            2016
                                 I
                                                                                                   2222
                                            \
      Deseriplkm
      Date ~ ITT S6fVic;·_j!J:}J. 6    -   01- Q1
     Numbef of miles yow· ~cie was 0000 for.
      To!ai Businel>S miles di'iven during In& year
      To!al Commuting mi~ driven ~ ltle year
                                                                                  3,200
        Total 0!.hBI' mile$ driven ~ !he year
        Total Ml!n driven during the year
                                                                                  9r0C!Q.
                                                                                 12(2:0 Q




                                                                  Total
     ~179
     SorMI Depreclafd)fl .
     Deptl:leiiruon ,
     Garage Rent .
     Gas
     msutanoe
     U~es . .
     Oi'.
     Pari.ing F~ -
     Ren!al FffS ,
     Interest . . . .
    Perso nal~ Tax , ,
    R~
    rwes,
    T;.,;/1'$ ••
    Other Expenses:




    ~roM i~e
     B,us.ir1ess mffi1a&
      Part<~ioos .
                                                                                                   l,728
      To!!t •.
      rnteroot . . . . .
      Personal P1operty Tax
      Total Standard Mile Rate ~
                                                                                                   1,728
    How ii !$ l'$1)ffl11.ld:
    Oepteeia!icm de(luctloo
    Auto Expense • . • .
    Personal Property Taxa-.s, Sctlooule A, Line 7




WK_AUTO.tl>
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• llem was disposed                                                              Depre ciatio n Detail listin g
of during current year.
                                                                                                RENTAL HOOSE
                                                                                                                                                                                         2016
                                                                                                                                                                                         PAGE 1
                                                                                          For your records only_
Neme(s) as showr, on return
                                                                                                                                                             Socia! ucurlly oumoor/EIN
       MUHAMMAD S[OOIQI
                                                                                                                                                                             2222
No.    I       Description     Date                          Business     Section   Depr,iciation
                                       Cost       Salvage                                           Llfe                        Cwrent   Accumulate<!     Prior               Bonus             AMT
                                                             percentage    179                             Method       Rate
                                                                                       Basis                                     <lepc   Doprecia!ioo    m:pense          dep,ectation       Current
 1 ~114 CARSON CT ROWLET 01012015      149, 100               100.00                     149,100 27.5 SL           MM   3.636    5,421      10,617
 2  114 CARSON CT LOT    01012015       30,000
                                                                                                                                                                                                  5,421
                                                  30,000      100.00                           0 0                      (l




      Totals                          179, 1001 30!000                                149,100                                   5,421     10!617
      Land Amount                                                                                                                                                                                 5/.21
      Net Oepreci abl.e Cost          179,100                                                                                                                          ST ADJ:
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                                                TAX RETURN COMPA RISON                              2016
                                                       2014 / 201512016
   Name(s) as shown on return
                                                                                            Identifying number
 M~.MM AD SIDDI QI
                                                                                                        -2222
                                                    2014           2015        2016
   Filing Status . . . . .                                 1              1            1
   Number of Exemptions                                    1              1            1
   Income
     Wages, salaries, tips, etc ..                  94,20 6        162,1 98   149,1 00                  (13,09 8)
     Taxable interest and dividends
     Taxable state and local refunds
     Alimony . . . . . . . .
     Business income (loss) . . . •
                                                                                1,976                      1,976
     Gains (losses) . . • . . . . .
     Pensions and IRA distribulio ns
     Rent and royalty income (loss)
     Part, S-corps, trusts income (loss} .
     Farm income (loss) . . . . . .
     Unemploy ment compensa tion •
     Total SS benefits received.
     Taxable SS benefits .
    Other income (loss} . .
    Total Income . . . . .                          94,20 6                           076              (11,12 2)
  Adjusted Gross Income
    Half of self-emplo yment tax
                                                                                       27                         27
    :R.A. deduction.   . . . . . .
    Other adjustments      . • . .
    Total Ad"usted Gross Income
                                                                              151,0 49                 (11,14 9)
  Deduction s
    Medical deduction s . .
    State and local taxes
                                                                      6,812     7,591                      779
    Interest. . • • . . • .
                                                                      5,341    32,66 7                  27,32 6
    Conlribulio ns . . . . .
    Employee business expenses .
    Standard or other deduction s
    Total Itemized or Standard Ded                                 12,15 3     40,25 8                  28 105
  Exem tion Amount
                                                                    4,000       4 050                       50
  Tax and Credits
    Taxable Income
                                                                  146,0 45    106,7 41                 (39,30 4)
    Tax . . . . . . .                                              33,96 4     22 924                  (11,04 0)
    Credits . .

                                                                                      53                          53
    O!her taxes .
    Total Tax ..                                    14,18 8        33,96 4     22,97 7                (10,98 7}
 Payments
   Withholdings                                     15,99 9        36 149     31,99 9                   (4,150 )
   Estimated tax
                                                                    6,000                               {6,000 }
  Earned lnco-me credit
  Other payments and credits .
 Overpaym ent     . . . . . •                        1,811            8,185     9,022                            837
  Overpaym ent Applied .
 Refund . . . .                                      1,811            8,185     9,022                            837
 8alanC4:! Due . . .
 Resident State                                TX                TX
   Taxable income.
   Tax . • . . .
 Refund
 Balance Due .
Marginal tax rate •                                 25.00           28.00      28.00
Effective lax rate .                                19.00           23.00      21.48                      (1.52)
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                                         Tax Filing Services
                                                      736 N Main
                                                 Duncanville, TX 75116

                                      Phone: (972)298-2 l6l   Fax: (972)298-.S 36!i



Muhammad Siddiq i                                                               Invoic e Date: 05/23/ 2017
 6701 Haven hurst Ct
Allen, TX 75002


          For profess ional service s rendere d in connect ion with the prepara tion
                                of your 2016 individ ual tax return,

Descr iption
                                                                                                     Fee
Federa l and Supple menta l Forms
Form 1040                    - U.S. Individ ual Income Tax Return
  1040 Line Item Fee
  Form 1095-A                    - Health Insuranc e Marketp lace Stateme nt
 Health Care                     - ACA Minimum Essenti al Coverag e Verific ation
Schedul e A                  -    Itemize d Deducti ons
Schedul e C-EZ               -    Net Profit from Busines s
Schedul e E pg 1             -    Supplem ental Income and Loss Page 1
Schedul e SE                 -    Self Employm ent Tax
Form   4562                  -    Depreci ation and Amortiz ation
Form   4868                  -    Applica tion for Automat ic Extensi on
Form 8582                    -    Passive Activity Loss Limitat ions
Form 8879                    -    E-File Signatu re Authori zation
Wks 85821                    -    Form 8582 Wksht - Line la, lb, and le
Wks 85824                    -    Form 8582 Wksht - Lines 10 and 14
Wks 85825                    -    Form 8582 Wksht - Unallow ed Losses
Wks 85826                    -   Form 8582 Wksht - Allowed Losses
Wksht 89621                  -   8962 Modifie d AGI Workshe et line 2a
Wks Auto                    -    Automo bile Expense Workshe et
Wks EIC B                   -    EIC Workshe et Page 2
Wks Excess ss               -    Excess Social Securit y Workshe et
Wks MAGI                    -    Form 8582 Workshe et - Line 7 MAGI
Wks PAL                     -    Passive Activit y Carryov er Workshe et
Wks STAX                    -    State/L ocal Sales Tax Deducti on Workshe et
Compari son                 -    Tax Year Compari son Sheet
Fed Withhol dings           -    Form 1040 - Federal Withhol ding From All Sources
FED DEPR Schedul e          -    Federal Depreci ation Schedul e
Next Year Depr              -    Next Year Depreci ation Schedul e
overflow                    -    Itemize d Listing Attachm ent
Form W-2                    -    Wage and Tax Stateme nt
Form w-2                    -    Wage and Tax Stateme nt
w-2 Listing                 -    Listing of All Forms W-2
Total Form.a         29                                              Forms Subto tal           $   195.00

                                                                     Total Balanc e Due        $   195.00
        Case 21-04077    Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                      Desc Exhibit
                          I Defendants Document Request Page 41 of 196
                               ETD ELE CTR ONI C FILING MESSAGES
                        MUST be corrected before electronic filing of exten
                                                                            sions is allowed.
                                                                                                  2016
                                                                                                  Tax !O Number
   MUHAMMAD SIDD IQI
                                                                                                                  -222 2

   5465 NO EXTENSION AFTER DUE DATE: Form 4868
        filin g dead line unle ss it is for a U.S. musciti
                                                          t be file d befo re the
        of the coun try or for Form l040 NR whe re no zen or resi den t who is out
        inco me tax. Retu rn to scre en EXT and mark wage s were subj ect to U.S.
        eith er of thes e situ atio ns appl y. Then , on the app ropr iate box if
        app ropr iate sele ctio n from the "Ext endi ng scre en MISC, make the
                                                        due date drop list .




E'!D_MSG.Ll)
                  Case 21-04077                       Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                             Desc Exhibit
                                                         I Defendants
                       Depal1m81'1l of Ill& Treasury-Intern      '=SelVice Document Request Page 42 of 196
 ~1040                 U.S. Individual Income Tax Return
                                                           al R,              (99)
                                                                                                    ~®17                  OMS No. 1545-0074             IRS Use Only-O o not wrtte or SUll)le in !his space
 For the year Jan. 1-0ec. 31, 2017. or other tax
                                                 year beginning                                        • ending
 Your first name                                                                                                                                            See separate instructions.
                                                            M.I. Last name
                                                                                                                                           Suffix          Your social security number
MUHAMMAD                                                             SIDD I I
 If a joint return, spouse's lifst name
                                                                 M.I. last name
                                                                                                                                           Suffix
 Home address (number and street). If you have
                                                   a P.O. box, see instructjons.
6701 RAVENHORST CT                                                                                                                         Apt.   no.
City. town or post office. state, and ZIP COde. If you
                                                                                                                                                              A.        Make sure the SSN(s) above
                                                                                                                                                                      and on Jfoe 6c are correct.
                                                         have a foreign address. also complete spaces below
'LLE N TX 7500 2                                                                                              (see instructions).                              Presidential Election campaign
.:;"=
 Foreign =;..  ...::.
                 name :;:..~=-='--------------....-::,-----,---------
         countty                                                                                    -,-.,,F,--A---,-_
                                                                          Foreign province/state/county
                                                                                                                  ~..1
                                                                                                                                                Checkhereifyou,oryourspouseiffiling
                                                                                                                     g-n_po_stal_,,.-..,_,.-_-iJO·inttv.wantS3 to go lo this
                                                                                                                                ...,...,                                     !u!ld. Checking
                                                                                                                                                               ,.
                                                                                                                                                          a box below wilt not change 19!!,lax or
-=mng Status                      @
                                                                                                                                                      refund.            D
                                                                                                                                                                       You          SpouseLJ
                          1
                          2
                                       Single
                                  0 Married filing jointly (even if only one had income)
                                                                                                              4   D    Head of household (with qualifying person}. (See
                                                                                                                                                                          instructions.) If
                                                                                                                       the qualf(ying person is a child but not your depend
                                                                                                                                                                            ent. enter lhis
                          3       0 Married filing separately. Enter spouse's SSN above                                child's name here.


:heck only one                ►   __and
                                     __      __ ___.,__ __ __ ___
                                        full name here.
                                                                                                                  ► ___F_irs_t_nam_e___ __l_as_t_n_a_me
                                                                                                                                                     ___ ___SS_N_                                   __
ox.                                       First name                        Last name
                                                                                                              5   0   Qualifying wk:low{er) (see instructions)
:xemptions                6a   ~
                               L!J    Yourself. If someone can claim you as a depen
                                                                                   dent, do not check box 6a . . . . . . , }~  on sa and~
                           D Spouse
                           b
                       --C- --0e =pe                                    • • . . • •        , . . . , . .          . . . .
                                                                                                                                        &b                                                     _ _1_
                                             nd-- en-t s-:-- ----- -r--- ----- .---- --'" "T-                                  No.ofchiklren
                                                                                              (4_) _,/_ if_c hi
                                                                                                              ___
                                                                                                                kl_~--a-ge_1_7 :fie ~
                                                                                   (2) Dependenfs         (3) Depen dents
                                                                                                                    fO ch td   ualrfying
                                                                                                                                     .                                lived with you           _ _o_.
                                                                          social
                      ....<1...:.)_F_irs_t_na__me              _ _ _ _ _ _ _ _secoot
                                               _ _ _ _La_s_t_n_ame                  y number relation
                                                                                 _ _ _ _ _.__ _ship     to you q        ' ' teK credit
more than four
                                                                                                      _ _ _ _ _,see
                                                                                                                 __ ,ns....truct
                                                                                                                            ........              i_ons_,__         • did not live with
                                                                                                                                                                    you due to divorce
               ---------------+--                                           0                                                                                                                  __o_
~pendents, see                                         ------+-------+---                                                                                           or separalion
                                                                          '=□=----                                                                                  (seeinstnictions)
structions and
1eckhere ►D    ---------------+--
                                                       ------+-------+---
                                                                           O                                                                                        Dependents on 6c
                                                                          '=
                                                                           □ =----                                                                                  notenleredabovt
                d Total number of exemptions claimed .                                                                                                              Add numbenl on
                                                        .
,come                   7      Wages, salaries, tips, etc. Attach Form(s) W-2
                                                                                                                                                                    lin&sabolle ►
                                                                               .
                        8a     Taxable interest. Attach Schedule B if require
                                                                             d .
                                                                                                                                                                                   139, 668
:tach Fonn(s)
                         b     Tax-exempt interest. Do not include on line
-2 here. Also                                                               8a  .
tach Forms              9aOrdinary dividends.. Attach Schedule B if requir
                                                                             ed
-2Gand                   bQualified ~ividends .             . . . . . . . •
99-R if tax           10 Taxable refunds. credits, or offsets of state and
                                                                             local income taxes .
1s withheld.          11 Alimony reoeived . .                           . . . . . . . . . , .
                    12 Business income or (loss}. Attach Schedule C or C-EZ
                                                                                        .
'OU did not
                    13 Capital gain or (loss). Attach Schedule D if requir
                                                                               ed. If not required, check here
                    14 Other gains or (losses) .. Attach Form 4797 ,
:aW-2 ,
~ Instructions.     15a IRA distributions        . .    ,. . . . ., 15a
                    16a Pensions and annuities , . . . . . 16a
                                                                           .
                                                                                     I                        I
                                                                                                   . . , . . . . . ,
                                                                                                      b Taxable amount .
                                                                                                      b Taxable amount .
                    17 Rental real estate, royalties, partnerships, S corpor
                                                                                ations., trusts, etc. Attach Schedule E
                    18 Farm income or (loss). Attach Schedule F
                    19 Unemployment compensation             , .     . . .                         . . . , . . . ,
                    20a Social secur ity benefits , . . • . . 2oa
                   21   other  incom
                                                                             ! l
                                      e. list type and amount _________ •• __________
                                                                                                              I
                                                                                                     b Taxable amount .·
                                                                                             _ • ________ • _. _----· - ______ • __ •
                   22 Combine the amounts in the far !'!S,l)t
                                                                column for lines 7 thr       h 21. This is ur total income
                   23 Educator expenses .                                                                                             ►
ljusted                                                    . . . . . , . . . .                            l-'2. .,3~r e---- ----- +--
                   24 Certaln busine ss expenses of reservists, perfor
 oss                    fee-basis government officials. Attach Form 2106
                                                                           ming artists, and
~ome                                                                          or 2106-EZ .
                   25 Health savings account deduction. Attach Form 8889
                                                                                   ,
                   26 Moving expenses. Attach Form 3903 •              . . . . . . .
                   27 Deductible part of self-employment tax. Attach Sched
                                                                                  ule SE •
                  28 Self-employed SEP, SIMPLE, and qualified plans
                  29 Self-employed health insurance deduction .
                                                                         .
                  30 Penalty on early withdrawal of savings .
                  31a Alimony paid            b Recipient's SSN
                  32 IRA deduction • .           . • • . . ..
                  33 Student loan interest deduction . . •
                                                                      ►
                                                                                    -- -- -- -- -           31a
                                                                                                             2
                  34 Tuition and fees. Attach Form 8917.                                                    33
                  35 Domestic production activities deduction. Attach                                       34
                                                                            Form 8903 ,                     35
                  36 Add fines 23 through 35
                  37 Subtract line 36 from line 22. This Is our
                                                                    acfusted ross income
 )isclo sure, Privacy Act, and Paperwork Redu
                                                   ction Act Notice, see separate instru ctions .
                                                                                                                                                                              Form   1040 (2017)
 Fonn 1.040 (2017)Case            21-04077 MUHAMMA  DocD R~D  .I_g_rFiled
                                                           16-9     __ __ 01/14/22
                                                                              __ __ Entered
                                                                                       __ 01/14/22
                                                                                            __,~     21:47:06                                                                           Desc Exhibit
                                                     I  Defendants     Document   Request   Page 43
                                                                                                    __
                                                                                                    of   _
                                                                                                       196
                         38       Amount from line 37 (adjL                 'gross incom                                                                                                                                      2
    Tax and.             39a Check         {D You were born before Januae).ry 2,. 1953.
                                                                                    . . . • . . . . .
                                                                                            0   Blind.
  Cred its                        If:       0 Spouse was bom before January 2, 1953, D Blind.
                             b    If your spous  e itemizes on a separate return or you were a
 Standard
!DeduG tion             40        Itemi zed deductions (from Schedule A) or your
                                                                                                     dual-status alien, check here. . • ► 39b
                                                                                          standard deduction (see left margin) • •
                                                                                                                                                                                   0
 for-                   41        Subtract line 40 from line 38 . . . . . .                                                                 • . . •                                             40             62,7 44
• Peoplllwho                                                                          . . . . . . . . . . . . . • . . • •
                        42        Exemptions. If line 38 is $156,900 or less, multiply $4,05                                             . .                                                    41             73,2 74
l:heckany                                                                                     0 by the number on line 6d. Otherwise. see instructions
box on line             43        Taxable income. Subtrad line 42 from line 41.                                                                                                                 42              4,05 0
39aot3 9bor                                                                             If line 42 is more than line 41, enter -0-.
whoca nbe
                        44        Tax (see inslruclions). Check if any from: a              D
                                                                                     Fonn(s) 8814 b          Form 4972    Oc                          O __ __                                 43               69,2 24


-
claimed as ■           45        Alternative minimum tax (see instructions). Attach                                                                                                           44               13,0 45
dlpandanl.                                                                                    Form 6251 .
                       46        Excess advance premium tax credit repayment.                                                                                                                 45                  642
                                                                                       Attach Form 8962 . . . . .
inslrUClioo&.          47        Add Unes 44, 45, and 46 . • . . . . . .                                                                                                                      48
                                                                                    . . . . . • . . . . . . .
•All01hers:            48        Foreign tax credit Attach Form 1116 if required                                                                      ►                                       47              13,6 87
Singleo,                                                                                . . . . . . . . . . .                48
MtlrieelfilinO         49        Credit for Chitd and dependent care expenses.
                                                                                     Attach Form 2441 . . . .
separately,            SO        Education credit s from Form 8863, line 19 .
$6,350                                                                               . . • . .                              50
"1arriedffling         51        Retirement savings contributions credi t Attaeh
                                                                                     Form 8880 . . . . . .                  51
ointlyor               52        Child tax credit. Attach Schedule 8812, if requir
lualilying                                                                           ed . . . . . . . . . .                 52
llidaw(er).            53        Residential energy credit s. Attach Fo,m 5695
                                                                                   . . . . . . . . . . .                                 .          53
112,700
-lead of               Other credits from Fonn: a □ 3800 b
                       54
                                                                   8801 c □               O
IOUS8hokl,                                                                                                                                          54
                    55 Add lines 48 through 54. These are your
'9,350                                                         total credits . . . . . . . . . .                 . . . . . . .
                    56 Subtract line 55 from line47. lfline 55 is moiethan llne47, enter-0- . .                                                                                               55
                                                                                                      . • . . . . . . ...
                    57 Self-employment tax. Attach Schedule SE                                                                 ►                                                            66               13,6 87
lther                                                                 . . • . . .         . . . . . . . . . . . . . . . .
                                                                                                                                                                                            57
·axes               58 Unreported social security and Medicare
                   59 Additional tax on IRAs, other qualified
                                                                  tax from Fonn:       a      4137     b                D
                                                                                                             8919. . . . . .
                                                               retirement plans. etc. Attach Form 5329 if requir
                                                                                                                                               O                                            58
                   60a Household employment taxes from Sched                                                    ed . . . . .                                                                59
                                                                    ule H . . . • . . . . . . . . . . . .
                     b First-time homebuyer credit repayment Attach                                                . . . . . .                                                             60a
                                                                         Form 5405 if required . . . • . . . . .
                   61 Health care: individual iesponslbility {see
                                                                   instructions)
                                                                                                                                                                                           &Ob
                                                                                        Full-year coverage @. . . . . . .
              63
                   62 Taxes           from: a        O
                                                     Form 8959 b                    D
                                                                            Form 8960 c                             D
                                                                                                        Instructions; entercode(s)_ _ _ _ _ i-..:
                                                                                                                                                    61
                                                                                                                                                    62 :.:.. -+-- ---- +--
                                    lines th       h 62. This •     r total                     . . . . . .
1aym
         ents 64             Federal income tax withheld from Forms W-2
                                                                               and 1099 • . . . . . . .
                                                                                                                                       ...   .   ►             13,6 87
_ _ _ _._.;:6;;..5           2017 estimated tax payments and amount applie                                                             28,1 67
                                                                                    d from 2016 return .
·you have a   66a            Earned Income credit (EiC) . . .           . . . . . . .
ualifying       b            Nontaxable combat pay election . . . • .
hild. attach                                                                       --=:::.:b::..,.___ ___ ___i......i
              67             Additional child tax credit. Attach Schedule 8812
cheduleEIC.                                                                         . . .
              68             American opportunity credit from Form 8863,
                                                                              tine 8 . . . . . . . . . .
              69             Net premium tax credit. Attach Form 8962
                                                                          . . . . . • . • .• . . .
                   70       Amount paid with request for extension to file
                                                                                , . • . . • . . . . . .                  ~70 -=-i ---- ---1 ,--
                   71        Excess social sea.irity and tier 1 RRTA tax withh
                                                                                 eld . . . • • . . . .                   _1_1-t-_ _ _7_7_3___
                  72        Credit for federal tax on fuels. Attach Fonn 4136
                                                                                   . • . . . . . . . . .                 t---" 7-=2 -t--- ----. i--
                  73        Ctedits from Fonn: a □ 2439 b                    .Resetved
                                                                               c □ 8885 d □ ---'- .!..:7 3:;_ i__ _
                  74              lines     65        nd 67 th       73, These are
                                                                                                                                         ~-~
                                                                                                r total   ment s .              . .  .  .  . . .►
tfun d            76        If line 74 is more than line 63, subtrad line 63 from                                                                             28,9 40
                                                                                       line 74. This is the amount you overpaid .
                  76a       Amount of line 75 you want refunded to you.                                                                   . . .               15,2 53
                 ► b        Rooting number
                                                                                If Form 8888 is a ~check here. • .
                                                                          _ _ _ _ ► c Type: L!.I Checking
                                                                                                                                    , . ►                     15,2 53      D
,ct deposi t?    ► d                                                                                                              □ Savings
                            Account number
'UCllons.         77     Amount of line 75     want applied to your 2018 estimated tax .
10unt                                                                                          . . ►        77
                  78     Amo unt you owe. Subtract line 74 from line
                                                                      63. For detail s on how to pay. see instru
                            ti
                                                                               , . . . . . . . . .          79
ird Party              Do you want to allow another person to disQl
signee                 Designee'S
                                                                   ss this retum with the IRS (see instructions)?
                                                                      Phone
                                                                                                                                                                0      Yes. Complete below.
                       name          ►                                                no.          ►
                                                                                                                                                        Personal identification
1n                     Utlder ~ of perjury, Ideclare Iha! I have ex.anin
                                                                          ed Ilia relum and accompanying sclledllles and slatemenls.
                                                                                                                                                        number (PIN)                   ►  j
re                     ,,..,,., _., a M amounts and sources of income IN!alive                                                                 and IO Ille
                                                                              d during lhe lllll year" Declaration of prej)IIIIIC {OIiier lhsn taxpaye best of my knowledge and belief. they are true. correci, and
                                                                                                                                                       r) iS based on all information of which prepa,er has 81\J
                                            (                                                                                                                                                                    knowledge.
retum?See                                                                                                                Your occupation
1dions.                                                                                                                                                                            Daytime phOne number
,a copy for                                                                                                     \           ECURITY OFF ICER MNGR 972 -743 -955
records.                                              int retum, both must sign.                                                                                0
                                                                                                                                                                                If the IRS sent you an Identity PIOteCtioo
                                                                                                                                                                                PIN, enlern
                                                                                                                                                                                here see inst
d                                                                                                                                                 Date
                 CGR IFFI N
parer                                                                                                                                                                     self-employed
                    Firm'sname    ► LG4 CONSULTING                                                                                                                                                   P019 1348 4
,onl y              Fitm'aaddress ► 5001 SOUTH COO
                                                   PER STRE ET SUIT E 210
                                                                                                                                                           Finn's EIN
                                                                                                                                                                            ►
                                            ARLINGTON TX 7601 7                                                                                            Phoneno.              817 -333 -412 7
                                                                                                                                                                                                     Form   1040 (2017)
                    Case 21-04077             Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                            Desc Exhibit
                                               I Defendants Document Request Page 44 of 196
    SCHEDULE A
    (Form 1040 )
                                                                  Itemized Deductions                                                            0MB No. 1545-0074
                                        ►   Go to www.irs.gov/SchecluleA for instruc tions and
    Depertment of lhe Treasury
    Internal Revenue Sen/iee 99
                                                                  ► Attach to Form 1040.
                                                                                                   the latest inform ation.
                                                                                                                                                   ~®17
                                  Cautlo n:lf                    ualified disaste r loss on F om, 4684                                           Attachment
    Name{s) shown on Form 1040                                                                            see the instructions for line 28.           enceNo 07
    MUHAMMAD SIDD I I
    Medical      Caution: Do not include expenses reimbursed or paid by
                                                                        others.
    and                   1 Medical and dental expenses (see instructions . . . . .
                                                                                    . .
    Denta l              2
                         3
                           Enter amou nt from Form 1040, line 38 . .
                           Multiply line 2 by 7.5% (0.075) . , . . . . . .
                                                                           L2        13 6 o18
    Expe nses                                                                      . . . . . .                             10,20 1
                         4 S btract line 3 from line 1. If line 3 is more than line 1
                                                                                       enter --0-
  Taxes You              5 State and local (chec k only one box):
  Paid                     a      DIncom e taxes, or          {                                             5              11,09 6
                           b [K) General sales taxes
                                                                                                          i----- +---- -----. .----
                         6 Real estate taxes (see instructions) •
                                                                                                                           15,53 7
                         7 Personal property taxes . . . . . .
                                                                                                                            7,035
                         8 Other taxes. List type and amount_ lllo:. .•• -·. ___________________ _

                        9 Add lines 5 thro h 8 . . . . . . . . . . . .
                                                                               . • . . . .
 Interest              10 Home mortg age interest and points reported to you
                                                                             on Form 1098
                                                                                                                                                      33,66 8
 You Paid              11 Home mortgage interest not reported to you on Form
                                                                                                                           12,26 3
                                                                               1098. If paid
                         to the person from whom you bought the home, see
                                                                             instructions
                         and show that person's name, identifying no,, and addre
                    Name __ MUHAMMAD_ SI DOI QI ________________________         ss     ►
                                                                            ____________ ._
Note.       Addres s -- 6701 • HA
Your mortgage TIN __ 2105 3 4 3 VENH    ORST _ CT --- _----- -- --- --- -- _---- --- -- -----.
                                  4 0 __________________ • _________  ••• ________________ 1-'1_1+-_ _".; . ., 6.c..,._8:..;1;..;3'-+--,
                                                                                                                    1
interest       12 Points not reported to you on Form              1098. See instructions for
deduction may              special rules . . . . . . . . . . . . . . .
be limited (see                                                                       . . • . . • 12
instructions).        13 Mortgage insura
                                            nce premiums (see instructions) . . . . .                   13
                      14 Investm ent interes t Attach Form 4952 if required. See
                                                                                 instructions.          14
                      15 Addlin es10t hrou         14 , . . • . . . . . . . • . .
Gifts to              16 Gifts by cash or check. If you made any gift of $250                                 . ,.  . ' ...
                                                                                                                      ,:
                                                                                                                                                     29,07 6
                                                                                     or more,
Charity                   see instructions . . . . . . . . . . . . . . . . . . .
                                                                                                       16
If you made a         17 Other than·by cash or check. If any gift of $250 or more,
                                                                                           see
gift and got a            instructions. You must attach Form 8283 if over $500 . . .
benefit for it,      18 Canyo ver from prior year . . . . . . . . . . .                         .     1-1 '--7 +--- ----
see instructions.                                                                       . . , .       ~1_8_.___ _ _ ___.____
                     19 Add lines 16 through 18 . . . . . . . . . . . . .
                                                                                       . . . . . .                 . . . . .
Casualty and         20 Casualty or theft loss(es) other than net qualified disast
                                                                                        er losses. Attach Form 4684 and
Theft Losses             enter the amount from line 18 of that form. See in
                                                                                    uction s. . . . . . . . . . . . .
Job Expenses         21 Unreimbursed employee expen ses-jo b travel,
                                                                               union dues,
ind Certain              job education, etc. Attach Form 2106 or 2106- EZ if requir
                                                                                           ed.
Wiscellaneous
)eductions
                         See instructions. ►     -••·. _....................... _______________
                     22 Tax preparation fees . . . . . . . . . . .                                   t-=-"+--------ii---
                                                                                  . . . . . . .
                     23 Other expen ses-in vestm ent, safe deposit box, etc. List
                         and amoun t ►.     ___ .__ .______ .__.___ .. __ .. __ .______ .. __ ... _
                                                                                          type


                    24 Add lines 21 through 23 . . . . . . . . . . . .
                                                                       . . . .
                    25 Enter amoun t from Form 1040, line 38 . . 26 1            13 6 O l B
                    26 Multiply line 25 by 2% (0.02) . . . . , . . . . . . . . .
                                                                                                                           2,720
                    27 Subtract line 26 from line 24, If line 26 is more than line 24        enter -0- . .
>ther
liscellaneous
                    28 Other -from list in instructions. List type and amou nt
                                                                             ►...                .__ ._. __ ...... _. ... _ ...
1eductions
otal          29 Is Form 1040. line 38, over$ 156.9 00?
:emized          [ID No. Your deduction is not limited. Add the amounts in the far right colum
teductions                                                                                     n                     }
                     for lines 4 through 28. Also. enter this amoun t on Form
                                                                              1040, line
                         D
                     Yes. Your deduction may be limited. See the Itemiz
                                                                           ed Deductions
                                                                                         40.
                     Works heet in the instructions to figure the amoun t to
                                                                             enter.
              30 If you elect to itemize deductions even though they
                                                                        are less than your standard
                 deduction, check here . . . . . • . . . .
                                                                          . . . . . . . _ • • .
,r Paperwork Reduction Act Notice, see the Instruc
                                                   tions for Form 1040.
A                                                                                                                                      Schedule A (Form 1040) 2017
                 Case 21-04077                   Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                  Desc Exhibit
                                                  I Defendants Document Request Page 45 of 196
      SCHE DULEE
      (Form·1040}                                           Supplemental Incom e and Loss                                                               0MB No. 1545-0074
                                      (From rental real estate, royalties, partnerships, S corporations,
  Oep&llment of the Treasury
  1ntema1 Revenue Service (99)        ►
                                                        ► Attach to Fonn 1040, 1040NR, or Form 1041.
                                              Go to www.irs.gov/ScheduleE for instructions and the latest
                                                                                                         estates, trusts, REMICs, etc.)
                                                                                                                                                         ~®17
                                                                                                                                                         Attachme nt
  Name(s) shOwn on return                                                                                 information.                                   Sequence No.    13
                                                                                                                                    Your social security number
  MUHAMMAD SIDDI QI
                                                                                                                                                    -_2_2_2_2_ _ _ _ __
                 Income or Loss From Rent.al Real Estate and Royalti es Note:
                                                                                             If you are in the business o rentmg personal property, use
                 Schedule C or C-EZ (see instructions). If you are an individual, report
                                                                                         farm rental income or loss from Form 4835 on page 2, line 40
      A Did you make any paym~nts in 2017 that would require you
      B lf"Yes," did you or will you file required Forms 1099?. .
                                                                           to file Form(s) 1099? (see instructions) .                  Yes          0
                                                                                                                                                [&] No
                                                                         . . . . . . . . . . . . . . . . . . .                         Yes          0No        O
      1a Phvsical address of each prooertv (street, citv, state, ZIP code)
       A    8114 CARSON CT ROWLETT TX 75088 -
       B
      C
      1b      Type of Property            2     For each rental real estate property listed
                                                above, report the number of fair rental and                   Fair Rental           Personal Use
              (from list below)                                                                                                                                    QJV
                                                personal use days. Check the QJV box                            Days                       Days
 -_§__
    A        A ••••••• ••••••• •••              only if you meet the requirements to file as
                                                a qualified joint venture. See instructions.
                                                                                                    A                     365
                                                                                                                                                                   □
      C
           ·---~---------------                                                                     B
                                                                                                                                                                   □
                                                                                                                                                                   □
                                                                                                    C
 Type of Property:
 1 Single Family Residence                3 vacation/Short-Term Rental        5 Land                      7 Self-Rental
 2 Multi-Family Residence                 4 Commercial                       6 Rovalties                  8 Other (describe)
  Income :                        I                                Prooerties:           A                                     B                               C
   3 Rents reoeived .                                       ..                 3               7,600
   4  Rovaltles received .                                                     4
 Expenses:
  5   Advertising.                                                             5
  6      Auto and travel (see instructions) .
                                                                             6
  7      Cleaning and maintenance .                                          7                  563
  8      Commissions .                                                       8
  9 Insurance.                                                               9               1,681
 10     Legal and other professional fees .                                 10
 11
 12
        Management fees .
        Mortgage interest paid to banks, etc. (see instructions) .
                                                                            11
                                                                            12
                                                                                                                                                                         ·-
 13
 14
        Other interest .
        Repairs.
                                                                            13
                                                                            14
                                                                                                                                                                            -
                                                                                                700
 15     Supplies.                                                           15
 16     Taxes.                                                             16               6,489
 17     Utilities.                                                         17                                                                                                -
18     Depreciation expense or depletion .                                 18
19 Other (list) ► MICS EXPENSES                                            19               1,817
20     Total expenses. Add   ·------
                                 lines-------  -------
                                       5 through 19 . --------------· 20                   11,25 0
21     Subtract line 20 from line 3 (rents) and/or 4 (royalties}. If
       result is a (loss), see instrudions to find out if you must
       file Fonn 6198.                                                     21             -3,65 0
22 Oedudible rental real estate loss after limitation, if any,
       on Fonn 8582 (see instructions) .                                   22 (             3,650           ) (
                                                                                                                                                l
23a Total of arr amounts reported on line 3 for all rental properties .
                                                                                                       23a               7,600
    b Total of all amounts reported on line 4 for all royalty properties .                             23b
    C Total of all amounts reported on line 12 for all properties .
                                                                                                       23c
    d Total of all amounts reported on line 18 for all properties .                                    23d
    e Total of all amounts reported on line 20 for all properties .
                                                                                                       23e             11,25 0
24    Income. Add positive amounts shown on line 21. Do not include any
                                                                                    losses .
25    L08$e&. Add royalty losses. from line 21 and rental real
                                                                                                                                          24
                                                                    estate losses from line 22. Enter total
ZS Total rental real estate and royalty income or (loss). Combine lines 24 and 25. Enter the losses here .                                25        (      3,650         )
                                                                                                              result here.
      If Parts II, Ill, IV, and line 40 on page 2 do not apply to you, also enter
                                                                                  this amount on Form 1040, line
      17, or Form 1040NR. line 18. Otherwise include this amount in the total
                                                                                      on line 41 on rut11e 2 .    "                       26             -3,65 0
;or Paperwork Reduction Act Notice, see the separate instructions.
ICA                                                                                                                                            Schedule E (Form 1040) 2017
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      Foon    6251                                     Alternative Min imu m Tax -Ind ivid ual s                                                   0MB No. 1545-007◄

                                               ►   Go to www.i,s.gov/Form6251 for instru ctions
      Department of the Treasury                                                                and the latest inform ation.
                                                                  ►   Attac:h to Form 1040 or Fonn 1040NR.                                        Attacllment
      Name(s) shewn on Fonn 1040 or Form 1040NR                                                                                                       enceNo    32
      MUHAMMAD SIDD I I
                        Alternative Minimum Taxable Inco me ·see instru
        1
        If filing Sd'leduleA(Form 1040), enter the amount from
                                                                       ctions for how                               to com
                                                                      Form 1040. line 41, and go to line 2. Otherwise,
        enter the amount from F~ 1040, line 38. and go to
                                                                  line 7. (If less than zero, enter as a negative amount.).
     2 Reser vedfo rMure use • . . . . . • • .
                                                          ..•••. , .............
     3 Taxes from Schedule A (Form 1040), line 9 .                                                                      ... .
                                                         . . . . . . . . . . . . . . . . . . .
     4 Enter the home mortgage interest adjustment,                                                             .   .    . . . .
                                                        if any, from line 6 of the worksheet in the instructions
     5 Mlsoellaneous deductions from Schedule A (Form                                                                  for   this line.
                                                             1040), line 27 . . . . . . . . . . . . . .
     6 If Form 1040, line 38, is $156,900 or less. enter                                                                   .   . . .
                                                          -0-. Otherwise, see instructions .
     7 Tax refund from Form 1040, line 10 or line 21 .
                                                                    . . . . . . .
     8 Investment interest expense (difference betwee
                                                        n regular tax and AMT) . . . .
     9 Depletion (difference between regular tax and AMT)
                                                                . . . . . . . . . . . .
    10 Net operating loss deduction from Fonn 1040, line
                                                             21. Enter as a positive amount. . . . . . .
   11 Alternative tax net operating loss deduction . . . .                                                            . . . .
                                                                  . . . . . . . . . . . . . . . . . . . .
   12 Interest from specified private activity bonds exemp                                                                      . .
                                                              t from the regular tax . . . . . . . . .
   13 Qualified small business stock, see instructions                                                                                     12
                                                         . .                     . . . . . . . . . . .
   14 Exercise of incentive stock options (excess of                                                                                       13
                                                      AMT income over regular tax Income) . . . .
   15 Estates and trusts (amountfrom Schedule K-1                                                                                          14
                                                       (Form 1041). box 12, code A). .              . .....
   16 Electing large partnerships (amount from Sched                                                                                      15
                                                        ule K-1 (Form 1065-B), box 6}. . . . . . . .
   17 Disposition of property (difference between AMT                                                              . • .                  16
                                                          and regular tax gain or loss) . . . . . . . . .
   18 Depreciation on assets placed in service after 1986                                                             .                   17
                                                              (difference between regular tax and AMT). . .
  19 Passive activities (difference between AMT and                                                                                       18
                                                        regular tax income or loss) . . . . . . . . . .
  20 Loss limitations (difference between AMT and                                                                     .                   19
                                                      regular tax income or loss) • . . . . .
  21 Circulation costs (difference between regular tax                                                                                    20
                                                          and AMT) . . . . . . . . . . .
  22 long-term contracts (difference between AMT and regula                                                                               21
                                                                     r tax income) . . .
  23 Mining costs (difference between regular tax and                                                                                     22
                                                          AMT) . . . . . .
  24 Research and experimental costs {difference betwee                                                                                   23
                                                              n regular tax and AMT) .
  25 Income from certain installment sales before Janua                                                                                   24
                                                            ry 1, 1987 . . . . . . . . . . . . . . _ .
  26 Intangible drilling costs preference . . . . .                                                                      . . . .          25
                                                       . . . . . . . • . . . . . . . . . . . .
  27 Other adjustments, including income-based related                                                            . . . . .               26
                                                            adjustments . . . . . . . . . . . . . . .
  28 Alternative minimum taxable income. Combine                                                                        .                 27
                                                            lines 1 through 27. (If married filing separately and
      28 is more than $249,450, see instructions.) .                                                                      line
                                                          . . . . . . . . . . . . . . . . . . .
                     Alternative Minimum Tax AMT                                                                                          28        106, 942
  29        Exemption. (If you were under age 24 atthe end of20H
                                                                 , see instructions.). . . . . . . . . . .
            IF your filing status is • . •            AND line 28 is not over. • . THEN enter on line 29
            Single or head of house hold. . . . .                                                        ••.
                                                      $120,7 00. .                                   $54,300
            Married filing jointly or qualifying widow(er)                                                                    }
                                                              160,900 • . . .                         84,500
         Married filing separately . . • . . .           80.450 . •                             42,250                                               54,3 00
         If line 28 is over the amount shown above for your filing
                                                                      status, see instructions.
 30      Subtract line 29 from line 28. If more than zero, go to
                                                                 line 31. If zero or less, enter -0- here and on lines 31,
         33, and 35, and go to line 34 . . . . . . . . .
                                                                . . . . . . . . . . . . . . . . . . •
 31       • If you are filing Form 2555 or 2555-EZ, see instruc                                                                                      52,6 42
                                                                   tions for the amount to enter.
            • If you reported capital gain distributions directly on Form 1040,
                                                                                !ine 13; you reported qualified dividends
              on Form 1040, line 9b; or you had a gain on both lines 15
                                                                           and 16 of Schedule D (Form 1040) {as
              refigured for lheAMT, if necessary), complete Part Ill on the back
                                                                                    and enter !he amount from !ine 64 here.
            • All others: If line 30 is $187,800 or less ($93,900                                                                                    13,6 87
                                                                         or less if married filing separa
                                                                                                tely), multiply line
               30 by 26% (0.26). Otherwise, multiply line 30 by 28%
                                                                    (0.28) and subtract $3,756 ($1,878 if married
               filing separately} from the result
32      Alternative minimum tax foreign tax credit (see instruc
                                                                tions) . • . . . . . . . . . . . . . .
33      Tentative minimum tax. Subtract line 32 from line 31
                                                              . . . . . . . . . . . . . . . . . . . .
34      Add Form 1040, line 44 (minus any tax from Form 4972),                                                                                      13,6 87
                                                                     and Form 1040. One 46. Subtract from the result any
        foreign tax credit from Form 1040, line 48. If you used
                                                                 Schedule J to figure your tax on Form 1040, line 44,
        refigure that tax without using Schedule J before
                                                           completing this line (see instructions) . . . . . .
                                                                                                                 .                                   13 045
35      AMT. Subtract line 34 from line 33. If zero or less enter
                                                                   -0-. Enter here and on Form 1040 line            45 .
=or Paper work Reduc tion Act Notice , see your tax                                                                                                      642
                                                    return Instru ctions .
;CA                                                                                                                                               Form 6251 (~17}
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         2.
   2015 tax return
      and Ban k
    Statments for
        Hiba
   Entertainment
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                                                       U.S. Return of Partnership Income
Form      1065
Department of the Treasury
                                  For calendar year 2015, or tax year beginning ______    01 / 0 l __ , 2015, ending __ 12 / 3 1, 20 __ }_~---
                                                                                                                                                              oMs No. 1545-0123
                                                                                                                                                                  if))   fry 15
Internal Revenue Service           ► Information about Form 1065 and its separate instructions is at www.irs.gov/form1065.                                        b ~
A Principal business activity                Name of partnership                                                                                        D Employer identification number

PROMOTERS OF                                HIBA ENTERTAINMENT                                                                                             XX-XXXXXXX
B Principal product or service    Type       Number, street, and room or suite no. If a P.O. box, see the instructions.                                 E Date business started
CONCERT AND G                      or       3020 BIG TOWN BLVD                                                                                             01/21/2000
C Business code number            Print      City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                        F Total assets (see the
 711300                                     MESQUITE, TX 75150                                                                                            instructions)

                                                                                                                                                          $                        18000

 G        Check applicable boxes:          (1)   D   Initial return (2)    D   Final return (3)        D   Name change (4)      D     Address change (5)          D      Amended return
                                           (6)   D   Technical termination       also check (1) or (2)
 H        Check accounting method: (1) [XI Cash                     (2)    D   Accrual           (3)   D   Other (specify) ►
  I       Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year ►---------------------------------------------
 J        Check if Schedules C and M-3 are attached                                                                                                   _                                D
Caution. Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.

            1a      Gross receipts or sales .                                         I 1a I            35000 ,.·•·--··
             b      Returns and allowances                                            I 1b I                                                   '~~;.t
                C   Balance. Subtract line 1b from line 1a .                                                    1c                                                              35000
            2       Cost of goods sold (attach Form 1125-A)                                                       2
            3       Gross profit. Subtract line 2 from line 1c                                                    3                                                             35000
  (I,)      4       Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)       4
  E         5       Net farm profit (loss) (attach Schedule F (Form 1040))                                       5
  0
  (.)       6       Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797)                           6
 .5         7       Other income (loss) (attach statement)                                                        7
            8       Total income (loss). Combine lines 3 through 7                                                8                                                             35000
  VJ
   C
            9       Salaries and wages (other than to partners) (less employment credits)                         9
   0

  ~        10       Guaranteed payments to partners                                                             10
  I        11       Repairs and maintenance .                                                                   11
  .2       12       Bad debts .                                                                                 12
   "'
   C
   0       13       Rent.                                                                                       13
  ~
   2       14       Taxes and licenses                                                                          14
  1;i
  .!=      15       Interest .                                                                                  15
                                                                                                           I~s~ I
   (lJ
  £
   (lJ
   (lJ
           16a      Depreciation (if required, attach Form 4562) .                                            tt;t
  .!!!,       b     Less depreciation reported on Form 1125-A and elsewhere on return I16b I                  16c
  II)
  C
           17       Depletion (Do not deduct oil and gas depletion.}                                            17
  0        18       Retirement plans, etc.                                                                      18
 :.:;
  (.)
 :,        19       Employee benefit programs                                                                   19
 1J        20       Other deductions (attach statement)                                                         20                                                             73191
  (I,)
 C         21       Total deductions. Add the amounts shown in the far right column for lines 9 through 20.     21                                                             73191
           22       Ordinary business income (loss). Subtract line 21 from line 8                               22                                                            -38191
                      Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my
                      knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than general partner or limited liability company member manager)
Sign
Here
                      is based on all information of which preparer has any knowledge.
                                                                                                                                                  IMay the IRS discuss this return with the
                                                                                                                                                   preparer shown below (see
                                                                                                                                                                                   O
                                                                                                                                                                                              I
                        ►
                                                                                                                          06/14/2016                                         Yes       No

                                                                                                                    ► I
                                                                                                                                                   instruct1onsl?[X)
                            Signature of general partner or limited liability company member manager                    Date

Paid
                      Print/Type preparer's name                      I   Preparer's signature                                 Date            Check Oil                 I
                                                                                                                                                                         PTIN
                                                                                                                               06/14/2016      self-employed
Preparer
                      Firm's name     ►                                                                                                        Firm's EIN     ►          -
Use Only                                                    -
                      Firm's   address ►                                                                                                       Phone no.          - -
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                        Form    1065 (2015)
QNA
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            HIBA ENTERTAINMENT                                                                                                            XX-XXXXXXX
Form 1065 (2015)                                                                                                                                                          Page            2
IIIIL~.,. ,mtoJ11:11111   Other Information
   1       What type of entity is filing this return? Check the applicable box:                                                                              Yes                  No




   2
       a
       C
       e
           D Domestic general partnership
           Ix] Domestic limited liability company
           D Foreign partnership
                                                               b D Domestic limited partnership
                                                               d D Domestic limited liability partnership
                                                               f D Other ►
           At any time during the tax year, was any partner in the partnership a disregarded entity, a partnership (including
           an entity treated as a partnership), a trust, an S corporation, an estate (other than an estate of a deceased partner),
                                                                                                                                                         f~1 :)>          I:;'

           or a nominee or similar person?                                                                                                                                        X
   3       At the end of the tax year:                                                                                                                   :,,:,;., I "i>
                                                                                                                                                                                      '
       a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-                               >"(? >> '
           exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
           loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
           B-1, Information on Partners Owning 50% or More of the Partnership                                                                                                     X
       b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
           the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
           on Partners Owning 50% or More of the Partnership                                                                                                                      X
   4       At the end of the tax year, did the partnership:
                                                                                                                                                          i!';>\'. ,;>
       a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
           stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see
           instructions. If "Yes," complete (i) through (iv) below .
                                                                                                                                                        ":~,r~            I?
                                                                                                                                                                          1;;
                                                                                                                                                                                  X
                             (i) Name of Corporation                            (ii) Employer Identification       (iii) Country of           (iv) Percentage
                                                                                      Number (if any)               Incorporation          Owned in Voting Stock




       b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
           or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
           interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below .
                                                                                                                                                        ~lili I~\'<>''
                                                                                                                                                                                  X
                                                                          (ii) Employer                                                           (v) Maximum
                                                                                                   (iii) Type of        (iv) Country of
                            (i) Name of Entity                            Identification                                                     Percentage Owned in
                                                                         Number (if any)                Entity          Organization         Profit, Loss, or Capital




                                                                                                                                                          Yes                 No
   5       Did the partnership file Form 8893, Election of Partnership Level Tax Treatment, or an election statement under                                                I ;;     <;
           section 6231(a)(1)(B)(ii) for partnership-level tax treatment, that is in effect for this tax year? See Form 8893 for
           more details
                                                                                                                                                        Ii}i l:,t-·•
                                                                                                                                                                                  X
   6       Does the partnership satisfy all four of the following conditions?                                                                           \?::,:I 0:i>

                                                                                                                                                        tJj I}F't
       a   The partnership's total receipts for the tax year were less than $250,000.
       b   The partnership's total assets at the end of the tax year were less than $1 million.
       C   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
           extensions) for the partnership return,
    d      The partnership is not filing and is not required to file Schedule M-3                                                                             X
           If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; Item Fon page 1 of Form 1065;                               ?i) I', .
           or Item Lon Schedule K-1.                                                                                                                    i': ....... ·'·....· •..
   7       Is this partnership a publicly traded partnership as defined in section 469(k)(2)? .                                                                                   X
   8       During the tax year, did the partnership have any debt that was cancelled, was forgiven, or had the terms
           modified so as to reduce the principal amount of the debt?                                                                                                             X
   9       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
           information on any reportable transaction? .                                                                                                                           X
                                                                                                                                                                             ...
                                                                                                                                                                           ·,..
                                                                                                                                                             ',
 10        At any time during calendar year 2015, did the partnership have an interest in or a signature or other authority over a financial
                                                                                                                                                        I·        /
           account in a foreign country (such as a bank account, securities account, or other financial account)? See the instructions for
           exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR). If "Yes,"                      I•        .·  '    }
           enter the name of the foreign country. ►                                                                                                                               X
QNA                                                                                                                                              Form   1065 (2015)
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           HIBA ENTERTAINMENT                                                                                                XX-XXXXXXX
Form 1065 (2015)                                                                                                                            Page   3
                          Other Information (continued)

 11       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions .
 12a      Is the partnership making, or had it previously made (and not revoked), a section 754 election?
          See instructions for details regarding a section 754 election.
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions
      c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions
 13       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
          like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
          owned by the partnership throughout the tax year)                                                         . ► □
 14       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property? .
 15       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities, enter the number of Forms 8858 attached. See instructions ►        o
 16       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
          Information Statement of Section 1446 Withholding Tax, filed for this partnership. ►
 17       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return. ►     o
 18a      Did you make any payments in 2015 that would require you to file Form(s) 1099? See instructions
      b If "Yes," did you or will you file required Form(s) 1099? .
 19       Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
          Corporations, attached to this return. ► o
 20       Enter the number of partners that are foreign governments under section 892.         ►          0
Designation of Tax Matters Partner (see instructions)
Enter below the general partner or member-manager designated as the tax matters partner (TMP) for the tax year of this return:


 Name of       ►

                                                                                                              ►
 designated                                                                               Identifying
 TMP                                                                                      number of TMP

 If the TMP is an


                                                                                                              ►
 entity. name                                                                             Phone number
 of TM P representative                                                                   ofTMP


 Address of    ►
 designated
 TMP


QNA                                                                                                                              Form   1065 (2015)
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           HIBA ENTERTAINMENT                                                                                                              XX-XXXXXXX
Form 1065 (2015)                                                                                                                                           Page   4
 Schei:Jule lK.          Partners' Distributive Share Items                                                                                 Total amount
             1       Ordinary business income (loss) (page 1, line 22)                                                                               -38191
             2       Net rental real estate income (loss) (attach Form 8825)                                                         2
             3a      Other gross rental income (loss)                              1--3_a-+---------i.
               b     Expenses from other rental activities (attach statement)      .__3_b---'----------1
               c     Other net rental income (loss). Subtract line 3b from line 3a
   'iii      4       Guaranteed payments
    VI
    0        5       Interest income . .
   d.        6       Dividends:    a Ordinary dividends .
    C1)
    E                               b Qualified dividends                           6b
    0        7       Royalties .
    (,)
   .5        8       Net short-term capital gain (loss) (attach Schedule D (Form 1065))
             9a      Net long-term capital gain (loss) (attach Schedule D (Form 1065))
              b Collectibles (28%) gain (loss)                                             l--9_b+---------+s.,::::c
                 c   Unrecaptured section 1250 gain (attach statement)                      9c
            10       Net section 1231 gain (loss) (attach Form 4797)                                              10
            11       Other income (loss) (see instructions) Type ►                                                11
    VI
    C:
            12       Section 179 deduction (attach Form 4562)                                                     12
    0       13a      Contributions                                                                               13a
   ~             b   Investment interest expense                                                                 13b
    :::!
                                                        (1) Type ►----------------------------------- (2) Amount ►
   "O                                                                                                                              13c(2
    C1)          c   Section 59(e)(2) expenditures:
   Cl         d      Other deductions (see instructions) T pe ►                                                                    13d
            14a      Net earnings (loss) from self-employment                                                                      14a               -38191
              b      Gross farming or fishing income                                                                               14b
              c      Gross nonfarm income                                                                                          14c
            15a      Low-income housing credit (section 420)(5))                                                                   15a
              b      Low-income housing credit (other)                                                                             15b
                 c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)                  15c
                 d   Other rental real estate credits (see instructions)         Type ►   --------------------------------------   15d
                 e   Other rental credits (see instructions)                     Type ►   --------------------------------------   15e
                 f   Other credits (see instructions)                            T pe ►                                            15f
            16a      Name of country or U.S. possession ►----------------------------------------------------------------­
                 b   Gross income from all sources .
   VI
    C:           c   Gross income sourced at partner level
    0
                     Foreign gross income sourced at partnership level
   ~
   It!
    fl)
                 d   Passive category ►                     e General category ►           ____________________
                                                                                                            f Other ►
   C:                Deductions allocated and apportioned at partner level
   I.':              Interest expense ►     _______________________________
   I-            g                                                  h Other                                     . . ►
    C:               Deductions allocated and apportioned at partnership level to foreign source income
    C,
   -~                Passive category ►                     j General category ►           ____________________
                                                                                                             k Other ►
    0                Total foreign taxes (check one): ► Paid D Accrued D
   LL
              m      Reduction in taxes available for credit (attach statement)
              n      Other foreign tax information (attach statement)
            17a      Post-1986 depreciation adjustment                                                                             17a
                 b   Adjusted gain or loss . .                                                                                     17b
                 c   Depletion (other than oil and gas) .                                                                          17c
                 d   Oil, gas, and geothermal properties-gross income                                                              17d
                 e   Oil, gas, and geothermal properties-deductions .                                                              17e
                 f   Other AMT items (attach statement)                                                                             17f
    C:      18a      Tax-exempt interest income.                                                                                   18a
    0
   +:l           b   Other tax-exempt income                                                                                       18b
    It!
                 c   Nondeductible expenses .                                                                                      18c
    ...
    E
   -...
    0
    C:
            19a
              b
            20a
                     Distributions of cash and marketable securities
                     Distributions of other property
                     Investment income .
                                                                                                                                   19a
                                                                                                                                   19b
                                                                                                                                   20a

   -
    C1)
   .c:           b   Investment expenses . .
   0             c   Other items and amounts (attach statement)
ONA
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                   HIBA ENTERTAINMENT                                                                                                                                                                                     XX-XXXXXXX
Form 1065 (2015)                                                                                                                                                                                                                                         Page     5
Analysis of Net Income (Loss)
  1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
                 Schedule K, lines 12 through 13d, and 161 .                                              .     .                                                         .    .     .     .                                                     -38191
     2          Analysis by
                                                          (i) Corporate
                                                                                              (ii) Individual                   (iii) Individual
                                                                                                                                                                 (iv) Partnership
                                                                                                                                                                                                       M  Exempt                                 (vi)
                partner type:                                                                      (active)                          (passive)                                                        Organization                    Nominee/Other

         a General partners i - - - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - - 1
         b Limited part_n--=e:c-r__,s~----c:--,-----....,.....--,----,---~-=-----,----,----,----'------..--~-----=,------,---'--------'
                       Balance Sheets per Books                    Beginning of tax year                    End of tax year
                                                Assets                                                                        (a)                                   (b)                                   (c)                                   (d)
     1          Cash
     2a         Trade notes and accounts receivable .
         b      Less allowance for bad debts
     3          Inventories
     4          U.S. government obligations
     5          Tax-exempt securities
     6          Other current assets (attach statement)
     7a         Loans to partners (or persons related to partners)
     b          Mortgage and real estate loans
   8            Other investments (attach statement) .
   9a           Buildings and other depreciable assets
     b          Less accumulated depreciation
  10a           Depletable assets . .
     b          Less accumulated depletion
  11            Land (net of any amortization)
  12a           Intangible assets (amortizable only)
     b          Less accumulated amortization
  13            Other assets (attach statement)
  14            Total assets .
                          Liabilities and Capital
  15            Accounts payable . . .
  16            Mortgages, notes, bonds payable in less than 1 year
  17            Other current liabilities (attach statement)
  18            All nonrecourse loans . .
  19a           Loans from partners (or persons related to partners)
         b      Mortgages, notes, bonds payable in 1 year or more
  20            Other liabilities (attach statement)
  21            Partners' capital accounts
  22            Total liabilit:..:ie:..:s:..:a:.::n:..:d:..:..:.c=ap~i:..:ta:..:l_.:...._.:....__;__...:..:...:...._.:....__-'----'...:..:.....:..:.....:..:...:...._.:...._...:..:.....L._ _ _ _ _ _....ll;...:..:.....:..:.....:..:.....:..:.....:..:..-=--~-------
                                             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                  Note. The partnership may be required to file Schedule M-3 (see instructions).
     1          Net income (loss) per books .                                   6   Income recorded on books this year not included
                                                                                    on Schedule K, lines 1 through 11 (itemize):
     2          Income included on Schedule K, lines 1, 2, 3c,
                5, 6a, 7, 8, 9a, 10, and 11, not recorded on                      a Tax-exempt interest $
                                                                                                                                                                             --------------------------
                books this year (1tem1ze):
                                           ------------------------                                                                            -------------------------------------------------------·
     3          Guaranteed payments (other than                                                                                       7         Deductions included on Schedule K, lines
                health insurance)                                                                                                               1 through 13d, and 161, not charged
     4          Expenses recorded on books this year                                                                                            against book income this year (itemize):
                not included on Schedule K, lines 1                                                                                       a     Depreciation $
                through 13d, and 161 (itemize):
                                                                                                                                                                   ------------------------------------
                                                                                                                                               -------------------------------------------------------·
         a      Depreciation $                                                                                                        8         Add lines 6 and 7
         b      Travel and entertainment $                                                                                            9         Income (loss) (Analysis of Net Income
                                                                    -----------------
     5          Add lines 1 through 4                                                                                                           (Loss), line 1). Subtract line 8 from line 5
1111,."'fil IT:l'c I llf-'llli!.T, ,..,._.   Analysis of Partners' Capital Accounts
     1          Balance at beginning of year                                                                                          6         Distributions: a Cash
     2          Capital contributed: a Cash                                                                                                                    b Property
                                     b Property                                                                                       7         Other decreases (itemize):
                                                                                                                                                                                    --------------------
     3          Net income (loss) per books .
                                                                                                                                                --------------------------------------------------------
     4          Other increases (itemize):                                                                                            8         Add lines 6 and 7
                                                                 -------------------
     5          Add lines 1 throuQh 4                                                                                                 9         Balance at end of year. Subtract line 8 from line 5
ONA                                                                                                                                                                                                                                    Form     1065 (2015)
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Form       1125-A                                               Cost of Goods Sold
(Rev. December 2012)                                                                                                                         0MB No. 1545-2225
                                              ►  Attach to Form 1120, 1120-C, 1120-F, 1120S, 1065, or 1065-B.
Department of the Treasury
Internal Revenue Service           ►   Information about Form 1125-A and its instructions is at www.irs.gov/form1125a.
Name                                                                                                                              Employer identification number
   HIBA ENTERTAINMENT                                                                                                             XX-XXXXXXX
   1       Inventory at beginning of year                                                                                 1
   2       Purchases                                                                                                      2
   3       Cost of labor                                                                                                  3
   4       Additional section 263A costs (attach schedule)                                                                4
   5       Other costs (attach schedule)                                                                                  5
   6       Total. Add lines 1 through 5 .                                                                                 6
   7       Inventory at end of year                                                                                       7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return (see instructions)                                                         8
   9a      Check all methods used for valuing closing inventory:
            (i)  D Cost
           (ii)  D Lower of cost or market
           (iii) D Other (Specify method used and attach explanation.) ►
       b   Check if there was a writedown of subnormal goods                                                                                         ►□
       c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                                  ►□
       d   If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    ~I        _9d~j_________
       e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity (see instructions)?             D Yes      Ix!   No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
           attach explanation                                                                                                               D Yes      Ix!   No




For Paperwork Reduction Act Notice, see instructions.                                                                                Form   1125-A (Rev. 12-2012)
 ONA
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         HIBA ENTERTAINMENT                                                                                                                      XX-XXXXXXX

                           Worksheet for Figuring Net Earnings (Loss) From Self-Employment

 1a       Ordinary business income (loss) (Schedule K, line 1) • • • • • • • • • • • •                                 1a        -38191

     b    Net income (loss) from certain rental real estate activities (see instructions) ••• t--1_b-i----------;


     c    Other net rental income (loss) (Schedule K, line 3c) • • • • • • • • • • • • • • ,__1_c_ _ _ _ _ _ _ ___,


     d    Net loss from Form 4797, Part II, line 17, included on line 1a above.          Enter as a positive amount   l--1_d-+----------1

     e    Combine lines 1a through 1d • • • • • • • • • • • • • • • • • •                               . . . . . .    1e        -38191
                                                                                                                      1---+---------1

 2        Net gain from Form 4797, Part 11, line 17, included on line 1a above • • • • •                               2


 3a       Subtract line 2 from line 1e.   lfline 1e is a loss, increase the loss on line 1e by the amount on line 2    3a        -38191

     b    Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
          organizations, and IRAs • • • • • • • • • • • • • • • • • • • • • • • •                                      3b


     c    Subtract line 3b from line 3a. If line 3a is a loss, reduce the loss on line 3a by the amount on line 3b. Include
          each individual general partner's share in box 14 of Schedule K-1, using code A •                                                 3c         -38191

 4a       Guaranteed payments to partners (Schedule K, line 4) derived from a trade
          or business as defined in section 1402(c) (see instructions) • • • • • • • • •                               4a


     b    Part of line 4a allocated to individual limited partners for other than services
          and to estates, trusts, corporations, exempt organizations, and IRAs • • • • • • .._4_b~----------1


     c    Subtract line 4b from line 4a. Include each individual general partner's share and each individual limited
          partner's share in box 14 of Schedule K-1, using code A • • • • • • • • • • • • • • • • • • • • • • • • • •                       4c


 5        Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a                         5          -38191
QNA
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  1065 SUPPORTING STATEMENTS FOR XX-XXXXXXX

****   SCHEDULE of Deductions - Other:

_D_e_s_c_r_i~p_t_i_o_n_ _ _ _ _ _ _ _ _ _ _ Amount
MEALS AND ENTERTAINMENT                             2250
SECURITY                                            6349
ORGANIZATION EXPENSES                               9920
CONTRACT LABOR                                      6875
TRAVEL                                             11400
LEASE OF CONCERT HALL                              33897
AUTO EXPENSE                                        2500

                                                 73191
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                CHA SEO                                                                     Decembe r 30, 2017through January 31, 2018
                                                                                            Account Number:    ■■■■■0290


      IDEPOSITS AND ADDITIONS!
        DA.TE        DESCRIPTION
                                                                                                                                 AMOUNT
       01/08        Deposit        938595795
                                                                                                                               $6,600.00
       Total Deposit s and Addition s
                                                                                                                               $6,600.00

      !CHE CKS PAID!
      CHECK NO.            DESCRIPTION                                                                        DATE
                                                                                                              PAID               AMOUNT
      1118 A
                                                                                                              01/08          $30,000.00
      1120 • A
                                                                                                              01/17            1,050.00
       Total Checks Paid
                                                                                                                             $31,050.00
       If you see a description in the Checks Paid section, it means that we received
                                                                                         only electronic information about the check,
       not the original or an image of the check. As a result, we're not able to
                                                                                 return the check to you or show you an image.
       • All of your recent checks may not be on this statement. either because
                                                                                   they haven't cleared yet or they were listed on
         one of your previous statements.
       A An image of this check may be available
                                                   for you to view on Chase.com.


      IATM & DEBIT CARD WITHDRAWALS!
       DATE      DESCRIPTION
                                                                                                                                 AMOUNT
       01/02     Card Purchase         12/28 Ame Stonebriar 24 #0260 Frisco TX Card 4378
                                                                                                                                 $34.08
       01/02     Card Purchase        12/30 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378
                                                                                                                                   0.99
       01/02     Card Purchase With Pin 12/31 Racetrac 99 Plano TX Card 4378
                                                                                                                                  21.97
      01/04      Card Purchase With Pin 01/04 Shell Service Statio Farmers Branc TX
                                                                                      Card 4378                                   27.86    ~..,.,/'
      01/09      Recurring Card Purchase 01/09 Facebk 5P6E~dss42 650-5434800 CA
                                                                                       Card 4378                                   2.82✓
      01/09      Recurring Card Purchase 01/09 Facebk 4P6Egdss42 650-5434800 CA
                                                                                       Card 4378                                    1.09 ✓
      01/10      Card Purchase        01/09 Dallas CO Motorvehicle Dallas TX Card 4378
      01/10
                                                                                                                                  74.75V
                 Card Purchase        01/09 JP Morgan Ch•Aset Fee Dallas TX Card 4378
                                                                                                                                   3.sov
      01/11     Card Purchase         01 /09 Collin CO TX Clerk P LA Carrollton TX Card 4378
      01/11                                                                                                                        1.86 •
                Card Purchase         01/09 Collin CO TX Clerk P LA Mckinne t TX Card 4378
                                                                                                                                  81.00
      01/11     Card Purchase With Pin 01/11 Wal-Mart Sueer Center Lucas TX Card
                                                                                      4378                                        46.86\ /
      01/16     Card Purchase        01113 Racetrac616 00006163 Plano TX Card 4378
                                                                                                                                  20.oo v
      01/16     Card Purchase With Pin 0111 3 Kroger So 2608 W Fm 54 W):lie TX Card
                                                                                        4378                                      41.98 V
      01/16     Card Purchase With Pin 01/13 Kroier So 2608 W Fm 54 Wylie TX Card
                                                                                        4378                                       4.32·✓
      01/17     A TM Withdrawal        01/17 161 W Sprins Creek Pk~ Plano TX Card 4378
                                                                                                                                 500.00
      01/17     Card Purchase With Pin 01/17 Murphy Express 8722 Allen TX Card 4378
      01/18     Card Purchase        01/17 Starbucks Store 24470 Lucas TX Card 4378
                                                                                                                                   a.oav
                                                                                                                                   3.95 ✓
      01/18     Card Purchase        01/17 Wendy's #11493 Lucas TX Card 4378
                                                                                                                                   3.55 ✓
      01/18     Card Purchase With Pin 01/18 Quiktrip Dallas TX Card 4378
l')                                                                                                                               14.42v
 ' 01/19        Card Purchase        01/18 Br Factory US 4126 Fort Worth TX Card 4378
      01/22     Card Purchase        01/18 National Wireless Dallas TX Card 4378                                                  33.12 ✓
                                                                                                                                 35.00
      01/22     Card Purchase        01 /20 Chuck E Cheese 597 Allen TX Card 4378
                                                                                                                                 12.00·
      01/22     Card Purchase        01/21 Yummy Burgers & Bbg Allen TX Card 4378
                                                                                                                                 25.i?\ /
      01/22     Card Purchase With Pin 01/21 Kroger So 536 Centenni Richardson TX
                                                                                      Card 4378                                  59.57 V
      01/22     Non-Chase ATM Withdraw 01/22 10084 CR 448 Princeton TX Card 4378
                                                                                                                                103.00
      01/25     Card Purchase       01/23 Too Thai Street Eats Carrollton TX Card 4378
      01/29                                                                                                                      90.o5/
                Card Purchase       01/27 Bjs Restautants 439 Plano TX Card 4378
      01129     Card Purchase With Pin 01/27 7-Eleven Murphy TX Carel 4378
                                                                                                                                 80.33✓
                                                                                                                                      '/
                                                                                                                                   5.69v
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        CHASEO                                                           December 30, 2017throughJanuary 31, 2018
                                                                          Account Number.   ..-0290

!ATM & DEBIT CARD WITHDRAWALSj.<:0.~t~·n=u_ed_~_ _ _ _ _ _ _ _ _ __
 DATE   DESCRIPTION                                                                                         AMOUNT
01/29   Card Purchase With Pin 01/27 7-Eleven Murphy TX Card 4378                                              4.99

                                                                                                                          --=
01129   Card Purchase With Pin 01/27 7-Eleven 33654 Murphy TX Card 4378                                       39.99
01/31   Card Purchase       01/30 Agr ltunes.Com/Bill 866-712-7753 CA Card 4378                                0.99
Total ATM & Debit Card Withdrawals                                                                        $1,382.98       -
                                                                                                                          ---"



                                                                                                                          ===
IATM & DEBIT CARD SUMMARY l1------ ---------
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits
                          Total Card Purchases
                                                                                                           $603.00
                                                                                                           $779.98
                                                                                                                          -!!!!!!!!!!!!!!!
                                                                                                                          =
                          Total Card Deposits & Credits                                                      $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawafs & Debits                                                   $603.00
                          Total Card Purchases                                                             $779.98
                          Total Card Deposits & Credits                                                      $0.00

!ELECTRONIC WITHDRAWALS!
 DATE   DESCRIPTION                                                                                         AMOUNT
01/02   Quickpay With Zelle Payment To Millan 6787217588                                                  $1,000.00 ✓
01/02   01/01 Payment To Chase Card Ending IN 3191                                                           500.00 i/
01/09   Quickpay With Zelle Payment To Millan 6809627283                                                     600.00   v
01/12   01/12 Payment To Chase Card Ending IN 3191                                                           500.00 ✓
01/16   Quickpay With Zelle Payment To Guy Cannon 6826156673                                                 soo.oov
01/16   Quickpay With Zelle Payment To Laura Moonan 6828861242                                                 1.00 ✓
01/22   Farmers Ins    EFT Pymt             PPD ID: 1952575893                                               765.49   J
01/23   U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853                                            560.24 ✓
01/25   Stream Energy Utility 2125379         Web ID: 0000007041                                              27.24 V
01/25   Kubra Stream Web Utility 2141053        Web ID: 0000007041                                             2.95
01/29   Quickpay With Zelle Payment To MiUan 6857015588                                                      300.00 V
Total Electronic Withdrawals                                                                              $4,756.92

IOTHER WITHDRAWALSt-1_ _ _ _ _ _ _ _ _ _ _ _ _ __
DA TE   DESCRIPTION                                                                                         AMOUNT
01/22   01/22 Withdrawal                                                                                   $900.00
Total Other Withdrawals                                                                                    $900.00

I FEES I
DA TE   DESCRIPTION                                                                                         AMOUNT
01/22   Non-Chase ATM Fee-With                                                                                $2.50
Total Fees                                                                                                    $2.50
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        CHA SEO                                                                                  December 30, 2017through January 31, 2018
                                                                                                  Account Number:     ■■■              0290


IDAILy ENDING BALANCE I
 DATE                         . /•~OUNT               DATE                           AMOUNT                  DATE                          AMOUNT
01/02                       $30,234.01               01/12                          5,494.27                01/22                         1,411.12
01/04                        30,206.15               01/16                          4,926.97                01/23                           850.88
01/08                          6,806.15              01/17                          3,368.89                01/25                           730.64
01/09                          6,202.24              01/18                          3,346.97                01/29                           299.64
01/10                         6,123.99               01/19                          3,313.85                01/31                           298.65
01/11                         5,994.27

ISERVICE CHARGE SUMMARY I
You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                to oe waived in five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $10,675.00.
                                                                                                         OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your
                                                                                                  relationship balance
          was $11,629.00 . OR
•         Link a qualifying personal checking account to your Chase BusinessSe lect Checking account.
                                                                                                        Your Premier
          Plus personal checking account is linked. OR
•         Spend at feast $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
•         Pay at least $50.00 in qualifying checking-re lated services or fees. You paid $2.50.

See your Account Rules and Regulations or stop in to           see a banker today to find out more.
TRANSACTIONS FOR SERVICE FEE CALCULATIO N
                                                                                                                    NUMBER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                                           38
Deposits / Credits
Deposited Items
Transactio n Total
                                                                                                                                           40
SERVICE FEE CALCULATION
                                                                                                                                     AMOUNT
Service Fee
                                                                                                                                      $15.00
Service Fee Credit
                                                                                                                                     -$15.00
Net Service Fee
                                                                                                                                       $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                       $0.00
Total Service Fees
                                                                                                                                       $0.00




IN CASE OF ERRORS         OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or
                                                                                                                                   write us at lhe
address on the front of thts statement (non-persona l accounts contact Customer Servtce)
                                                                                              immediately if you think your statement or receipl is
incorrect or if you need more infonnation about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement
                                                                                                                       on which the problem or error
appeared. Be prepared ta give us the foDowing information:
         •     Your name and account number
         •     The dollar amount of the suspecied error
         •     A desCfipUon of the error or transfer you are unsure of, why you believe it is an error, or why
We will investigate your complaint and will correct any error promptly. If we take more than                   you need more information.
accounts) to do this, we will credit your account for the amount you think is in error so that 1O business days (or 20 business days for new
us to complete our investigation                                                               you will have use ofthe money during the time it takes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECT RONIC TRANSACTI ONS:
incorrect or ifyou need more information about any non-electron ic transactions (checks or Contact the hank immediately if your statement is
                                                                                           deposits) on this stalemenl If any such error appears,
you must noliry the bank in writing no later than 3(J days after the statement was made avaitable
Account Rules and Regulations or other appl!cable account agreement that governs your             to you. For more complete details, see the
JPMorgan Chase Bani<, NA Member FDlC                                                      account    Deposit products and services are offered by


                                                                                            @          JPMorgan Chase Bank, N.A. Member FDIC
                                                                                            t'rl.ffl
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        CHASEO                                                                     February 01, 2018through February 28, 2018
        JPMorgan Chase Bank, NA
        P O Box 659754                                                             Account Number:    ■■■■■0290
        San Antonio, TX 78265-9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Web site:                         Chase.com
                                                                                Service Center:               1-800-242-7338
     00030948 DAE 201 142 06018 NNNNNNNNNNN T 1 000000000 60 0000
     HIBA ENTERTAINMENT INC
     3020 BIG TOWN BLVD
     MESQUITE TX 75150-2412
                                                                                Deaf and Hard of Hearing:
                                                                                Para Espanol:
                                                                                International Calls:
                                                                                                              1-800-242-7383
                                                                                                              1-888-622-4273
                                                                                                              1-713-262-1679       -==
                                                                                                                                   ~

                                                                                                                                    ===
                                                                                                                                   ,_,,,,,,,.,,,.


                                                                                                                                   -=
                                                                                                                                   ---
We clarified when we charge the Returned Item fee for Overdraft in our Additional Banking
Services and Fees disclosure
                                                                                                                                   -
                                                                                                                                   ~




               We won't charge a Returned Item fee for Overdraft for any item that is $5 or less, even if your account
               balance at the end of the business day is overdrawn
               We will charge a Returned Item fee for Overdraft for any item that is more than $5, even if your account
               balance at the end of the business day is overdrawn

You can see these updates in the Additional Banking Services and Fees by signing in to chase.com. You can also call us or
vtsit a branch with any questions.


ICHECKING SUMMARY                        I_c_ha_se_Bu_s_in_es_s_se_1e_c_tC_h_e_ck_in_g_ _ _ _ _ _ _ _ _ _ _ _ __

                                               INSTANCES                       AMOUNT
 Beginning Balance                                                            $298.65
 Deposits and Additions                                 6                   21,502.00
 ATM & Debit Card Withdrawals                          23                    -1,073.59
 Electronic Withdrawals                                 4                   -16,851.00
 Fees                                                   2                       -53.75
 Ending Balance                                        35                    $3,822.31


The monthly service fee for this account was waived because you used at least $50.00 in other checking services during
the statement period.


IDEPOSITS AND ADDITIONSII------ -------- --
DATE          DESCRIPTION                                                                                               AMOUNT
02102         Quickpay With Zelle Payment From Muhammad N Siddiqi 6873727863                                               $1.00
02/09         ATM Cash Deposit      02/09 161 W Spring Creek Pkwy Plano TX Card 4378                                      500.0D
02114         Paymentech     Deposit 6241464        CCD ID: 1020401225                                                      1.00
02/20         Remote Online Deposit                                                                                   4,000.00
02/20         Deposit   929602617                                                                                     2,000.00
02/23         Deposit   853410632                                                                                    15,000.00
Total Deposits and Additions                                                                                        $21,502.00
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        CHASE                                                                 February 01, 2018through February 28, 2018
                                                                              Account Number:   •••••0290
IATM & DEBIT CARD WITHDRAWALS!
 DATE    DESCRIPTION                                                                                               AMOUNT
02/01   Card Purchase       01/31 Ace Parking 3713 DaHas TX Card 4378                                                $5.00V
02/01   Card Purchase With Pin 02/01 Racetrac526 Plano TX Card 4378                                                  17.86t/
02/05   Card Purchase       02/02 Tuscany Pizza Grand Prarie TX Card 4378                                            37.01 ✓
02/05   Card Purchase With Pin 02/02 Kroger #0 2608 W Fm 54 Wylie TX Card 4378                                       59.92V
02/05   Card Purchase       02/03 Target      00025502 Wylie TX Card 4378
                                                                                                                    105.78 ✓.-/
02/06   Card Purchase With Pin 02/05 Wal-Mart Wal-Mart Sup Wylie TX Card 4378
                                                                                                                      6.68 •Ji
02107   Card Purchase With Pin 02/06 Kroger 11565A State Hw Sugar Land TX Card 4378                                  55.07 v
02/08   Card Purchase       02/07 91272 Dallas On Street Dallas TX Card 4378
02112   Card Purchase       02/10 Starbucks Store 06421 Conroe TX Card 4378
02/12   Card Purchase       02/10 Starbucks Store 06421 Conroe TX Card 4378                                           2.98 ../
02/12   Card Purchase With Pin 02/11 Kroger 2222 1-45 Conroe TX Card 4378                                            40.44./
02/12   Card Purchase With Pin 02/11 Wal-Mart #5672 Lucas TX Card 4378                                               23.40/
02/12   Card Purchase With Pin 02/12 Racetrac 93 Allen TX Card 4378                                                  11.92
02/15   Card Purchase       02/13 Mcdonald's M7273 of TX Murphy TX Card 4378                                          2.58·
02/15   Card Purchase       02/14 Tmobile•Postpaid Tel 800-937-8997 WA Card 4378                                    103.44 J
02120   Card Purchase       02/16 Tuscany Pizza Grand Prarie TX Card 4378                                            75.62
02/20   Card Purchase With Pin 02/"!7 Racetrac 99 Plano TX Card 4378                                                  7.77./
02/20
02/21
        Card Purchase
        Card Purchase
                            02/20 Tmobile*Postpaid Fdp 800-937-8997 WA Card 4378
                            02/21 Subway       00102194 Addison TX Card 4378
                                                                                                                   413.75    0
                                                                                                                      7.57r--1
02/21   Card Purchase With Pin 02/21 Quiktrip Corp Wylie TX Card 4378                                                56.28 ' { '
02/26   Card Purchase       02/23 Starbucks Store 11296 Dallas TX Card 4378                                           4.22 ✓
02/26   Card Purchase With Pin 02/24 Racetrac 93 Allen TX Card 4378                                                   9.99 ✓
02/26   Card Purchase With Pin 02/25 Shel! Service S Allen TX Card 4378                                              17.30
Total ATM & Debit Card Withdrawals                                                                              $1,073.59


IATM & DEBIT CARD SUMMARY!                           t--- - - - - - - - - - - -

Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                           $0.00
                          Total Card Purchases                                                                 $1,073.59
                          Total Card Deposits & Credits                                                          $500.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                           $0,00
                          Total Card Purchases                                                                 $1,073.59
                          Total Card Deposits & Credits                                                         $500.00

!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                               AMOUNT
02/21    Quick.pay With Zelle Payment To Bito Bhai 692i 044682                                                     $1.00
02/21    Quick.pay With Zelle Payment To Sito Bhai 6921217766                                                     500.00
02/23    Paymentech       Fin ADJ 6241464        CCD ID: 1020401225                                               100.00
02/26    02/26 Domestic Wire Transfer Via: Tib Dallas/111010170 NC: Grand Ridge National Bank Ref:             16,250.00
         Further Credit Vibrant Media Group LLC 1069 W Golf Rd Hoffman Estates, IL 60169Acct
         0020008413 lmad: 0226B1Qgc08C002132 Tm: 5797800054-Es
Totaf Electronic Withdrawals                                                                                  $16,851.00
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            CHAS EO                                                         February 01, 2018throughFel:>ruary 28, 2018
                                                                            Account Number:    ■■■■-0290



I    FEES        1 - - - I-   -   -        -   -   -   -   -   -   -        -    -      -      -       -      -      -


    DATE    DESCRfPTION
                                                                                                                  AMOUNT
    02/26   Domestic Wire Fee
                                                                                                                   $35.00
    02128   Cash Deposit Immediate
                                                                                                                    18.75    ~
                                                                                                                             ~
    Total Fees                                                                                                               ~
                                                                                                                  $53.75     ~
                                                                                                                             ~
IDAILY ENDING BALANCE I - - - - - - - - - - - - - -                                                                          ~
    DATE                      Af.l!OUNT_       DATE            AMOUNT                                                        ~
                                                                                      DATE
                                                                                     ------·-,--   --~·--------- --·AMOUNT   iiiiiiiil!i
02/01                         $275.79          02/08                11.33            02/20
                                                                                                                             ~
                                                                                                                  5,822.42   ~
02/02                             276.79       02/09               511.33            02/21                                   ~
                                                                                                                  5,257.57
                                                                                                                             ~
02/05                              74.08       02/12               424.58            02/23                      20,157.57
02/06                              67.40       02/14               425.58            02/26                        3,841.06
02/07                              12.33       02/15               319.56            02/28                        3,822.31
ISERVICE CHARGE SUMMARY I___ ___ ___ ___ __
TRANSACflONS FOR SERVICE FEE CALCULATION
                                                                                             NUMBER OF TRANSACTIONS
Checks Paid I Debits
                                                                                                                    25
Deposits / Credits
                                                                                                                     3
Deposited Items
Transaction Total
                                                                                                                    31
SERVICE FEE CALCULATION
                                                                                                              AMOUNT
Service Fee
                                                                                                                $0.00
Service Fee Credit
                                                                                                                $0.00
Net Service Fee
                                                                                                                $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                $0.00
Total Service Fees
                                                                                                                $0.00
CASH PROCESSING
                                                                                                              AMOUNT
Cash Deposits Immediate Verification
                                                                                                          $15,000.00
Cash Deposits Post Verification/Night Drop
                                                                                                                $0.00
Cash Deposits Total
                                                                                                          $15,000.00
Cash Deposits Allowed
                                                                                                           $7,500.00
Excess Cash Deposits
                                                                                                           $7,500.00
Excess Immediate ($7,500 At $2.50/$1 ,000)
                                                                                                              $18.75
Total Cash Deposit And Change Order Fees
                                                                                                              $18.75
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      CHASEO                                                                                   February 01. 201 Slhrough February 28, 2018
                                                                                               AccountNumber.       ■■■■■I0290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think yoor statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •                                                             whf
               A description of the error or transfer you are unsure of.    you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately ii your statement is
incorrect or if you need more information about .i_ny. non-electronic transactions (checks or deposits) on this statement. If any such error appears.
you must no!iry the bank in writing no later than 30 days after the statement was made available to you. For more complete details. see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDlC


                                                                                            t.i:r
                                                                                             LENffl
                                                                                                      JPMorgan Chase Bank, N.A. Member FDIC
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            CHAS E                                                                              March 01. 2018through March 30, 2018
            JPMorgan Chase Bank, NA
            PO Box 182051                                                                   Account Number:    -0290
            Columbus, OH 43218-2051

                                                                                         CUSTOMER SERVJCE INFORMATION
                                                                                        Web site:                           Chase.com
                                                                                        Service Center:                 1-800-242-7338
           00030641 DRE 201 142 09018 NNNNNNNNNNN T 1 000000000 60 0000                 Deaf and Hard of Hearing:       1-800-242-7 383
           HIBA ENTERTAI NMENT INC                                                      Para Espanol:                   1-888-622-4 273
           3020 BIG TOWN BLVD                                                                                                               -==-
           MESQUITE TX 75150-2412
                                                                                        International Calls:            1-713-262-1 679
                                                                                                                                            -
                                                                                                                                            ~




                                                                                                                                            -


    We updated our Deposit Account Agreement
    The following changes were made March 11, 2018:

    We published an updated version of our Deposit Account Agreement. You can get the latest
                                                                                             agreement al a branch or by
    request when you call us. Here's what you should know:

                   We clarified that if the amount written on your deposit ticket is different from the total deposit you
                                                                                                                          present, we
                   can adjust your account for the difference. (General Account Terms, Section A, Deposit records
                                                                                                                  and receipts)

                   You can now request a stop payment on a check through the Chase Mobile ® app. You can
                                                                                                          also still do this on
                   chase.com, over the phone or in a branch. (General Account Terms, Section B, Stop payments)

                  We're starling to use a new payment network that allows businesses lo send you real-time
                                                                                                             payments when you
                  provide your account and routing numbers. When you accept a real-time payment, you confirm
                                                                                                                 that you're not
                  acting on the behalf of someone who is not a U.S. citizen or resident. (General Account Terms.
                                                                                                                 Section I,
                  Rules governing your account)

                  We updated the language to clarify how to place a stop payment on electronic funds transfers.
                                                                                                                (Electronic
                  Funds Transfer Service Terms. Section G, Preauthoriz ed (recurring) transfers and stop payments)

Please call us at the number on this statement if you have any questions.


I   CHECKING SUMMARY                             -C_ha_s_e_Bu_s_in_es_ss_e_lec_t_C_h_ec_k_ing_ _ _ _ _ _ _ _ _ _ _ _ __
                                              1--I




                                                     INSTANCES                        AMOUNT
    Beginning Balance                                                              $3,822.31
    Deposits and Additions                                    8                    40,564.94
    Checks Paid                                               2                     -2,092.61
    ATM & Debit Card Withdrawals                              9                       -560.54
    Electronic Withdrawal s                                   5                     -4,201.93
    Fees                                                     2                         -20.00
    Ending Balance                                          26                    $37,512.17
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          CHA SE
                                                                                        March 01, 2018through March 30, 2018
                                                                                     Account Number:                           290



 !DEPOSITS AND ADDITIONS!
  DATE          DESCRIPTION
                                                                                                                                AMOUNT
  03/02     Paymentech       Deposit 6241464        CCD ID: 1020401225                                                       $2,500.00
 03/02      Quickpay With Zelle Payment From Guy G Cannon 6946341364
                                                                                                                                500.00
 03/13      Deposit     958113839
                                                                                                                              5,000.00
 03/15      Deposit    943961105
                                                                                                                              8,000.00
 03(16      Card Purchase Return 03/15 Sally Beauty #3891 Wylie TX Card 4378
                                                                                                                                 64.94
 03/26      Remote Online Deposit           1                                                                                10,000.00
 03/28      Deposit    968482180
                                                                                                                              4,500.00
 03/29      Fedwire Credit Via: Wells Fargo Bank/121000248 B/0: Amin Dhanani
                                                                             US Ref: Chase                                   10,000.00
            NycJCtr/Bnf=Hiba Entertainment Inc Mesquite. TX 751502412/Ac-000
                                                                             000031438
            Rfb=Ow00000238198474 Obi= Oabangg Tour Vip Tickets For Amin D
                                                                              Hanani lmad:
            032911B7032R027596 Tm: 9098709088Ff
 Total Deposits and Addition s
                                                                                                                        $40,564.94

ICHECKS PAID I
CHECK NO.             DESCRIPTION                                                                      DATE
                                                                                                       PAID                    AMOUNT
1133 ,.
                                                                                                       03/27                 $1,060.61
1135 • ,.
                                                                                                       03/26                  1,032.00
 Total Checks Paid
                                                                                                                      $2,092.61
 If you see a description in the Checks Paid section, it means that we received
                                                                                only electronic information about the check,
 not the original or an image of
                               the check. As a result, we're not able to return the check to you or show
                                                                                                          you an image.
• All of your recent checks may not be on this statement, either because
                                                                           they haven't cleared yet or they were fisted on
   one of your previous statements.
,. An image of this check may be available for you to view on Chase.co
                                                                         m.


!ATM & DEBI T CARD WITHDRAWALS!
 DATE       DESCRIPTION
                                                                                                                              AMOUNT
03/01   Card Purchase       02/28 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378
                                                                                                                                $0.99
03/01   Card Purchase With Pin 03/01 Sally Beauty #38 3400 Wylie TX Card
03/05
03/05
03/07
        Card Purchase       03102 145 Quick Stop Street.man TX Card 4378
        Card Purchase With Pin 03/04 ?-Eleven Richardson TX Card ;;_..;..___________
                                                                         4378
        Card Purchase With Pin 03/07 Shell Service Station Addison TX Card
                                                                              4378



                                                                               4378
                                                                                                                               132.59
                                                                                                                                64.07 ✓
                                                                                                                                 3.59    J
                                                                                                                                13.85 J
03/09   Card Purchase With Pin 03109 Racetrac 93 Allen TX Card 4378
                                                                                                                                17.86'V
03!16   Card Purchase       03115 Royal Sweets & Fast Foo Plano TX Card 4378
03/19
                                                                                                                                60,94\, /
        Card Purchase With Pin 03/17 Wm Superc Wal-Mart Sup Lucas TX Card
                                                                                 4378                                          226.03 ~.,/
03/23   Card Purchase       03/22 Mattito's - Irving Irving TX Card 4378
                                                                                                                                40.62
Total ATM & Debit Card Withdra wals
                                                                                                                              $560.54

IATM & DEBIT CARD SUMMARY,..__ _ _ _ _ _ _ _ _ _ __
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits
                                                                                                                               $0.00
                          Total Card Purchases
                                                                                                                             $560.54
                          Total Card Deposits & Credits
                                                                                                                              $64.94
ATM & Debit Card Totals
                          Total A TM Withdrawals & Debits
                                                                                                                               $0.00
                          Total Card Purchases
                                                                                                                             $560.54
                          Total Card Deposits & Credits
                                                                                                                              $64.94

                                                                                                               Page 2 rn 4
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         CHAS E                                                                      March 01. 20181hrough March 30, 2018
                                                                                   Account Number:     ■■■■-0290


!ELECTRONIC WITHD RAWAL Sj
  DATE    DESCRIPTION
                                                                                                                         AMOUNT
 03/02    Paymentech     Fee      6241464       CCD 10: 1020401225                                                     $34.95
 03/19    Quickpay With Zelle Payment To Millan 699030669 2
                                                                                                                       200.00      ............,
                                                                                                                                   ~
 03/20    Simmons Bank- L Tel Pmts Zy67           Tel ID: 1710162300                                                 2,406.74
 03/23    03/23 Payment To Chase Card Ending IN 3191
                                                                                                                     1,000.00
 03/26    U.S. Bank NA Payment 000000515 313653 Tel ID: 5551540853
 Total Electronic: Withdrawals
                                                                                                                         560.24    -
                                                                                                                    $4,201.93
                                                                                                                                   ~

IFEESj_ - - - - - - - - - - - - - - - - -                                                                                          ===
                                                                                                                                   =
 DATE    DESCRIPTION
                                                                                                                         AMOUNT
 03/29   Domestic Incoming Wire Fee
                                                                                                                         $15.00
 03/30   Cash Deposit Immediate
                                                                                                                            5.00
 Total Fees
                                                                                                                         $20,00

IDAILy ENDING BALANCE I
DATE                         AMOUNT           DATE                       AMOUNT              DATE                        AMOUNT
03/01                      $3,688.73         03/15                     19,554.41            03126                    24,092.78
03102                       6,653.78         03/16                     19,558.41            03127                    23,032.17
03/05                       6,586.12         03/19                     19,132.38            03/28                    27,532.17
03/07                       6,572,27         03120                     16,725.64            03/29                    37,517.17
03/09                       6,554.41         03/23                     15,685.02            03/30                    37,512.17
03/13                      11,554.41

ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ __
You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                to be waived in five
different ways during any statement period:
"         Maintain an average daily balance of $7,500.00. Your average daily balance was $14,785.00
                                                                                                       . OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship
                                                                                                               balance
          was $13,662.00. OR
..        Link a qualifying personal checking account to your Chase BusinessSe lect Checking account.
                                                                                                         Your Premier
          Plus personal checking account is linked. OR
•         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
"         Pay at least $50.00 in qualifying checking-related services or fees. You paid $20.00.

See your Account Rules and Regulations or stop in to see a banker today to find out more.

TRANSACTIONS FOR SERVICE FEE CALCULATIO N
                                                                                                    NUMBER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                          14
Deposits r Credits
                                                                                                                            5
Deposited Items
                                                                                                                           2
Transactio n Total
                                                                                                                          21
SERVICE FEE CALCULATIO N
                                                                                                                   AMOUNT
Service Fee
                                                                                                                   $15.00
Service Fee Credit
                                                                                                                   -$15.00
Net Service Fee
                                                                                                                     $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                     $0.00
Total Service Fees
                                                                                                                     $0.00
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      CHASE                                                                                      March 01. 2018throughMarch 30. 2018
                                                                                               Account Number:     ■■■■■■P2'90


ISERVICE CHARGE SUMMARY,                                     _(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __

CASH PROCESSING                                                                                                                      AMOUNT
Cash Deposits Immediate Verification                                                                                              $9,500.00
Cash Deposits Post Verification/Night Drop                                                                                            $0.00
Cash Deposits Total                                                                                                               $9,500.00
Cash Deposits Allowed                                                                                                             $7,500.00
Excess Cash Deposits                                                                                                              $2,000.00

Excess Immediate ($2,000 At $2.50/$1,000)                                                                                              $5.00
Total Cash Deposit And Change Order fees                                                                                               $5.00



IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statemenl (non-personal accounts contact Customer Service) immediately if you think your statement or receipt 1s
incorrect or :f you need more information about a transfer listed on the statement or receipl
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information
        "      Your name and account number
        •      The dollar amount of the suspected error
         e     A descriptiOn of the error or transfer you are unsure of, why you believe it is an error. or why you need more information.
We will investigate your complaint and win correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use oflhe money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement ff any such error appears.
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details. see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani(, N.A. Member FDlC


                                                                                                    JPMorgan Chase Bank, NA. Member FDIC
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                 CHAS EO                                                                          March 31, 2018throughApril 30, 2018
                 JPMorgan Chase Bank, N.A.
                 PO Box 182051                                                              Account Number:                      0290
                 Columbus, OH 4321~2051

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                         Website:                            Chase.com
                                                                                         Service Center:                 1-800-242-7338
                00030230 ORE 201142 12118 YNNNNNNNNNN T 1 0000000006000 00               Deaf and Hard of Hearing:       1-800-242-7383
                HIBA ENTERTAINM ENT INC                                                  Para Espanol:
                3020 BIG TOWN BLVD                                                       International Calls:
                                                                                                                         1-888-622-4273        -=
                                                                                                                                               ~
                                                                                                                         1-713-262-1679        ~
                MESQUITE TX 75150-2412                                                                                                         ~
                                                                                                                                               ~
                                                                                                                                               ~
                                                                                                                                               ~
                                                                                                                                               ~




        ICHECKING SUMMARY I                          Chase BusinessSele ct Checking
                                                                                                                                               -
                                                                                                                                               !!!!!!!!!!==:

                                                                                                                                               ~



                                                        INSTANCES                       AMOUNT
         Beginning Balance                                                          $37,512.17
         Deposits and Additions                                  6                   58,095.50
         Checks Paid                                             1                    -2,000.00
         ATM & Debit Card Withdrawals                           23                  -11,899.12
         Electronic Withdrawals                                  8                    -4,645.88
         Ending Balance                                         38                  $77,062.67


        IDEPOSITS AND ADDITIONSI
         DATE          DESCRIPTION
                                                                                                                                  AMOUNT
        04/03         JPMorgan Chase Auth Crdt                 PPD ID: 9200502233                                                   $0.44
        04/03         JPMorgan Chase Auth Crclt                PPDID:9200 502233                                                        0.06
        04/05         Deposit   969777787                                                                                        1,000.00
        04/06         Deposit   905330787                                                                                        6,495.00
        04/19         Paymentech    Deposit 6241464             CCO ID: 1020401225                                                 600.00
        04/25         Deposit                                                                                                   50,000.00
        Total Deposits and Additions                                                                                          $58,095.50

        ICHECKS PAIDj
                                                                                                               DATE
t1,,,   CHECKNO.
        1119    A
                             DESCRIPTION                                                                       PAID               AMOUNT
                                                                                                               04/30            $2,000.00
    '   Total Checks Paid                                                                                                    $2,000.00
        If you see a description in the Checks Paid section. it means that we received only electronic informatioo about the check,
        not the original or an image of the check. As a result, we're not able to retum the Check to you or show you an
                                                                                                                        image.
        " An image of this check may be available for you to view on Chase.com.
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         CHASE                                                                March 31, 2018through April 30, 2018
                                                                           Account Number:    ~290



IATM & DEBIT CARD WITHDRAWALS!
 DATE     DESCRIPTION
                                                                                                                AMOUNT
 04/02  Card Purchase        03/30 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378                                    $0.99
 04/09  Card Purchase       04/06 Movenpick Hotel Kara Karachi Card 4378                                       2,032.84       ~
        Pk Rupee
        234914.59 X 0.008653528 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/06 Movenpick Hotel Kara Karachi Card 4378                                      60.98 ✓
04/09   Card Purchase       04/06 lslamabd Marriott Hote Islamabad Card 4378                                     475.94 v'
        Pk Rupee
        55000.00 X 0.008653455 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/06 lslamabd Marriott Hole Islamabad Card 4378                                     14.27...,...
04/09   Card Purchase       04/07 Brinkster 480-388-3777 AZ Card 4378                                                3o.oe v
04109   Card Purchase       04/08 Talha Jewellers Rawalpindi Card 4378                                         6,922.81
        Pk Rupee
        800000.00 X 0.008653513 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/08 Talha Jewellers Rawalpindi Card 4378                                       207.68'
04113   Card Purchase       04/12 Fsi•Frontier 800-921-8101 CT Card 4378                                         210.52 ✓
04/16   Card Purchase       04/14 Mcdonald's F20727 Dfw Airport TX Card 4378                                      10.77 V
04/16   Card Purchase With Pin 04/14 Foxnewsst2513 Dallas TX Card 4378                                                3.99 ·
04/16   Card Purchase       04/15 Au Bon Pain A-34 Dallas TX Card 4378                                               11.13 ✓
04/16   Card Purchase       04/15 Dfw Airport Parking Dfw Airport TX Card 4378                                       33.00V
04/16   Card Purchase With Pin 04/16 Wal-Mart #5672 Lucas TX Card 4378                                               51.53 V
04/17   Card Purchase       04116 Emirates Ghilw/16 Www.Emirates. NY Card 4378                                   900.00 ✓
04/17   Card Purchase       04/17 Apl* ltunes.ComfBill 866-712-7753 CA Card 4378                                      5.40V
04/19   Card Purchase       04/18 Kabob Cowboy Richardson TX Card 4378                                               16.761
04119   Card Purchase       04/18 Texaco 0303909 Richardson TX Card 4378                                             49.99 ✓
04123   Card Purchase       04/22 Kfc J625020 Plano TX Card 4378                                                 1s.ss I
04(27   Card Purchase       04/27 Apl• ftunes.Corn/Bill 866-712-7753 CA Card 4378                                 2.15
04/30   Card Purchase With Pin 04/28 Murphy Express Allen TX Card 4378                                            4.89 ..I
04/30   ATM Wlthdrawal       04/28 1204 Angel Pkwy Allen TX Card 4378                                           800.00 ..I
04/30   Card Purchase With Pin 04/29 Racetrac 198 Dallas TX Card 4378                                            37.86\)'
Total ATM & Debit Card Withdrawals                                                                          $11,899.12


IATM & DEBIT CARD S U M M A R Y _ , - - - - - - - - - - - -
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                      ssoo.oo
                          Total Card Purchases                                                             $11,099.12
                          Total Card Deposits & Credits                                                         $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                      $800.00
                          Total Card Purchases                                                             $11,099.12
                          Total Card Deposits & Credits                                                         $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCAIPTION                                                                                           AMOUNT
04/02    Payrnenlech     Fee     6241464       CCD ID: 1020401225                                               $77.40
04/03    JPMorgan Chase Aulh Debit 7024830799         Web ID: 9200502233                                             0.50
04118    Quickpay With Zelle Payment To Millan 7074198864                                                       400.00
04/18    04/18 Payment To Chase Card Ending IN 3191                                                           1,000.00
04/18    Simmons Bank - L Tel Pmts Lq97          Tel ID: 1710162300                                           2,406.74.
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             CHAS E
                                                                                           March 31, 2 0 1 8 1 ~ 0 1 8
                                                                                        Account Number: ~ 2 9 0



    !ELECTRONIC WITHDRAWALSj_(c_on_tin_u_ed_1- - - - - - - - - - - - -
      DATE    DESCRIPTION
                                                                                                                              AMOUNT
     04/23    Quickpay With Zelle Payment To Lois Martin 708760701 0
                                                                                                                                1.00



~
     04/23
     04/24
              Quickpay With Zelle Payment To Lois Martin 7087608941
              U.S. Bank N.A. Payment 000000515 313653 Tel ID: 555154085 3
     Total Electronic Withdrawa ls
                                                                                                                              200.00
                                                                                                                              560.24
                                                                                                                         $4,645.88
                                                                                                                                       ----
                                                                                                                                       ~


                                                                                                                                       ~
                                                                                                                                       ~


    IDAILy ENDING BALANCE I
     DATE                        AMOUNT            DATE                       AMOUNT             DATE                         AMOUNT
    04/02                   $37,433.78            04/13                     34,973.68           04/23
                                                                                                                                       ~
                                                                                                                          30,467.81
    04/03                      37,433.78          04/16                     34,863.26           04/24                     29,907.57
    04/05                      38,433.78          04/17                     33,957.86           04/25                     79,907.57
    04/06                      44,928.78          04/18                     30,151.12           04/27                     79,905.42
    04/09                      35,184.20          04/19                     30,684.37           04/30                     77,062.67

ISERVICE CHARGE SUMMARY I
    You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                      to be waived in five
    different ways during any statement period:
    "         Maintain an average daily balance of $7,500.00. Your average daily balance was $44,028.00
    •
                                                                                                            . OR
              Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship
                                                                                                                    balance
              was $42,752.00. OR
    •         Link a qualifying personal checking account to your Chase BusinessSe lect Checking account.
                                                                                                             Your Premier
              Plus personal checking account is linked. OR
    •         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
    "         Pay at least $50.00 in qualifying checking-re lated services or fees. You paid $282.93.

    See your Account Rules and Regulations or stop in to see a banker today to find out more.

    TRANSACTIONS FOR SERVICE FEE CALCULATIO N
                                                                                                        NUMBER OF TRANSACTIONS
    Checks Paid I Debits
                                                                                                                               25
    Deposits I Credits
                                                                                                                                6
    Deposited Items
                                                                                                                                2
    TransacUon Total
                                                                                                                               33
    SERVICE FEE CALCULATIO N
                                                                                                                        AMOUNT
    Service Fee
                                                                                                                        $15.00
    Service Fee Credit
                                                                                                                       -$15.00
    Net Service Fee
                                                                                                                         $0.00
    Excessive Transaction Fees (Above 200)
                                                                                                                         $0.00
    Total Service Fees
                                                                                                                         $0.00
    CASH PAOCESSINO
                                                                                                                       AMOUNT
    Cash Deposits Immediate Verification
                                                                                                                     $1,000.00
    Cash Deposits Post Verification /Night Drop
                                                                                                                         $0.00
    Cash Deposits Total
                                                                                                                     $1,000.00
    Cash Deposits Allowed
                                                                                                                     $7,500.D0
    Excess Cash Deposits
                                                                                                                         $0.00
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       CH ASE O
                                                                                                        March 31, 20181hroughApril 30, 2018
                                                                                                  Account Number:      ■■■I                0290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTR
                                                                      ONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write
address on the front of this statement (non-personal accounts                                                                                us al the
                                                                  contact Custome r Sel'llice) immediately If you think your statemen
incorrect or if you need more informall on about a transfer listed                                                                      t or receipt is
                                                                   on lhe statemen t or receipt.
For personal accounts only: We must hear from you no later than
                                                                      60 days after we sent you the FIRST statement on which the
appeared. Be prepared to give us the following information:                                                                            problem or error
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of. why you
We will investigate your complain l and wm correct any error promptlv               believe ii is an error, or why you need more informati
accounts) to do this, we will credit your account for the amount         . If we take more than 10 business days (or 20 business dayson.
                                                                  you  fhink                                                                for new
vs to complete our investigation                                              is in error so that you will have use ofthe money dunng the time it
                                                                                                                                                     takes
IN CASE OF ERRORS OR QUESTI ONS ABOUT NON-EL ECTRON
incorrect or if you need more information about any non-elec            IC TRANSA CTIONS : Contact the bank immediately if your statemen
                                                                                                                                               t is
you must notify the bank in writing no later than 30 days aftertronic transactions (checks or deposits) on this statement. If any such error appears,
Account Rules and R~ulatio ns or other aPP11cable account agreemethe statemen  t was made  available to you. For more complete details.
JPMorgan Chase Bank, NA Member FO'IC                                     nt that governs your account Deposit products and services aresee the
                                                                                                                                          offered by


                                                                                               0
                                                                                               l£Nffl
                                                                                                        JPMorga n Chase Bank, N.A. Member FDIC
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       CHAS E
       JPMorgan Chase Bank, NA                                                           May 01, 2018through May 31, 2018
       PO Box 182051                                                                Account Number:    ■■■■-0290
       Columbus, OH 43218-2051

                                                                                 CUSTOME R SERVICE INFORMATION
                                                                                 Web site:                         Chase.com
                                                                                 Service Center:               1-800-242-7338
      00029988 DAE 201 142 15218 NNNNNNNNN NN T 1 000000000 60 0000
                                                                                 Deaf and Hard of Hearing:     1-800-242-7383
      HIBA ENTERTAINMENT INC                                                     Para Espanol:                 1-888-622-4273      ~
      3020 BIG TOWN BLVD                                                         International Calls:          1-713-262-1679
      MESQUITE TX 75150-2412                                                                                                       -   iii


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                                                                                                                                   ~
                                                                                                                                   ;;:;;

We updated our Deposit Account & Wire Agreements
The following changes were made May 20, 2018:

              We published an updated version of our Deposit Account Agreement. You can get the latest agreement
                                                                                                                 at a
              branch or by request when you call us. Here are some important changes:

                       Effective August 1, we will notify you in advance of any changes to the Deposit Account Agreement
                       that would adversely affect you. unless the change is necessary to comply with a legal requiremen
                                                                                                                        t
                       (General Account Terms, Section I, Changes lo the agreement)

                       We clarified the language that explains when we may charge a Non-Chase ATM fee for balance
                       inquiries and transfers when you use a non-Chase ATM. (Electronic Funds Transfer Service Terms,
                       Section A, Types of EFT Services)

             We consolidated all of our Chase wire agreements, except for the Online Wire Agreement. In addition
                                                                                                                  to
             making sure the terms and definitions of the Wire Transfer Agreement are consistent. we made the
                                                                                                               following
             changes:

                       When we amend the agreement, we will send you notice of the change and may refer you to a branch
                       or your banker for the updated agreement.

                      When you send a wire, we will send you an email notification on the status of your wire if you have
                      provided your email address.

Please call us at the number on this statement if you have any questions.

ICHECKING SUMMARY                        I_c_ha_s_e_B_us_in_es_s_s_e1ec_tc_h_e_ck_in_g_ _ _ _ _ _ _ _ _ _ _ _ __
                                               INSTANCES                       AMOUNT
Beginning Balance                                                           $77,062.67
Deposits and Additions                                 13                    35,435.00
ATM & Debit Card Withdrawals                           21                    -3,276.05
Electronic Withdrawals                                   5                 -6,001.93
Fees                                                     1                     -2.50
Ending Balance                                         40               $103,217.19
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             CHASE
                                                                                                      -----1)290
                                                                                         May 01, 20181hrough May 31, 2018

                                                                                  Account Number:



     IDEPOSITS AND ADDITIONS I
      DATE       DESCRIPTION
(2  05/04
 .. 05/14
                Transfer From Chk Xxxxxx8277
                                                                                                                             AMOUNT
                                                                                                                         $1,000.00
                Paymentech      Deposit 624 1464       CCD ID: 1020401225                                                 1,495.00
     05/15      Remote Online Deposit         1                                                                          10,000.00
     05/16      Deposit     972720965                                                                                     5,000.00
     05/16      Paymentech      Deposit 6241464        CCD ID: 1020401225                                                   897.00
     05/17      Paymentech      Deposit 6241464        CCD ID: 1020401225                                                   600.00
     05/18      Paymentech      Deposit 6241464        CCD fD: 1020401225                                                 1,210.00
     05/21      Paymentech      Deposit 6241464        CCD ID: 1020401225                                                 1,200.00
     05/23      Deposit     968561194                                                                                     5,000.00
     05/25      Quickpay With Zelle Payment From Staffing International Inc 7174085222                                    1,197.00
     05/25      Paymentech      Deposit 6241464        CCD ID: 1020401225                                                   560.00
     05/25      Quickpay With Zelle Payment From Guy G Cannon 7177356682                                                    276.00
     05129      Paymentech      Deposit 6241464        CCD ID: 1020401225                                                 7,000.00
     Total Deposits and Additions                                                                                      $35,435.00


     IATM & DEBIT CARD WITHDRAWALS!
      DATE    DESCRIPTION
                                                                                                                             AMOUNT
     05/01   Card Purchase       04/30 Apl* !tunes.Com/Bill 866-712-7753 CA Card 4378                                         $0.99\/
     05/07   Card Purchase       05/06 Brinkster Brinkster 480-388-3777 AZ Card 4378 / b     l,e/b.~ ,+                       30.06:;
     05/07   Non-Chase ATM Withdraw 05/06 18599 Marsh Lane Dallas TX Card 4378                                               302.50
     05/08   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378                                             551.93 ✓
     05/08   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378
                                                                                                                             129.46 ✓
     05/08   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378
                                                                                                                             216.49 ✓
     05/10   Card Purchase With Pin 05/10 Racetrac 93 Allen TX Card 4378
                                                                                                                              23.12 ✓
     05/11   Card Purchase       05/09 Racetrac 93 00000935 Allen TX Card 4378                                                12.58
     05/11   Card Purchase Wrth Pin 05/11 Wm Superc Wal-Mart Sup Lucas TX Card 4378                                           70.831
     05/14
     05/14
             Card Purchase       05/13 Racetrac 93 00000935 Allen TX Card 4378
             Card Purchase With Pin 05/13 Wal-Mart #5672 Lucas TX Card 4378
                                                                                                                              27.86   a/
                                                                                                                              15.56
     05/15   Card Purchase       05/14 Starbucks Store 24470 Lucas TX Card 4378                                                3.95
     05117   Card Purchase       05/17 Apt* ltunes.Com/Bill 866-712-7753 CA Card 4378                                          5.40
     05/21   Gard Purchase With Pin 05/20 Quiktrip Corp Wylie TX Card 4378                                                    39.99
     05/23   Card Purchase       05/22 Hctra Ez Tag Online 281-8753279 TX Card 4378                                           10.25
     05/29   Card Purchase       05/27 Apr ltunes.Com/Bill 866-712-7753 CA Card 4378                                           2.15
     05/29   Card Purchase       05/27 Sprint Store #770 Plano TX Card 4378                                                  199.86
     05/30   Card Purchase       05/30 Cheaptix*73556619701 W\.\>W.Ctix.lnfo WA Card 4378                                     44.94
     05/31   Card Purchase       05/30 Spirit Airl 48701777779 Miramar Fl Card 4378                                          787.14
     05/31   Card Purchase       05/30 Apl* llunes.Com/Bill 866-712-7753 CA Card 4378                                          0.99
     05/31   ATM Withdrawal       05/31 3047 Old Denton Rd Carrollton TX Card 4378                                           800.00
     Total ATM & Debit Card Withdrawals                                                                                 $3,276.05


 IA TM & DEBIT CARD SUMMARY I
     Muhammad Siddiqi Card 4378
                               Total ATM Withdrawals & Debits                                                          $1,102.50
                               Total Card Purchases                                                                    $2,173.55
                               Total Card Deposits & Credits                                                               $0.00
     ATM & Debit Card Totals
                               Total ATM Withdrawals & Debits                                                          $1,102.50

                                                                                                              Page, 2 or 4
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                 CHA SE                                                                          May 01, 2018through May 31, 2018
                                                                                             Account Number.     • • • • • •290


                                    Total Card Purchases
                                                                                                                               $2,173.55
                                    Total Card Deposits & Credits
                                                                                                                                     $0.00

        !ELECTRONIC WITHDRAWALS!
          DATE    DESCRIPTION                                                                                                                =
         05/02
         05/04
         05/16
                  Paymente ch    Fee     6241464      CCD ID: 10204012 25
                  05103 Payment To Chase Card Ending IN 3191
                  Simmons Bank- l Tel Pmts 5Fd7         Tel ID: 17101623 00
                                                                                                                                    AMOUNT
                                                                                                                                  $34.95
                                                                                                                                1,000.00
                                                                                                                                             =
                                                                                                                                             ==
                                                                                                                                             -=
                                                                                                                                             :
;..,.                                                                                                                           2,406.74
         05/25    U.S. Bank N.A. Payment 00000051 5313653 Tel ID: 55515408 53                                                                ~
  ''     05/29    05/26 Payment To Chase Card Ending IN 3191
         Total Electroni c Withdraw als
                                                                                                                                    560.24
                                                                                                                                2,000.00     -
                                                                                                                                             ~

                                                                                                                                             ~
                                                                                                                               $6,001.93     =
                                                                                                                                             ~

        IFEES j                                                                                                                              ~

         DA TE    DESCRIPTION
                                                                                                                                    AMOUNT
         05/07    Non-Chas e A TM Fee-With
                                                                                                                                     $2.50
         Total Fees
                                                                                                                                     $2.50

        IDAily ENDING BALANCEj _ _ _ _ _ _ _ _ _ _ _ _ __
         DATE                        AMOUNT            DATE                        AMOU.Nf             DATE                         AMOUNT
        05/01                   $77,061.6 8            05111                     75,687.26            05/21                     93,589.76
        05/02                      77,026.73           05/14                     77,138.84            05/23                     98,579.51
        05/04                      77,026.73           05/15                     87,134.89            05/25                    100,052.27
        05/07                      76,691.67           05/16                     90,625.15            05/29                    104,850.26
        05/08                      75,793.79           05/17                     91,219.75            05/30                    104,805.32
        05/10                      75,770.67          05/18                      92.429.75            05/31                    103,217.19

        ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
        You were not charged a monthly service fee this month. Your monthly service
                                                                                          fee can continue lo be waived in five
        different ways during any statement period:
        •         Maintain an average daily balance of $7,500.00. Your average daily balance
                                                                                                 was $87,552.00. OR
        •         Maintain a relationsh ip balance of $25,000.0 0 or more during the statement period.
                                                                                                        Your relationship balance
                  was $86,709.0 0. OR
        •         Lmk a qualifying personal checking account to your Chase BusinessS elect Checking
                                                                                                         account. Your Premier
                  Plus personal checking account is linked. OR
        •         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent
                                                                                                   $0.00. OR
        •         Pay at least $50.00 in qualifying checking-related services or fees. You paid $2.50.

        See your Account Rules and Regulations or stop in to see a banker today to find
                                                                                        out more.

        TRANSACTIONS FOR SERVICE FEE CALCULATI ON
                                                                                                              NUMBER OF TRANSACTIONS
        Checks Paid I Debits
                                                                                                                                     24
        Deposits i Credits
                                                                                                                                     9
        Deposited Items
                                                                                                                                     3
        Transacti on Total
                                                                                                                                     36
        SERVICE FEE CALCULATI ON
                                                                                                                             AMOUNT
        Service Fee
                                                                                                                              $15.00
        Service Fee Credit
                                                                                                                             -$15.00
        Net Service Fee
                                                                                                                               $0.00
        Excessive Transactio n Fees (Above 200)
                                                                                                                               $0.00
        Total Service Fees
                                                                                                                               $0.00
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      CHAS EO                                                                                       May 01, 2018throughMay 31, 2018
                                                                                               Account Number:                          290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                 or write us at the
address on the front of this statement {non~personal accounts contact Customer Service) immediately If you think your statement
incorrect or if you need more information about a transfer listed on the statement or receipt.
                                                                                                                                        or receipt is
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which
                                                                                                                                 the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error. or why you need more information
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days lor 20 business
accounts) to do this. we will credit your account for the amount you think Is in error so that you                                 days for new
us to complete our investigation                                                                    will have use of the money during 1he Ume II takes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately If
incorrect or if_you need more information about any non-electronic transactions {checks or deposits) on this statement. If your statement is
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete any such error appears.
Account Rules and Regulations or other applicable account agreement that govems your account.                                aetails, see the
JPMorgan Chase Banlt, N.A. Member FDlC                                                              DeposH  producis and  services are offered by


                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC
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         CHAS EO                                                                      June 01, 2018through June 29, 2018
         JPMorgan Chase Bank, NA
         PO Box 182051                                                          Account Number:     ■•••·0290
         Columbus, OH 43218-2051

                                                                              CUSTOME R SERVrCE INFORMATION
                                                                             Web site:                           Chase.com
                                                                             Service Center:                 1-800-242-7338
        00041799 DRE 201 142 18118 NNNNNNNNNNN T 10000000006 0 0000


                                                                                                                                  ,_
                                                                             Deaf and Hard of Hearing:       1-800-242-7383
        HfBA ENTERTAINMENT INC                                               Para Espanol:                   1-888-622-4273       ~
        3020 BIG TOWN BLVD                                                   International Calls:                                 ~
                                                                                                             1-713-262-1679
        MESQUITE TX 75150-2412
                                                                                                                                  ~
                                                                                                                                  ~
                                                                                                                                  ~
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lCHECKING SUMMARY I                          Chase BusinessSelect Checking

                                                 INSTANCES                   AMOUNT
 Beginning Balance                                                      $103,217.19
 Deposits and Additions                                 18                52,315.00
 ATM & Debit Card Withdrawals                           28                -2,881.70
 Electronic Withdrawals                                   8             -109,544.71
 Other Withdrawals                                       1                -5,429.00
 Fees                                                    2                   -47.00
 Ending Balance                                         57               $37,629.78


IDEPOSITS AND ADDITIONS I
 DATE          DESCRIPTION
06106         Pa~mentech      Deposit 6241464   CCD ID: 1020401225
06/07         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    500.00
06/11         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    400.00
06/15         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                  5,540.00
06/18         Palmentec h     Dee2sit 6241464   CCD ID: 1020401225                                                    650.00
06119         Sanlosh Naik Sender H1ba Entertainm CIE ID: T941687665
                                                                                                                    1,000.00
06/19         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    236.00
06/20         Remote Online Deposit       1                                                                        10,000.00
06/20         Deposit     957112146                                                                                 5,429.00
06/20         Pa~mentech      Deposit 6241464   CCD ID: 1020401225                                                    300.00
06/21         Remote Online Deposit       1                                                                         1,800.00
06/22         Pai'.mentech    Deposit 6241464   CCD ID: 1020401225                                                  2,650.00
06/25         Remote Online Deposit       1                                                                        10,000.00
06/25         Deposit     967009164                                                                                 5,429.00
06127         Pa~mentech      Deeosil 6241464   CCD ID: 1020401225                                                  1,321.00
06/28         Deposit     962788171                                                                                 1,500.00
06/28         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    660.00
06/29         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    400.00
Total Deposits and Additions
                                                                                                                 $52,315.00
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         CHAS EO                                                             June 01, 2018throughJune 29, 2018
                                                                          Account Number.   ■■■                   0290


IATM & DEBIT CARD WITHDRAWALS!
 DATE     DESCRIPTION
                                                                                                                    AMOUNT
 06/04  Card Purchase        06/02 Expedia 7356420265741 Expedia.Com WA Card 4378                                  $377.98
 06/04  Gard Purchase With Pin 06/03 Pilot #1028 Buffalo TX Card 4378                                                57.03
 06/05  Gard Purchase        06/01 Hilton Media Grill Bar Dallas TX Card 4378                                        69.48
 06/07  Card Purchase        06/05 Autozone #3106 Carrollton TX Card 4378                                           179.97
 06/07  Card Purchase        06/06 IN *Stolz Telecom Inc 405-6322262 OK Card 4378                                   355.31
06/07   Card Purchase        06/06 Brinkster Brinkster B 480-388-3777 AZ. Card 4378                                   30.06
06/08   Card Purchase With Pin 06/08 7-Eleven 33621 Wylie TX Card 4378
                                                                                                                      9.99
06/11   Card Purchase       06/08 Spirit Airl 48701785926 Miramar FL Card 4378                                       52.00
06/11   Card Purchase       06/10 Alamo Rent-A-Car Orlando FL Card 4378                                              95.50
06/11   Card Purchase       06/10 Doubletree Orlando Down Orlando FL Card 4378                                      148.43
06/11   Card Purchase With Pin 06/10 Wawa Store 5153 Orlando FL Card 4378
                                                                                                                      4.56
06/11   Card Purchase       06/10 Dunkin #350220 Orlando FL Card 4378                                                 8.75
06/11   Card Purchase       06/10 Magic of Disney Orlando FL Card 4378                                               17.02
06/12   Card Purchase       06/10 Spirit Airl 48701787258 Miramar FL Card 4378                                       52.00
06/13   Card Purchase       06/12 Chevron 0210336 Carrollton TX Card 4378                                             7.18
06/13   Card Purchase With Pin 06/13 Quiktrip Richardson TX Card 4378
                                                                                                                     27.87
06/14   Card Purchase       06/13 Starbucks Store 22380 Dallas TX Card 4378                                          28.74
06/14   Card Purchase       06/13 Starbucks Store 20225 Conroe TX Card 4378                                           6.75
06/14   Card Purchase With Pin 06/13 Buc-Ee's #26 205 lh-4 Madisonville TX Card 4378
                                                                                                                     47.32
06/15   Card Purchase       06/13 7-Eleven 33116 Dallas TX Card 4378                                                 58.93
06/15   Card Purchase       06114 Sq "Kabobi Fresh Medite Richardson TX Card 4378                                    35.96
06/18   Card Purchase       06/15 Waterfalls Lube An Allen TX Card 4378                                              10.00
06/18   Card Purchase With Pin 06/16 Racetrac 93 Allen TX Card 4378
                                                                                                                     37.86
06/18   Card Purchase       06/17 Apl* ltunes.Com/BiH 866-712-7753 CA Card 4378                                       5.40
06/25   Card Purchase       06/21 Spirit Airl 4870179648 800-7727117 FL Card 4378                                 1,100.76
06/25   Card Purchase       06/22 Westin Atlanta Perimete Atlanta GA Card 4378                                       32.71
06/25   Card Purchase With Pin 06/24 Amk Field Museum Alrpo Chicago IL Card 4378                                     21.99
06127   Card Purchase       06/27 Apt* ltunes.Com/Bill 866-712-7753 CA Card 4378                                      2.15
Total ATM & Debit Card Withdrawals
                                                                                                              $2,881.70


IATM & DEBIT CARD S U M M A R Y _ ! - - - - - - - - - - - -
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                         $0.00
                          Total Card Purchases                                                               $2,881.70
                          Total Card Deposits & Credits                                                          $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                         $0.00
                          Total Card Purchases                                                               $2,881.70
                          Total Card Deposits & Credits                                                          $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION
                                                                                                               AMOUNT
06/01    Fanners Ins    EFT Pymt           PPD ID: 1952575893                                                $2.737.00
         Ouickpay With Zelle Payment To Aaam 7197335277                                                         905.00
         Paymentech      Fee     6241464     CCD ID: 1020401225                                                    455.29
         06/18 Payment To Chase Card Ending IN 3191                                                               1,000.00
06/18    Simmons Bank· L Tel Pmts N5H7          Tel ID: 1710162300                                                2,647.42


                                                                                                  Page   2 of 4
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                         CHAS EO                                                                             June 01, 2018throughJune 29, 2018
                                                                                                          Account Number.               ■••·90290


    IELECTRONIC WITHDRAWALSl_(con_tin_ued_~_ _ _ _ _ _ _ _ _ _ __
         DATE                       DESCRIPTION                                                                                                               AMOUNT
      06/21                         06/21 Payment To Chase Card Ending IN 3191                                                                          1,500.00
      06/26
      06/29
                                    Quick.pay With Zelle Payment To Guy G Cannon 7262947096
                                    06/29 Domestic Wire Transfer A/C: Sahil Promotions, Inc. Chicago IL 60659-1803 Ref: For
                                                                                                                                                          300.00           ...........
                                                                                                                                                                           iiiiailE
                                                                                                                                                      100,000.00           ~
                                    Da-Bangg Concert Tm: 7224700180Es                                                                                                      iiiiiiiii
      Total Electronic Withdrawals                                                                                                                  $109,544.71            -
                                                                                                                                                                           ~
                                                                                                                                                                           ~
!OTHER WITHDRAWALSj                                                                                                                                                        ~
       DATE
      06/22
                                    DESCRIPTION
                                    Deposited Item Returned
                                    ltems00001Ck#:0000009742
                                                             Altered/Fictiti099002857

                                    Date062018Ck Aml00005429 00
                                                                                      Dep Amt0000542900
                                                                                                               #of
                                                                                                               Dep
                                                                                                                                                             AMOUNT
                                                                                                                                                       $5,429.00
                                                                                                                                                                           -
                                                                                                                                                                           i iiiii
                                                                                                                                                                           -
                                                                                                                                                                           ~
                                                                                                                                                                              =
                                                                                                                  Svc
                                    Fee001200
      Total Other Withdrawals                                                                                                                          $5,429.00


I       FEES                          1 - - - I-     -         -       -   -   -     -   -   -   -        -   -        -               -    -        -             -

       DATE                         DESCRIPTION                                                                                                              AMOUNT
     06/22                          Deposit Item Returned Fee: 01 Altered/Fictili099002857                      #of                                           $12.00
                                    ltems00001Ck#:0000009742                             Dep Amt0000542900     Dep
                                    Date062018Ck Amt0000001200                                                   Svc
                                    Fee001200
     06/29                          Domestic Wire Fee                                                                                                             35.00
     Total Fees                                                                                                                                               $47.00

IDAILY ENDING B A L A N C E I - - - - - - - - - - - - - - -
    DATE                                                      AMOUNT          DATE              AMOUNT               DATE
    ··••¥,.,, __ ,, ___ •.•• _ ..
                                       ,a•----··-~----·-· -                                                       ••-••-<   ••••-H,.H~'-~
                                                                                                                                            ------------   ···•
                                                                                                                                                                  AMOUNT
06/01                                                 $100,480.19            06/12           103,061.82           06/21                                122,603.39
06/04                                                     98,684.89          06/13           103,026.77           06/22                                119,812.39
06/05                                                     98,615.41          06/14           102,943.96           06/25                                134,085.93
06/06                                                   103,115.41           06/15           108,389.07           06/26                                133,785.93
06/07                                                   103,050.07           06/18           105,338.39           06/27                                135,104.78
06/08                                                   103,040.08           06/19           106,574.39           06/28                                137,264.78
06/11                                                   103,113.82           06/20           122,303.39           06/29                                    37,629.78

j SERVICE CHARGE SUMMARY                                                             I___ ___ ___ ____
You were not charged a monthly service fee this month. Your monthly service fee can continue to be waived in
                                                                                                                five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $108,464.00. OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship balance
          was $110,726.00. OR
•         Link a qualifying personal checking account to your Chase BusinessSelect Checking account Your Premier
          Plus personal checking account is linked. OR
•         Spend at least $1,000.00 on a linked Chase Business Credit Gard. You spent $0.00. OR
•         Pay at least $50.00 in qualifying checking--related services or fees. You paid $47.00.

See your Account Rules and Regulations or stop in to see a banker today to find out more.
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       CHAS EO                                                                                       June 01, 2018Ihrough June 29, 2018
                                                                                                 Account Number:      ~


ISERVICE CHARGE SUMMARY,                                      _(c_on_tin_ued_1_ _ _ _ _ _ _ _ _ _ _ __
TFIANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                                   NUMBER OF TFIANSACTIONS
Checks Paid I Debits
                                                                                                                                             32
Deposits I Credits
                                                                                                                                             15
Deposited Items
                                                                                                                                              5
Transaction Total
                                                                                                                                             52
SERVICE FEE CALCULATION
                                                                                                                                       AMOUNT
Service Fee
                                                                                                                                        $15.00
Service Fee Credit
                                                                                                                                       -$15.00
Net Service Fee
                                                                                                                                         $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                         $0.00
Total Service Fees
                                                                                                                                         $0.00
CASH PROCESSING
                                                                                                                                       AMOUNT
Cash Deposits Immediate Verification                                                                                                $1,500.00
Cash Deposits Post Verification/Night Drop
                                                                                                                                        $0.00
Cash Deposits Total
                                                                                                                                    $1,500.00
Cash Deposits Allowed
                                                                                                                                    $7,500.0~-
Excess Cash Deposits
                                                                                                                                        $0.00




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) Immediately if you think your statement
                                                                                                                                       or receipt is
incorrect or if you need more information about a transfer listed oo the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the Fl RST statement on which
                                                                                                                                the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
        •      The dollar amount of the suspected error
        •      A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will Investigate your complaint and win correct a~ error prompttv. If we lake more than 10 business days (Of 20 business
accounts) to do this, we will credit your account for the amount you fhink is in error so that you will have use of the money      days for new
us to complete our investigation                                                                                               during the time ii lakes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if
incorrect or if~ need more information about ~l!Y non-electronic transactions (checks or deposits)                          your statement is
                                                                                                    on this statement. ff any such error appears,
ycu must notity the bank in writing no later than 30 days after the statement was made ava~able to you. For  more complete
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and          details, see the
JPMorgan Chase BanK, N.A. Member FDIC                                                                                    services are offered by
                                                                                                              ·

                                                                                             ~       JPMorgan Chase Bank, N.A. Member FDIC
                                                                                               NOE
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         CHASE                                                                       June 30, 2018throughJuly 31. 2018
         JPMorgan Chase Bank. NA
         PO Box 182051                                                            Account Number· ~ 2 9 0
         Columbus. OH 4321E'r2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                      Chase.com
                                                                               Service Center:             1-800-242-7338
        00028396 DRE 201 142 2131 B NNNNNNNNNNN T 1 000000000 00 0000          Deaf and Hard of Hearing:   1-800-242-7383
        HfBA ENTERTAINMEN T INC                                                Para Espanol:               1-888-622-4273      ~
        3020 BIG TOWN BlVD                                                                                                     ~




                                                                                                                               =
                                                                               International Calls:        1-713-262-1679
        MESQUITE TX 75150-2412
                                                                                                                               ~

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                                                                                                                               .




                                                                                                                               -
                                                                                                                               ~




 ICHECKING SUMMARY I                           Chase BusinessSelect Checking
                                                  INSTANCES                    AMOUNT
  Beginning Balance                                                        $37,629.78
  Deposits and Additions                                   12               68,264.00
  Checks Paid                                               3              -40,745.00
  ATM & Debit Card Withdrawals                            27                -2,531.04
  Electronic Withdrawals                                   9               -34,126.46
  Other Withdrawals                                        1               -10,000.00
  Fees                                                      5                 -145.75
  Ending Balance                                          57               $18,345.53

The monthly service fee for this account was waived because you used at least $50.00 in other checking services during
the statement period.


IDEPOSITS AND ADDITIONS!
 DATE          DESCRIPTION                                                                                         AMOUNT
  07102       Deposit      1796433753                                                              $7,806.00
  07/02       Remote Online Deposit                                                                 2,500.00
_0_7_/0_2_____R_.e!!Jote Online Deposit            1                                                  570.00
  07/05       Deposit       969218874                                                              20,000.00
 07/09        Card Purchase Return 07/06 C::heaptix"73640459876 Www.Ctix.lnfo WA Card 4378             58.04
 07/09        Card Purchase Return 07106 Cheaetix.73640459876 Www.Ctix.lnfo WA Card 437~8~_ _ _ _ _ _2_9_.9_6
  07/16       Deposit       988478400                                                               5,000.00
 07117        Deposit       971481737                                                               5,000.00
_0_1_11_a_~_□_e.._pos_lt    980029591                                                               1,500.00
 07119        Quickpay With Zelle Payl'l'!".':il From Guy G Cannon 7326022985                         300.00
 07/25        Deposit      1725781662                                                               9,000.00
 07131        Deposit      1799465557                                                              16,500.00
 Total Deposits and Additions                                                                     $68,264.00
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              CHAS EO                                                                      June 30. 201BlhroughJuly 31, 2018
                                                                                       Account Number:    ~90


    'CHECK S PAIDI
                                                                                                         DATE
     CHECK NO.           DESCRIPTION                                                                     PAID                     AMOUNT
     1045 ,.
                                                                                                         07/02                  $2,100.00
     1048 * 11                                                                                           07/02                  35,000.00
     1049 "                                                                                              07/19                   3,645.00
     Total Checks Paid
                                                                                                                         $40,745.00
     If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
     not the original or an image of the check. As a result, we're not able to return the check to you or show you an
                                                                                                                      image.
     * All of your recent checks may not be on this statement, either because they haven't deared yet or they were listed on
       one of your previous statements.
     " An image of this check may be available for you to view on Chase.com.


    jATM & DEBIT CARD WITHDRAWALS!
     DATE      DESCRIPTION
                                                                                                                                 AMOUNT
      07/02 Card Purchase        06/30 Apl.. llunes.Com/B ill 800-275-2273 CA Card 4378                                            $0.99
      07/02 Recurring Card Purchase 07/01 Sprint •Wireless 800-639-6111 KS Card 4378
                                                                                                                                  136.60
      07/05 Card Purchase With Pin 07/03 Racetrac 93 Allen TX Card 4378
                                                                                                                                   45.11
      07/06 Card Purchase       07/06 Cheaptlx..73640459876 Www.Ctix.lnfo WA Card 4378                                             88.00
      07/06 Card Purchase       07/06 Cheaptix*736 40459876 Www.Ctix.lnfo WA Card 4378                                             29.96
      07/09 Card Purchase       07/05 United       016712057 800-932-2732 TX Card 4378                                            602.40
      07/09 Card Purchase       07/05 United       016712057 800-932-2732 TX Card 4378                                            602.40
      07/09 Card Purchase       07/06 Brinkster Brinkster B 480-388-3777 AZ. Card 4378                                             30.06
      07/09 Card Purchase       07/06 American Air001219831 19 Fort Worth TX Card 4378                                            500.40
      07/09 Card Purchase       07/06 American Air001062773 18 Fort Worth TX Card 4378                                             35.00
      07/09 Card Purchase       07/06 Dallas FT. Worth Airpo Dfw Airport TX Card 4378                                               9.20
      07/09 Card Purchase With Pin 07/09 Racetrac 93 Allen TX Card 4378
                                                                                                                                   15.59
      07/17 Card Purchase       07/17 Apl*ltunes.Co m/Bill 800-275-2273 CA Card 4378
      07118 Card Purchase       07/17 Alamo Rent Acar Tolls 677-8601284 NY Card 4378                                                6.20
      07/20 Card Purchase With Pin 07/20 Wm Superc WaJ..Mart Sup Lucas TX Card 4378
                                                                                                                                   79.33
      07/20 Card Purchase With Pin 07/20 Wm Superc Wal-Mart Sup Lucas TX Card 4378
                                                                                                                                    1.45
      07/23 Card Purchase       07/20 Sq •Kabobi Fresh Meclite Richardson TX Card 4378                                             42.45
      07/23 Card Purchase With Pin 07/21 Racetrac 93 Allen TX Card 4378
                                                                                                                                   17.86 ti'
      07/23 Card Purchase With Pin 07/21 Quiktrip Plano TX Card 4378
                                                                                                                                   61.94 V
      07(24 Card Purchase With Pin 07/24 Racetrac 93 Allen TX Card 4378
                                                                                                                                   27.87
'\._ 07/25  Recurring Card Purchase 07/25 Adobe •Acropro Subs SOQ-833-6687 CA Card 4378
                                                                                                                                   16.23
    '07/26  Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378
                                                                                                                                   13.14
      07/26 Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378
                                                                                                                                   15.46
      07/26 Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                            14.46
    07127 Card Purchase         07/27 Apl•ltunes.Co m/Bill 800-275-2273 CA Card 4378                                                2.15
    07/31   Card Purchase       07/30 Apt•ltunes.Co m/Bill 800-275-2273 CA Card 4378                                                0.99
    07131   Recurring Card Purchase 07/31 Sprint •wireless 800-639-6111 KS Card 4378                                              130.40
    Total ATM & Debit Card Withdrawals                                                                                     $2,531.04


   IATM & DEBIT CARD SUMMARY!I - - - - - - - - - - - - -
    Muhammad Siddiqi Card 4378
                             Tatar ATM Withdrawals & Debits                                                                       $0.00
                             Total Card Purchases                                                                          $2.531.04
                             Total Card Deposits & Credits                                                                    $88.00


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              CHAS EO
                                                                                                             ••••-090
                                                                                          June 30, 2018throughJu ly 31, 2018
                                                                                       Account Number:



     ATM & Debit Card Totals
                               Total ATM Withdrawals & Debits                                                               $0.00
                               Total Card Purchases                                                                     $2,531.04
                               Total Card Deposits & Credits                                                               $88.00
                                                                                                                                               ---
                                                                                                                                               ~




                                                                                                                                               -
     !ELECTRONIC WITHDRAWALS!                                                                                                                  all!!!E=
                                                                                                                                               ~
      DATE     DESCRIPTION                                                                                                                     ~
                                                                                                                           AMOUNT


'\
      07/02
      07/02
              Paymentech
              Paymentech
                               Chargeback 6241464
                               Deposit 6241464
                                                         CCD ID: 1020401225
                                                      CCD ID: 1020401225
                                                                                                                        $4,000.00
                                                                                                                         4,000.00
                                                                                                                                               .........
                                                                                                                                               ~
      07/02   Paymentech       Fee     6241464       CCD ID: 1020401225                                                    568.80              ~

      07/06   07/06 Domestic Wire Transfer Via: Tib Dallas/111010170 A/C: Grand Ridge National Bank Ref:                16,200.00              iiii5
                                                                                                                                               ~
              Fct: Vibrant Media Group LLC; Account# 0020008413 lmad: 070681Qgc07C001666 Trn:
              6384800186Es                                                                                                                     """""""'
                                                                                                                                               ~
     07/09 Paymentech          Chargeback 6241464        CCD ID: 1020401225                                               2,500.00
     07111    Paymentech       Chargeback6241464         CCD ID: 1020401225                                               2,650.00
     07/17    Paymentech       Chargeback 6241464        CCD ID: 1020401225                                               1,000.00
     07(18 Simmons Bank- L Tel Pmts V8l7               Tel ID: 1710162300                                                 2,647.42
     07/25 U.S. Bank N.A. Pa ment 000000515313653 Tel ID: 5551540853                                                        560.24
     Total Electronic Withdrawals                                                                                      $34,126.46

 !OTHER WITHDRAWALS!
      DATE    DESCRIPTION
     07/25    07/25 Withdrawal
                                                                                                                           AMOUNT      ...k7
                                                                                                                       $10,000.00      7
     Total Other Withdrawals                                                                                           $10,000.00

 I FEES,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      DATE    DESCRIPTION                                                                                                  AMOUNT
     07/06    Domestic Wire Fee                                                                                            $35.00
     07111    Insufficient Funds Fee For A $2,650.00 Item - Details: Paymentech      Chargeback 6241464                     34.00
              CCD ID: 1020401225
     07/24    Official Checks Charge                                                                                            8.00
     07/25    Official Checks Charge                                                                                            8.00
     07/31    Cash Deposit Immediate                                                                                           60.75
     Total Fees                                                                                                           $145.75


 IDAILY ENDING BALANCE I - - - - - - - - - - - - - -
     9"'IE                      AMOUNT
                               .... "''"
                                                 .. DATE __ .              AMOUNT              _D1~      -                 AMQl,Jl'a
 07/02                       $2,699.39           07/17                     8,404.87            07/24                       3,667.35
 07/05                       22,654.28           07/18                     7,251.25            07/25                       2,082.88
 07/06                        6,301.32           07/19                    3,906.25             07/26                       2,039.82
 07/09                        2,094.27           07/20                    3,825.47            07/27                        2,037.67
 07/11                           -589.73         07/23                    3,703.22             07/31                     18,345.53
 07116                        4,410.27
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       CHAS EO                                                                                       June 30, 2018through July 31. 2018
                                                                                                Account Number:      ~90


ISERVICE CHARGE SUMMARY I___ ___ ___ ____
TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                                  NUMBER OF TRANSACTIONS
Checks Paid / Debits                                                                                                                        40
Deposits I Credits
                                                                                                                                             7
Deposited Items
                                                                                                                                             8
Transaction Total
                                                                                                                                            55
SER\IICE FEE CALCULATION
                                                                                                                                      AMOUNT
Service Fee
                                                                                                                                        $0.00
Service Fee Credit
                                                                                                                                        $0.00
Net Service Fee
                                                                                                                                        $0.00
Excessive Transaction Fees (Above 200)                                                                                                  $0.00
Total Service Fees
                                                                                                                                        $0.00
CASH PROCESSING
                                                                                                                                      AMOUNT
cash Deposits Immediate Verification                                                                                              $31,800.00
Cash Deposits Post Verification/Night Drop
                                                                                                                                       $0.00
Cash Deposits Total                                                                                                               $31,800.00
Cash Deposits Allowed                                                                                                             $7,500.00
Excess Cash Deposits                                                                                                             $24,300.00
Excess Immediate ($24,300 At $2.501$1,000}                                                                                            $60.75
Total Cash Deposit And Change Order Fees                                                                                              $60.75



IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement
                                                                                                                                       or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear lrom you no later than 60 days after we sent ycu the FIRST statement on which
                                                                                                                               the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure or why you believe it is an error. or why you need more information.
We will investigate your complaint and will correct any error prompUy. If we take more than 10 business days tor 20 business
accounts) to do this, we will credit your account for the amount you think is in error so that you wrn have use of the money       days for new
us to complete our investigation                                                                                              during the time ii takes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediatelv if
incorrect or if_you need more information about any non-electronic transactions (checks or deposits) on this your statement is
yau must nolity the bank in writing no later than 30 days after the statement was made available to you. Forstatement.      rt
                                                                                                                        any such error appears,
                                                                                                             more complete details, see lhe
AccountRules and Regulations or other aPOllcable account agreement that governs your acoount. Deposit products and services
JPMorgan Chase Bani<. N.A, Member FOlC                                                                                      are offered by


                                                                                            @        JPMorgan Chase Bank, N.A. Member FDIC
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                   CHASEO                                                                    August 01, 2018through August 31, 2018
                   JPMorgan Chase Bank. N.A.
                   P O Box 182051                                                          Account Number:    _..«>290
                   Columbus, OH 43218-2051

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                        Website:                          Chase.com
                                                                                        Service Center:               1-800-242-7338
               00028064 DRE 201 142 24418 NNNNNNNNNNN T 1 000000000 60 0000             Deaf and Hard of Hearing:     1-800-242· 7383
               HIBA ENTERTAINMENT INC                                                   Para Espanol:                 1-888-622-4273         ~

               3020 BIG TOWN BLVD                                                       International Calls:                                 ~
                                                                                                                      1-713-262-1679         -====
               MESQUITE TX 75150-2412
                                                                                                                                             -=
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                                                                                                                                             ===
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                                                                                                                                             i iiii

       ICHECKING SUMMARY I                           Chase BusinessSelect Checking

                                                         INSTANCES                     AMOUNT
           Beginning Balance                                                        $18,345.53
           ATM & Debit Card Withdrawals                           1                     -30.06
           Electronic Withdrawals                                 1                 -16,500.00
           Other Withdrawals                                      2                  -1,780.47
           Fees                                                   1                     -35.00
           Ending Balance                                         5



      IATM & DEBIT CARD WITHDRAWALS!
/")        DATE       DESCRIPTION                                                                                               AMOUNT
  t        08/07      Card Purchase        08/06 Brinkster Brinkster B 480-388-3777 AZ. Card 4378                               $30.06
      , Total ATM & Debit Card Withdrawals                                                                                      $30.06


       1   ATM & DEBIT CARD SUMMARY                               t-1- - - - - - - - - - - -



       Muhammad Siddiqi Card 4378
                                      Total ATM Withdrawals & Debits                                                             $0.00
                                      Total Card Purchases                                                                      $30.06
                                      Total Card Deposits & Credits                                                              $0.00
       ATM & Debit Card Totals
                                      Total ATM Withdrawals & Debits                                                             $0.00
                                      Total Card Purchases                                                                      $30.06
                                      Total Card Deposits & Credits                                                              $0.00

      !ELECTRONIC WITHDRAWALS!
       DATE          DESCRIPTION
       08/01         08/01 Domestic Wire Transfer Via: Tlb Dallas/111010170 A/C: Grand Ridge National Bank Ref:
                     For Further Creditr To:Vibrant Media Group LLC1069 W Golf Rdhoffman Es Tates, IL
                                                                                                                               AMOUNT
                                                                                                                           $1s.soo.oo    v
                     6p169Account # 0020008413 lmad: 0801B1Ogc08C03391 7 Trn: 6686000213Es
       Total Electronic Withdrawals                                                                                        $16,500.00
          Case 21-04077                Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                           Desc Exhibit
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        CHASEO                                                                                   August 01, 2018through August 31, 2018
                                                                                              Account Number.     ••••••0290
IOTHER WITHDRAWALS1-I- - - - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                                  AMOUNT
08/08     Pa    ent To Chase Card Endin IN 3191                                                                                      $500,00
08/13     Debit DDA - Check Charge                                                                                                   1,280.47
Total Other Withdrawals                                                                                                             $1,780.47


IFEES I
 DATE     DESCRIPTION                                                                                                                  AMOUNT
08/01     Domestic Wire Fee                                                                                                            $35.00
Total Fees                                                                                                                             $35.00

IDAily ENDING BALANCE, _ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE                                                                 AMOUNT
08/01                                                             $1,810.53
08/07                                                              1,780.47
08/08                                                              1,280.47
08/13                                                                   0.00

ISERVICE CHARGE SUMMARY I_______ _______
TRANSACTIONS FOR SERVICE FEE CALCULATION                                                                       NUMBER OF TRANSACTIONS
Checks Paid / Debits                                                                                                                      2
Deposits / Credits                                                                                                                        0
Deposited Items                                                                                                                           0
Transactioo Total                                                                                                                         2
SERVICE FEE CALCULATION                                                                                                            AMOUNT
Service Fee                                                                                                                          $0.00
Service Fee Credit                                                                                                                   $0.00
Net Service Fee                                                                                                                      $0.00
Excessive Transaction Fees (Above 200)                                                                                               $0.00
Total Service Fees                                                                                                                   $0.00




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us al lhe
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the fo~owing information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompUv. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you fhink is in error so that you wm have use ofthe money during the time it takes
us lo complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement 1s
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement If any such error appears.
you must notiry the bank in writing no later than 30 days after the statement was made available to you, For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, NA Member FDIC


                                                                                           0
                                                                                           LEH'imf
                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC
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                                  3.
                Amended
                Schedules
                Case 21-04077                       Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                       Desc Exhibit
                                                     I Defendants Document Request Page 86 of 196
 Fill in this information to identify your case and this filing:

 Debtor 1                    Muhammad Nasir Siddiqi
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                     EASTERN DISTRICT OF TEXAS
                                                             ---------------------------
 Case number            19-42834                                                                                                                              D   Check if this is an
                       -----------------------
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   D No. Go to Part 2.
   ■ Yes. Where is the property?



 1.1                                                                            What is the property? Check all that apply
        6701 Haven Hurst                                                          ■    Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                  □    Condominium or cooperative
                                                                                                                                  Creditors Who Have Claims Secured by Property.

                                                                                  □
                                                                                  D    Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Allen                             TX         75002-0000                   D    Land                                       entire property?            portion you own?
        City                              State              ZIP Code             D    Investment property                               $735,000.00                 $735,000.00
                                                                                  D    Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  D    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                  ■ Debtor 1 only
        Collin                                                                    D    Debtor 2 only
        County                                                                    D    Debtor 1 and Debtor 2 only
                                                                                                                                  D    Check if this is community property
                                                                                  D    At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
       pages you have attached for Part 1. Write that number here ...........................................................................=>                    $735,000.00




Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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 Debtor 1         Muhammad Nasir Siddiqi                                                                             Case number (if known)      19-42834
                                                                                                                                                ------------
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   □ No
   ■ Yes

                    Ford                                                                                                      Do not deduct secured claims or exemptions. Put
  3.1    Make:                                                Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Tahoe                                     ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2016                                      D Debtor 2 only                                                 Current value of the      Current value of the
         Approximate mileage:                  20000          D Debtor 1 and Debtor 2 only                                    entire property?          portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $20,000.00                 $20,000.00
                                                                    (see instructions)



                    Ford                                                                                                      Do not deduct secured claims or exemptions. Put
  3.2    Make:                                                Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Tahoe                                     ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2016                                      D Debtor 2 only                                                 Current value of the      Current value of the
         Approximate mileage:                  20000          D Debtor 1 and Debtor 2 only                                    entire property?          portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $20,000.00                 $20,000.00
                                                                    (see instructions)



  3.3    Make:      Ford                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Super Duty                                ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2015                                      D Debtor 2 only                                                 Current value of the      Current value of the
         Approximate mileage:                  50000          D Debtor 1 and Debtor 2 only                                    entire property?          portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $30,000.00                 $30,000.00
                                                                    (see instructions)



  3.4    Make:      Lincoln                                                                                                   Do not deduct secured claims or exemptions. Put
                                                              Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Navigator                                 ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2019                                      D Debtor 2 only                                                 Current value of the      Current value of the
         Approximate mileage:                  10000          D Debtor 1 and Debtor 2 only                                    entire property?          portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $90,000.00                 $90,000.00
                                                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ■ No
   □ Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here .............................................................................=>               $160,000.00

          Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.



Official Form 106A/B                                                      Schedule A/B: Property                                                                          page 2
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 Debtor 1       Muhammad Nasir Siddiqi                                                                Case number (if known)    19-42834
                                                                                                                               -----------
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   □ No
    ■ Yes. Describe .....

                                    sofa (300), 3 televisiosn (1,000), 14 chairs (700), 2 love seats
                                    (1,000), dining room table (1000), 3 beds (1500), 3 drerssers
                                    (1500), 2 rugs, (500) kitchen table (500), other household items
                                    (1000)                                                                                                       $10,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    ■ No
    D Yes.     Describe .....

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
    ■ No
    D Yes.     Describe .....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
              musical instruments
    ■ No
    D Yes.     Describe .....

10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    □ No
    ■ Yes. Describe .....

                                   , 1 pistol                                                                                                       $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    □ No
    ■ Yes. Describe .....

                                   I clothes                                                                                                      $1,000.00


12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    □ No
    ■ Yes. Describe .....

                                    watch (200) , wifes jewelry (bangles (2500), rings (2500), necklaces
                                     1500 , earrin s 1000 other ·ewel     1000                                                                  $10,000.00


13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    D Yes.     Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
    ■ No
    D Yes.     Give specific information .....



Official Form 106NB                                                 Schedule NB: Property                                                               page 3
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Debtor 1          Muhammad Nasir Siddiqi                                                                                           Case number (if known)   19-42834
                                                                                                                                                            -----------


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here ............................................................................. .                                               $21,400.00




Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   ■ No
   □ Yes ................................................................................................................

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   □ No
                                                                                                Institution name:
   ■ Yes ....................... .


                                              17.1.                                             Chase bank - frozen                                                        Unknown



                                              17.2.                                             Texans Credit Union                                                           $300.00



                                              17.3.                                             Chase Accounts -wifes                                                         $300.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
   □ Yes ................. .                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
   □ No
   ■ Yes. Give specific information about them .................. .
                                                  Name of entity:                                                                   % of ownership:

                                                  Hiba Entertainment, Inc. - out of business                                             100          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    ■ No
    D Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    D Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    ■ No
    □ Yes ..................... .                                                                Institution name or individual:


Official Form 106A/B                                                                     Schedule A/B: Property                                                                   page 4
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Debtor 1        Muhammad Nasir Siddiqi                                                                   Case number (if known)      19-42834
                                                                                                                                     -----------
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   ■ No
   □ Yes ............ .        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
   ■ No
   D Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   ■ No
   D Yes.     Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ■ No
   D Yes.     Give specific information about them ...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ■ No
   D Yes.     Give specific information about them ...

Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ■ No
   D Yes. Give specific information about them, including whether you already filed the returns and the tax years ...... .

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ■ No
   D Yes. Give specific information ......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
    ■ No
   D Yes.     Give specific information ..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    ■ No
   D Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                           Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    ■ No
    D Yes.     Give specific information ..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ■ No
    D Yes.     Describe each claim ........ .



Official Form 106A/B                                               Schedule A/B: Property                                                                  page 5
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    Debtor 1         Muhammad Nasir Siddiqi                                                                                                Case number (if known)   19-42834
                                                                                                                                                                    -----------

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       ■ No
       D Yes.       Describe each claim ........ .

35. Any financial assets you did not already list
       ■ No
       D Yes.      Give specific information ..


    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here .....................................................................................................................                   $600.00

               Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      ■ No. Go to Part 6.
      D Yes.     Go to line 38.



               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          ■ No.Go to Part 7.
          D Yes.     Go to line 47.



                     Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       ■ No
       D   Yes. Give specific information ........ .


    54. Add the dollar value of all of your entries from Part 7. Write that number here                                                                                               $0.00


-                   List the Totals of Each Part of this Form

    55. Part 1: Total real estate, line 2 ......................................................................................................................                 $735,000.00
    56. Part 2: Total vehicles, line 5                                                                         $160,000.00
    57. Part 3: Total personal and household items, line 15                                                      $21,400.00
    58. Part 4: Total financial assets, line 36                                                                       $600.00
    59. Part 5: Total business-related property, line 45                                                                  $0.00
    60. Part 6: Total farm- and fishing-related property, line 52                                                         $0.00
    61. Part 7: Total other property not listed, line 54                                             +                    $0.00

    62. Total personal property. Add lines 56 through 61 ...                                                    $182,000.00              Copy personal property total            $182,000.00

    63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $917,000.00




Official Form 106A/B                                                                  Schedule A/B: Property                                                                               page 6
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                    4.
                Car Titles
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              Upon sale of this vehicle, the purchaser must apply for a new title within 30 days unless the vehicle is
              purchased by a dealer. Until a new title is Issued, the vehicle record will continue to reflect the owner's




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              name llsted on the current title. SEE BACK OF TAB FOR ADDITIONAL INFORMATION.
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                                                                         PRIMOUII OWNER
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                          MUHAMMAD NASIR SIDDIQI                                                                                        ACTUAL MILEAGE
                          14411 TANGLEWOOD DRIVE
                          FARMERS BRANCH, TX 75234


                        X.----------
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                                                       MOTOR VEHICLE RETAIL INSTALLMENT SAL.ES CONTRACT
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    Texas 78705-4207; (BOO) 538-1579;www.occcstale.tx.us, and can be contacted relative to any Inquiries or complaints.


   The Annual Percentage Rate may be negot;sble 'Mth the Seller. The Seller may assign this contract
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        6.
Final Judgement
  in the Ropal
   Lawsuite
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                                             Cause No. DC-18-09276


   ROPAL ENTERTAINMENT, LLC,                               §             IN THE DISTRICT COURT
                                                           §
   Plaintiff,                                              §
                                                           §
   V.                                                      §
                                                           §
   HIBA ENTERTAINMENT, INC,                                §             DALLASCOUNTY,TEXAS
   MOHAMMAD NASIR SIDDIQI, and                             §
   AZHAR QASMI,                                            §
                                                           §
   Defendants.                                             §             193 rd JUDICIAL DISTRICT


                        FINAL JUDGMENT ON AWARD OF ARBITRATOR


           On    ~1                ,   2019, the Court held a hearing on the Application for Order

   Confirming Award of Arbitrator and Final Judgment filed by Ropal Entertainment, LLC. Counsel

  for Ropal Entertainment appeared in person; Hiba Entertainment, Inc. appeared/did not appear

  through counsel; Mohammad Nasir Siddiqi appeared/did not appear in person or through counsel;

  and Azhar Qasmi appeared/did not appear in person or through counsel. Upon consideration of the

  Application and the arguments of counsel, the Court granted the Application, and entered an Order

   Confirming Award of Arbitrator. Based on that Application and Order, the Court makes and enters

  this Final Judgment.

           It is ORDERED, ADJUDGED AND DECREED that Ropal Entertainment, LLC, shall

  recover of and from Hiba Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly

  and severally, the sum of $375,000.00.

  FINAL JUDGMENT ON A WARD OF ARBITRATOR ~ Page l
  Rapa/ Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
  Dallas County, Texas
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           It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

   Entertainment, Inc. and Azhar Qasmi, jointly and severally, the additional sum of $37,500.00.

           It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

   Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the sum

  of $94,516.50, for attorney's fees incurred through entry of the Final Award of Arbitrator.

           It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

   Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the sum

  of $18,250.00 in administrative fees and costs and Arbitrator compensation incurred in the

  arbitration.

           It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

  Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the

  additional sum of $307.00, as costs expended or incurred in connection with this Application for

  Final Judgment Confirming Award of Arbitrator, as provided by CPRC §171.092.

          It is further ORDERED that all amounts awarded by this Final Judgment shall bear post-

  judgment interest at the rate of 5% per annum from the date this Final Judgment is signed until the

  date the amounts awarded hereby are paid in full.

          It is further ORDERED that all writs and processes necessary for the collection or

  enforcement of the Award of Arbitrator and this Final Judgment Confirming Award of Arbitrator

  shall issue as are necessary.

          This is a final judgment intended to dispose of all issues between all parties. All relief

  requested by any party which is not specifically granted by this Final Judgment is specifically
  FINAL JUDGMENT ON AW ARD OF ARBITRATOR - Page 2
  Rapa! Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
  Dallas County, Texas
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       denied. This Final Judgment is appealable.




               Signed-..p:... ::\M.~1_,, 2019.                   D"Z-----
                                                            Honorable Judge Presiding




      FINAL JUDGMENT ON A WARD OF ARBITRATOR - Page 3
      Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
      Dallas County, Texas
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        7.
  Divorce Decree
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                                            NO. 10-09628

     IN THE MATTER OF                                 *        IN THE DISTRICT COURT
    THE MARRIAGE OF

    JAMELA SIDDIQI                                    *        OF DALLAS COUNTY TEXAS
    AND

    MUHAMMAD N. SIDDIQI                               *        303 rd JUDICIAL         DISTRICT



                                  FINAL DECREE OF DIVORCE

            On this day, this matter came on to be heard.

           Petitioner, JAMELA SIDDIQI, appeared in person and by attorney, and

    announced ready.

           Respondent, MUHAMMAD N. SIDDIQI, waived issuance of citation by waiver

   duly filed and has indicated his agreement to the terms of this decree, to the extent

   permitted by law, through his signature at the end of this decree.

           The record of testimony was duly reported by the Court Reporter of the .) 0            5 r j_
   District Court.

           The Court finds that the pleadings of the parties are in due form and contain all

   the allegations, information, and prerequisites required by law. The Court, after receiving

   evidence, finds that it has jurisdiction over this cause of action and the parties and that at

   least 60 days have elapsed since the date this suit was filed.           The Court finds that
  Petitioner has been a domiciliary of this state for at least a six-month period preceding the

  filing of this action and a resident of the county in which this suit is filed for at least a 90-

  day period preceding the filing of this action.         All persons entitled to citation were
  properly cited.
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              A jury was waived, and all questions of fact and of law were submitted to the

    Court.

              It is ORDERED AND DECREED that JAMELA SIDDIQI, Petitioner, and

   MUHAMMAD N. SIDDIQI, Respondent, are divorced and that the marriage between

   them is dissolved.

             The Court finds that there is no child of this marriage and that none is expected.

                              DIVISION OF COMMUNITY ESTATE

             The Court finds that the following is a just and right division of the parties'

   marital estate, having due regard for the rights of each party.

             It is ORDERED AND DECREED that the estate of the parties is divided as

   follows:

             Petitioner is awarded the following as Petitioner's sole and separate property, and

   Respondent is divested of all right, title, interest, and claim in and to such property:

             The following real property, including but not limited to escrow funds,
             prepaid insurance, utility deposits, keys, house plans, warranties and
             service contracts, and title and closing documents: house and lot at 14411
             Tanglewood Drive, Farmers Branch, Texas 75234, and more particularly
             described as Lot 14, Block 3, of Brookhaven Hills Addition, an Addition
             to the City of Farmers Branch, Dallas County, Texas, according to the Plat
             thereof recorded in Volume 51, Page 207, of the Map Records of Dallas
             County, Texas.

             All household furniture, furnishings, fixtures, goods, appliances, and
             equipment in the possession of or subject to Petitioner's sole control.

             All clothing, jewelry, and other personal effects in the possession of or
             subject to Petitioner's sole control.

          Any and all sums of cash in the possession or subject to the sole control of
          Petitioner, including money on account in banks, savings institutions, or
          other financial institutions, which accounts stand in Petitioner's sole name
          or from which Petitioner has the sole right to withdraw funds or which are
          subject to Petitioner's sole control.
                                                 2
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            Any and all sums, whether matured or unmatured, accrued or unaccrued,
            vested or otherwise, together with all increases thereof, the proceeds
            therefrom, and any other rights related to any profit-sharing plan,
            retirement plan, pension plan, employee stock option plan, employee
            savings plan, accrued unpaid bonuses, or other benefit program existing by
            reason of Petitioner's past, present or future employment.

           Any and all individual retirement accounts, simplified employee pensions,
           annuities, and variable annuity life insurance benefits in Petitioner's name.

           All brokerage accounts, stocks, bonds, mutual funds, and securities
           registered in Petitioner's name, together with all dividends, splits, and
           other rights and privileges in connection with them.

           Any and all benefits arising out of union memberships in Petitioner's
           name.

           Any and all policies of life insurance insuring Petitioner's life.

           Respondent is awarded the following as Respondent's sole and separate property,

    and Petitioner is hereby divested of all right, title, interest, and claim in and to such

    property:

           The following real property, including but not limited to escrow funds,
           prepaid insurance, utility deposits, keys, house plans, warranties and
           service contracts, and title and closing documents: house and lot at 1109
           Lak:estream Drive, Plano, Texas 75075, and being more particularly
           described as BEING Lot 3, in Block B, of CREEKBEND ESTATES,
           PHASE 1, an addition to the City of Plano, Collin County, Texas,
           according to the Map thereof recorded in Volume H, page 24 7, of the Map
           Records of Collin County, Texas.

           All household furniture, furnishings, fixtures, goods, appliances, and
           equipment in the possession of or subject to Respondent's sole control.

           All clothing, jewelry, and other personal effects in the possession of or
           subject to Respondent's sole control.

          Any and all sums of cash in the possession or subject to the sole control of
          Respondent, including money on account in banks, savings institutions, or
          other financial institutions, which accounts stand in Respondent's sole
          name or from which Respondent has the sole right to withdraw funds or
          which are subject to Respondent's sole control.

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           Any and all sums, whether matured or unmatured, accrued or unaccrued,
           vested or otherwise, together with all increases thereof, the proceeds
           therefrom, and any other rights related to any profit-sharing plan,
           retirement plan, pension plan, employee stock option plan, employee
           savings plan, accrued unpaid bonuses, or other benefit program existing by
           reason of Respondent's past, present or future employment.

           Any and all individual retirement accounts, simplified employee pensions,
           annuities, and variable annuity life insurance benefits in Respondent's
           name.

           All brokerage accounts, stocks, bonds, mutual funds, and secunties
           registered in Respondent's name, together with all dividends, splits, and
           other rights and privileges in connection with them.

           Any and all benefits arising out of union memberships in Respondent's
           name.

           Any and all policies of life insurance insuring the life of Respondent.

           The Respondent's motor vehicle together with all prepaid insurance, keys
           and title documents.

           It is further ORDERED AND DECREED that Petitioner and Respondent, and

   each of them, execute any and all documents necessary and proper to fulfill the division

   of property above awarded, and further have any writs, executions and process, as many

   and as often as necessary, to fulfill the provisions of this Decree.

          It is ORDERED AND DECREED that Petitioner shall pay, as a part of the

   division of the estate of the parties, the following debts and obligations and shall

   indemnify and hold Respondent and Respondent's property harmless from any failure

   to do so and discharge these debts and obligations:

          The balance due, incJuding principal, interest, tax, and insurance escrow,
          on that certain promissory note, dated April 19, 2002, executed by
          Muhammad Siddiqi, payable to SEBRING CAPITAL CORPORATION,
          and secured by deed of trust on the real property herein awarded to
          Petitioner and recorded in the Deed of Trust records of Dallas County,
          Texas.

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            Any and all debts, charges, liabilities, and other obligations standing
            solely in Petitioner's name and those incurred solely by Petitioner from
            and after October 1, 2007, unless express provision is made in this decree
            to the contrary.

           All encumbrances, ad valorem taxes, liens, assessments, or other charges
           due or to become due on the real and personal property awarded to
           Petitioner in this decree unless express provision is made herein to the
           contrary.

           It is ORDERED AND DECREED that Respondent shall pay, as a part of the

    division of the estate of the parties, the following debts and obligations and shall

    indemnify and hold Petitioner and Petitioner's property harmless from any failure to do

    so and discharge these debts and obligations:

           The balance due, including principal, interest, tax, and insurance escrow,
           on that certain promissory note, dated August 7, 2008, executed by Jamela
           Siddiqi and spouse Muhammad Siddiqi, payable to WACHOVIA
           MORTGAGE, FSB, in the original principal amount of$218,250.00, and
           secured by deed of trust on the real property herein awarded to
           Respondent and recorded in the Deed of Trust records of Collin County,
           Texas.

           Any and all debts, charges, liabilities and other obligations standing solely
           in Respondent's incurred solely by Respondent from and after October 1,
           2007 unless express provision is made in this decree to the contrary.

           All encumbrances, ad valorem taxes, liens, assessments, or other charges
           due or to become due on the real and personal property awarded to
           Respondent in this decree unless express provision is made herein to the
           contrary.

           It is further ORDERED AND DECREED that each party shall keep and preserve

   for a period of four years from the date of divorce all financial records relating to the

   community estate, and each party is ORDERED AND DECREED to allow the other

   party access to these records in the event of any tax audits.




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            It is ORDERED AND DECREED that each party shall furnish to the other party
    all financial records relating to acquisition dates, basis, and recapture information
    concerning property in which the community has had an interest.
            It is ORDERED AND DECREED, as a part of the division of the estate of the

    parties, that any community property or its value not otherwise awarded by this decree is

    subject to future division as provided by the Texas Family Code.

            It is further ORDERED AND DECREED, as a part of the division of the estate of

    the parties, that any community liability not expressly assumed by a party under this

    decree is to be paid by the party incurring the liability.

            It is ORDERED AND DECREED that each party shall send to the other party

    within five days of its receipt, a copy of any correspondence from a creditor or taxing

    authority concerning any potential liability of the other party.

           This decree shall serve as a muniment of title to transfer ownership of all

    property awarded to any party in this decree.

           It is ORDERED AND DECREED that the following property is confirmed as

   Petitioner's separate property and estate:       real property located at I 917 Crosby Road,

   Carrollton, Texas 75006, 2000 Ford Explorer, and the business known as "EAGLE

   PROTECTIVE GROUP DBA EAGLE PROTECTIVE GROUP, INC.," including but not

   limited to all furniture, fixtures, machinery, equipment, inventory, cash, receivables,

   contracts, accounts, goods, and supplies; all personal property used in connection with

   the operation of the business; and all rights and privileges, past, present, or future, arising

   out of or in connection with the operation of the business.

           It is ORDERED AND DECREED that Petitioner's name is restored to JAMELA

   MOONAN.
                                                  6
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           Each party is ORDERED to be solely responsible for and pay all attorney's fees

   incurred by that party in this cause.

           Costs of Court are to be borne by the party by whom incurred.

           Without affecting the finality of this Decree of Divorce, this Court expressly

   reserves the right to make orders necessary to clarify and enforce this decree.

           It is ORDERED AND DECREED that all relief requested in this cause and not



           SIGNED on   n
   expressly granted is denied.

                                     '2, ,;,        , 2010.




                                                        JUDGE PRESIDING



   APPROVED AS TO FORM ONLY:


   AA'.&"< J l ~
   MARIAN. STEI~GER
   SBN: 19126450
   Attorney for Petitioner



   APPROVED AS TO BOTH FORM AND SUBSTANCE:


  -~    ·
   . ' 1'{\             .
  '- ~IDDI~etitione r



   ~ sIDDiQ1,                     Respondent




                                               7
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       8.
Ba nk Statements
Case 21-04077                           Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc Exhibit
             ~:      from CHASEO
                                        I Defendants
                                                •
                                                      Document
                                                   Manage                  RequestCustomer
                                                          your account onllne:
                                                                WWW Chase.com
                                                                                      Page 8ervtH:114 of 196
                                                                                                      Moblle: Downloadllle -·-··1
                                                                                                                    1-800 34.5538           I    Chase Mobile* app today


                                                      New Balance
                                                                                              CHASE ULTIMATE REWARDS ®
       SMTWTFS                                        $16,162.34
                                                      Minimum Payment Due
                                                                                              SUMMARY
       29    30     1          2   3     4    5                                               Pnwloull points llllanc!t· ..•· ·.
                                                      $733.00                                                                                                     5,367
       6      7     B          9   10    11   12                                              + 1 Point per $1 eamed on all puiotiaaea •··
                                                      Payment Due Date                        + 4 Pie per $11nternt,oallle,p1i0111l.Ofot@,····.· ·
       13    14     15      16     17    18   19
                                                      10/20/19                                + 1 Polntper$1 angaem& ~.                                              0
     ■ 21          22       23     24    25   26                                                                                                                  6,800
       27 28 29 30 81                    1    2                                               Total p0IJ1ts 1'vail•le·~.,-
       3      4     5          6   .7    8    9                                               redemption ·· ··                       "       ·                 3,967
    Late Payment Warning: If we do not receive your minimum
    payment by the due date, you may have to pay up to a $39 late fee.
    Minimum Paymm1t Warning: Enroll in Auto-Pay and avoid missing
    a payment. To enroll, call lhe number on the back of your card or go
    to the web site listed above.



    ACCOUNT SUMMARY
    Account.N~:
    Prevlou, Balance                                                  $14,71J.TT
    Paymen~ Crecllta ..                                                         $0.00
    Purch~s         ·•·····.
                                                                     ·+$1,217.54
    Cash Adi/a~~ .••                                                            $1).00
    BalanceT~                                                               $0.00
    Fees Charged                                                          +$39.00
   lnte1'91!1 ptuug8!I ·•                                               ~
   NewBlllnce                                                         $18,112.34
   Opel)]nglClosing Date                                    Oe/27/1~ • 09/26/19
   ~cfe!itt~ n! . . .·                                                 $1.M!>O
   Available Credit                                                             $0
   Cash.Aooesa Une                                                         $:i,200
   Av~lor.~·.                                                                   $0
   I Paet Due Amount             • ··
     Ballnce ovw the Credit Aceeea Una
                                                                         ~-00
                                                                         $182.34




   YOUR ACCOUNT MESSAGE S
   You are over your credit linEll'credlt access line by $162.34. You can pay down your balance faster by Including this amount with
                                                                                                                                     your
   payment.




   0000001   FIS33339 C 1                              N    Z   26   19/09/28            Poge1of2                00226     MA DA 17111111   28910000011MU769301
   0475




  ~-          P.O. BOX 15123
    WILMINGTON, DE 19850-5123
     For Undeliverable Mail Only
                                                            -31,1 □ 0073300 □ 1b1b2340DDOODDOS

                                                           The Past Due
                                                    amount of $339.00 Is
                                                                                          Payment Due Date:
                                                                                          New Balance:  ···
                                                                                                                                                           1Ql20/1.
                                                                                                                                                         $18,1!2.84
                                                      Included in your                    Minimum P_m,nt
                                                     Minimum Payment                                                                                      . •00
                                                                                                         Acoount number:                          3111


                  57593 BEX Z 26919 C
                                                                                              $'----to------
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                                                                                                         Make/MaH        Ch-below:           al Ille addree&
                  MUHAMMAD N SIDDIQI
                  HIBA ENTERTAINMENT INC
                  3020 BIG TOWN BLVD                                                            t.11, ..11111,,,11,,111,,11,,11,11,p11,1111,11111,11111h•l11,11,
                  MESQUITE TX 75150-2412
                                                                                                                         CARDMEMBER SERVICE
                                                                                                                         POBOX6294
                                                                                                                         CAROL STREAM IL 60197-6294
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                                              11
              Case 21-04077          Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                         Desc Exhibit
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           CHASEO                                                                 October 23, 2019through November 19, 2019
           JPMorgan Chase Bank, NA
           PO Box 182051                                                          Account Number:                        1773
           Columbus, OH 43218-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                        Chase.com
                                                                               Service Center:              1-800-935-9935
        00004032 DRE 201 142 32419 NNNNNNNNNNN T 3 000000000 35 0000           Deaf and Hard of Hearing:    1-800-242-7383
        MUHAMMAD N SIDDIQI                                                     Para Espanol:                1-877-312-4273
                                                                                                                                   -
        3020 BIGTOWN BLVD
        MESQUITE TX 75150-2412
                                                                               International Calls:         1-713-262-1679
                                                                                                                                   ===
                                                                                                                                   -

                                                                                                                                   ~



                                                                                                                                   -===
We want to remind you about the overdraft service options that are available for your personal
checking account(s)

We've included information on the last page of this statement to remind you of our overdraft services and associated fees.
You can find more information about these services and ways to avoid overdraft fees at chase.com/overdraft-services.

If you have questions, please call us at the number on your statement.


I   CHECKING SUMMARY 1_ch_a_se_P_r_em_i_er_P_lu_s_C_he_c_kin_g_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            1

                                                                              AMOUNT
    Beginning Balance                                                       -$291.59
    Deposits and Additions                                                    325.59
    Fees                                                                       -34.00
    Ending Balance                                                              $0.00

    Annual Percentage Yield Earned This Period                                0.00%
    Interest Paid Year-to-Date                                                 $0.17


IDEPOSITS AND ADDITIONS!
DATE            DESCRIPTION                                                                                              AMOUNT
11/19           Overdraft Write-Off Please Contact Bank                                                                  $325.59
Total Deposits and Additions                                                                                             $325.59


1FEES 11---------- ----------
    DATE     DESCRIPTION                                                                                                 AMOUNT
11/05        Returned Item Fee For An Unpaid $199.00 Item - Details: Nfm        Payment                                   $34.00
             PPD ID: 1490000027
Total Fees                                                                                                                $34.00




                                                                                                           Page 1 of 4
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       CHASEO                                                                                  October 23, 2019through November 19, 2019
                                                                                               Account Number:                             1773


!OVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                          Total for                      Total
                                                                                                       This Period                Year-to-date
Total Overdraft Fees*                                                                                         $.00                         $476.00
Total Returned Item Fees                                                                                    $34.00                         $680.00
* Total Overdraft Fees includes Insufficient Funds Fees. and Extended Overdraft Fees




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, wh'( you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. ff any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, N.A. Member FDIC


                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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      CHASEO                                                                            October 23, 2019through November 19, 2019
                                                                                        Account Number:    ■■■■■ 1773




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
                                                                                                                                       ===
                                                                                                                                       ===
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:                                                                                      -===
                                                                                                                                      -
         1.   We have standard overdraft practices that come with your account.
         2.   We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
              than our standard overdraft practices. You can contact us to learn more.
                                                                                                                                      =-
                                                                                                                                      ~




This notice explains our standard overdraft practices.


              What are the standard overdraft practices that come with my account?
              We do authorize and pay overdrafts for the following types of transactions:
                   •   Checks and other transactions made using your checking account number
                   •   Recurring debit card transactions


               We do not authorize and pay overdrafts for the following types of transactions, unless you ask us to
               (see below):
               •        Everyday debit card transactions


               We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
               any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


               What fees will I be charged if Chase pays my overdraft?
               Under our standard overdraft practices:
               •       If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                       account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
               •       We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


              We waive fees for some account types:

                       For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                       iterns(s) are presented or withdrawal request(s) are made against an account with insufficient funds on four
                       or fewer business days in the past 12 months.

                       For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


              What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
              If you or a joint account owner would like to change your selection, sign in to chase.corn to update your account
              settings, or call us at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a Chase branch.
              We accept operator relay calls.




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CHASEO                                                        October 23, 2019through November 19, 2019
                                                              Account Number:   ■■■■■111773




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         CHASEO
      JPMorgan Chase Bank, N.A.
      PO Box 182051
      Columbus, OH 43218- 2051
                                                                                       Primary Account:   •••••1773
                                                                                   September 24, 2019through October 22, 2019




                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Web site:                           Chase.com
                                                                                Service Center:                 1-800-935-9935
     00001037 DRE 201 142 29619 NNNNNNNNNNN T 1 000000000 35 0000               Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                         Para Espanol:                   1-877-312-4273            ~
                                                                                                                                          ~
     3020 BIGTOWN BLVD                                                          International Calls:            1-713-262-1679            ~
     MESQUITE TX 75150-2412                                                                                                               ~
                                                                                                                                          ~

                                                                                                                                          -
                                                                                                                                          =
                                                                                                                                          -
Good news I We're making it easier to get a replacement account number if your account is
compromised.
Starting November 17, 2019, if your account is compromised, we can simply issue you a replacement account number
without the hassle of closing your existing account and opening a new one. This will allow you to continue using your existing
debit card.

We've updated our Deposit Account Agreement to explain this change:

         We can assign and transfer your account information and documentation to a replacement account number at our
         discretion. We may make this assignment when your account is reported compromised by you or any signer. If we
         issue you a replacement account number, this Deposit Account Agreement governing you and your account will
         continue to apply, without interruption, as if you retained the discontinued account number.

Please call us at the number at the top of this statement if you have any questions.




 ASSETS
 Checking & Savings                                            ACCOUNT                        BEGINNING BALANCE         ENDING BALANCE
                                                                                                     THIS PERIOD            THIS PERIOD
 Chase Premier Plus Checking                                        1773                                   -$62.59            -$291.59
 Chase Plus Savings                                                 5037                                    32.60                32.60
 Total                                                                                                     -$29.99            -$258.99


 TOTAL ASSETS                                                                                              -$29.99            -$258.99




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        CHASEO                                                                  September 24, 2019through October 22, 2019
                                                                                   Primary Account: ■■■■-1773




                                                                                                                            1773



ICHECKING SUMMARY I
                                                                             AMOUNT
 Beginning Balance                                                           -$62.59
 Fees                                                                        -229.00
 Ending Balance                                                             -$291.59

 Annual Percentage Yield Earned This Period                                  0.00%
 Interest Paid Year-to-Date                                                   $0.17


I FEES I
 DATE    DESCRIPTION                                                                                                     AMOUNT
09/26    Returned Item Fee For An Unpaid $373.04 Item - Details: Grayson-Collin Elec Paymt                                $34.00
         PPD ID: 1750300645
10/03    Returned Item Fee For An Unpaid $199.00 Item - Details: Nfm         Payment                                       34.00
         PPD ID: 1490000027
10/07    Returned Item Fee For An Unpaid $439.00 Item - Details: Discover      Payments 5319                               34.00
         WeblD:3510020270
10/16    Returned Item Fee For An Unpaid $47.85 Item - Details: Atmos Energy Rcr UTIL Pymt                                 34.00
         PPD ID: 9000000091
10/17    Returned Item Fee For An Unpaid $86.97 Item - Details: Citi Autopay Retry Pymt                                    34.00
         083090547222778 Tel ID: Citicardap
10/21    Returned Item Fee For An Unpaid $500.00 Item - Details: American Express Retry Pymt                               34.00
         PPD ID: 9493560001
10/22    Monthly Service Fee                                                                                               25.00
Total Fees                                                                                                               $229.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
    statement period.
    (Your average qualifying deposit and investment balance was -$114.00)

   Talk to a banker about transferring your balances to Chase today!

    OR. authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
    (You do not have a qualifying Chase mortgage)

    Talk to   a banker about a Chase mortgage!
Stop in today and explore all Chase has to offer.




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       CHASEO                                                                                    September 24, 2019through October 22, 2019
                                                                                                         Primary Account: ■■■■■- 773




jOVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                                                                         =
                                                                                                                                                         ==-a

                                                                                                                                                         ===
                                                                                                                                                         ====
Total Overdraft Fees*
Total Returned Item Fees
                                                                                                                  Total for
                                                                                                               This Period
                                                                                                                     $.00
                                                                                                                  $204.00
                                                                                                                                            Total
                                                                                                                                     Year-to-date
                                                                                                                                               $476.00
                                                                                                                                               $646.00
                                                                                                                                                         =
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees
                                                                                                                                                         -
                                                                                                                                                         ~
                                                                                                                                                         =====



                                                                                                                                                  5037


   SAVINGS SUMMARY
                                                                                          AMOUNT
 Beginning Balance                                                                         $32.60
 Ending Balance                                                                            $32.60

 Annual Percentage Yield Earned This Period                                                0.00%
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. ff any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC

                                                                                             @
                                                                                             (QlWIIOOilltiJ
                                                                                                              JPMorgan Chase Bank, N.A. Member FDIC
                                                                                             LENDER




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CHASEO                                                        September 24, 2019through October 22, 2019
                                                                Primary   Account:■■■■■11773




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            CHASEO                                                              August 22, 2019through September 23, 2019
         JPMorgan Chase Bank, N.A.
         PO Box 182051
         Columbus, OH 43218- 2051
                                                                                      Primary Account:   •••••773
                                                                              CUSTOMER SERVICE INFORMATION
                                                                              Web site:                              Chase.com
                                                                              Service Center:                   1-800-935-9935
        00001036 DRE 201142 26719 NNNNNNNNNNN T 1 000000000 35 0000           Deaf and Hard of Hearing:         1-800-242-7383
        MUHAMMAD N SIDDIQI                                                    Para Espanol:                     1-877-312-4273             .............
        3020 BIGTOWN BLVD
        MESQUITE TX 75150-2412
                                                                              International Calls:              1-713-262-1679
                                                                                                                                           =
                                                                                                                                           ~




                                                                                                                                           -
                                                                                                                                           -=

    ASSETS
    Checking & Savings                                           ACCOUNT                     BEGINNING BALANCE          ENDING BALANCE
                                                                                                    THIS PERIOD              THIS PERIOD
    Chase Premier Plus Checking                                                                          $1,846.16              -$62.59
    Chase Plus Savings                                                                                       32.60                32.60
    Total                                                                                                $1,878.76              -$29.99


    TOTAL ASSETS                                                                                         $1,878.76              -$29.99




                                                                                                                              1773



I   CHECKING SUMMARY                       1 - I- - - - - - - - - - - - - - -


                                                                             AMOUNT
    Beginning Balance                                                      $1,846.16
    Deposits and Additions                                                  9,182.77
    Checks Paid                                                              -100.00
    Electronic Withdrawals                                                 -8,564.75
    Other Withdrawals                                                      -2,129.77
    Fees                                                                     -297.00
    Ending Balance                                                           -$62.59

    Annual Percentage Yield Earned This Period                               0.01%
    Interest Paid This Period                                                 $0.01
    Interest Paid Year-to-Date                                                $0.17




                                                                                                               Page 1 of 4
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                                           I Defendants Document Request Page 124 of 196
            CHASEO                                                                     August 22, 2019through September 23, 2019
                                                                                         Primary Accoun-■■■■11773




IDEPOSITS AND ADDITIONS!
    DATE           DESCRIPTION                                                                                                 AMOUNT
    08/22          Eagle Protective Direct Dep           PPD ID: 9111111101                                               $2,641.38
    08/26          ATM Check Deposit        08/24 819 S Allen Heights DR Allen TX Card 3110                                3,400.00
    08/26          ATM Cash Deposit        08/24 819 S Allen Heights DR Allen TX Card 3110                                   500.00
    09/05          Eagle Protective Direct Dep           PPD ID: 9111111101                                                2,641.38
    09/23          Interest Payment                                                                                            0.01
    Total Deposits and Additions                                                                                          $9,182.77


ICHECKS PAID I
                                                                                                        DATE
    CHECK NO.                DESCRIPTION                                                                PAID                   AMOUNT
    1576    A                                                                                           08/22                  $100.00
    Total Checks Paid                                                                                                          $100.00
    If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    11 An image of this check may be available for you to view on Chase.com.




!ELECTRONIC WITHDRAWALS!
     DATE       DESCRIPTION                                                                                                    AMOUNT
    08/26       Affiliated Bank 1 Time Oft 0073249344   Web ID: 9Redep                                                    $7,818.19
    08/26       Grayson-Collin Elec Paymt            PPD ID: 1750300645                                                      297.61
    08/26       Paypal         Inst Xfer Benbarrick Web ID: Paypalsi77                                                         7.95
    09/03       Discover        E-Payment 5319        Web ID: 2510020270                                                     441.00
    Total Electronic Withdrawals                                                                                          $8,564.75


!OTHER WITHDRAWALS!
    DATE        DESCRIPTION                                                                                                    AMOUNT
    09/09       Coal-29Aug 19-1376                                                                                        $2,129.77
    Total Other Withdrawals                                                                                               $2,129.77


I    FEES         1 - - I-   -     -       -   -   -     -     -     -     -     -      -     -     -      -     -       -       -



    DATE        DESCRIPTION                                                                                                    AMOUNT
    08/30       Returned Item Fee For An Unpaid $3,846.07 Item - Details: Affiliated Bank 1 Time Oft                            $34.00
                0073249344       Web ID:9Redep
    09/03       Insufficient Funds Fee For A $441.00 Item - Details: Discover      E-Payment 5319                                34.00
                WeblD:2510020270
    09/09       Returned Item Fee For An Unpaid $32.10 Item - Details: Atmos Energy Rcr UTIL Pymt                                34.00
                PPDID:9000000091
    09/09       Returned Item Fee For An Unpaid $21.00 Item - Details: Coserv Od Cw Aw Bill Pay                                  34.00
                12091550611      Web ID: 7529027011
    09/11       Returned Item Fee For An Unpaid $89.14 Item - Details: Citi Autopay Payment                                      34.00
                083064627280546 Tel ID: Citicardap
    09/16       Returned Item Fee For An Unpaid $500.00 Item - Details: American Express ACH Pmt                                 34.00
                PPD ID: 9493560001




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         CHASEO                                                                           August 22, 2019through September 23, 2019
                                                                                               Primary Account: ■■■■-773




  FEES       I(continued)
                                                                                                                                            ~
                                                                                                                                            ~
 DATE
 09/17
          DESCRIPTION
          Returned Item Fee For An Unpaid $39.95 Item - Details: Nafmd     Phonecheck
                                                                                                                                  AMOUNT
                                                                                                                                    34.00
                                                                                                                                            ==
                                                                                                                                            =
          Tel ID: 3383693141                                                                                                                ~
                                                                                                                                            iiiiiii
 09/23
 09/23
          Returned Item Fee For An Unpaid Check #1228 IN The Amount of $35.19
          Monthly Service Fee
                                                                                                                                    34.00
                                                                                                                                    25.00   -
                                                                                                                                            ~

Total Fees                                                                                                                        $297.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?
                                                                                                                                            ~
A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $929.00)

    Talk to a banker about transferring your balances to Chase today!

     OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYJ
                                                                                                    Total for                  Total
                                                                                                 This Period            Year-to-date
Total Overdraft Fees*                                                                                $34.00                 $476.00
Total Returned Item Fees                                                                            $238.00                 $442.00

• Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                                                    5037



   SAVINGS SUMMARY
                                                                                       AMOUNT
 Beginning Balance                                                                     $32.60
 Ending Balance                                                                        $32.60

 Annual Percentage Yield Earned This Period                                            0.00%
 Interest Paid Year-to-Date                                                            $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.



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      CHASEO                                                                                   August 22, 2019through September 23, 2019
                                                                                                  Primary Accoun    999991799?? 1773

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDIC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                                            July 23, 2019throughAugust 21, 2019
        JPMorgan Chase Bank, N.A.
        PO Box 182051                                                                      Primary Account:■■■■■11773
        Columbus, OH 43218-2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                           Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001062 DRE 20114223419 NNNNNNNNNNN T 100000000035 0000                      Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD                                                             International Calls:            1-713-262-1679
     MESQUITE TX 75150-2412




 ASSETS
 Checking & Savings                                           ACCOUNT                            BEGINNING BALANCE         ENDING BALANCE
                                                                                                        THIS PERIOD            THIS PERIOD
 Chase Premier Plus Checking                                                                               $1,499.43             $1,846.16
 Chase Plus Savings                                                                                            32.60                 32.60
 Total                                                                                                     $1,532.03             $1,878.76


 TOTAL ASSETS                                                                                              $1,532.03             $1,878.76




                                                                                                                                 1773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,499.43
 Deposits and Additions                                                      20,282.77
 Checks Paid                                                                  -1,899.34
 ATM & Debit Card Withdrawals                                                 -2,306.46
 Electronic Withdrawals                                                     -15,229.24
 Fees                                                                             -501.00
 Ending Balance                                                              $1,846.16

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                         $0.01
 Interest Paid Year-to-Date                                                        $0.16

Your account ending in 5037 is linked to this account for overdraft protection.




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        CHASEO                                                                        July 23, 2019throughAugust 21, 2019
                                                                                     Primary Account:■■■■-773




IDEPOSITS AND ADDITIONS!
 DATE               DESCRIPTION                                                                                             AMOUNT
07/25               Eagle Protective Direct Dep        PPD ID: 9111111101                                             $2,641.38
08/02               Remote Online Deposit         1                                                                    5,000.00
08/08               Remote Online Deposit         1                                                                    5,000.00
08/08               Eagle Protective Direct Dep        PPD ID: 9111111101                                              2,641.38
08/19               Remote Online Deposit         1                                                                    5,000.00
08/21               Interest Payment                                                                                       0.01
Total Deposits and Additions                                                                                        $20,282.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.                 DESCRIPTION                                                               PAID                    AMOUNT
916    11                                                                                           08/13                  $500.00
1136    *   11                                                                                      08/21                    28.66
1308    *   11                                                                                      07/23                    30.68
1756    *   11                                                                                      07/29                   320.00
1783    *   11                                                                                      08/12                   130.00
1787    *   11                                                                                      08/20                   890.00
Total Checks Paid                                                                                                     $1,899.34
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
• All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
11 An image of this check may be available for you to view on Chase.com.




IATM & DEBIT CARD WITHDRAWALS!,__- ----------
 DATE            DESCRIPTION                                                                                                AMOUNT
07/26            Card Purchase       07/25 Att Ford 1X 800-331-0500 TX Card 3110                                           $267.24
07/26            Non-Chase ATM Withdraw 07/26 820 N Fitzhugh Ave Dallas TX Card 3110                                         62.50
07/29            Card Purchase       07/25 NM Last Call #51 214-5131527 TX Card 3110                                        147.76
07/29            Card Purchase       07/25 NM Last Call #51 214-5131527 TX Card 3110                                         63.65
07/29            Card Purchase With Pin 07/29 Mgi # 10 1621 N Centra Richardson TX Card 3110                                815.07
07/29            Card Purchase With Pin 07/29 Wm Supercenter # Lucas TX Card 3110                                           212.16
07/30            Non-Chase ATM Withdraw 07/30 2340 West Nw Hwy. Dallas TX Card 3110                                         132.00
07/31            Card Purchase       07/30 Tmc Restaurant of Dall 214-9568800 TX Card 3110                                  167.46
08/05            Card Purchase       08/03 Dallas Food & Beverage Dallas TX Card 3110                                       438.62
Total ATM & Debit Card Withdrawals                                                                                    $2,306.46


IELECTRONIC WITHDRAWALS!
 DATE            DESCRIPTION                                                                                                AMOUNT
07/23            U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853                                                  $560.24
07/23            Grayson-Collin Elec Paymt          PPD ID: 1750300645                                                       249.40
07/31            Capital One    Phone Pymt 921139860006470 Tel ID: 9541719986                                              1,000.00
08/05            Cadence Bank ACH         713-871-4012 Tel ID: 1640156695                                                  3,418.18
08/05            Discover      Payments 5319        Web ID: 3510020270                                                       445.00
08/05            Nfm         Payment            PPD ID: 1490000027                                                           199.00

                                                                                                             Page 2 of 6
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                               I Defendants Document Request Page 129 of 196
        CHASEO                                                                 July 23, 2019 through August 21, 2019
                                                                              Primary Accoun   33 33 Pf 3P ?J J1773




!ELECTRONIC WITHDRAWALSl_(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                    AMOUNT
                                                                                                                                 ====
08/06
08/09
        TD Auto Finance Web Pay 0001102822336 Web ID: 5202614244
        Pace Web ACH 9Stdactach 121643          Web ID: 5135562314
                                                                                                                      1,360.80
                                                                                                                      7,000.00
                                                                                                                                 ==
                                                                                                                                 =
                                                                                                                                 iiE
08/09   Atmos Energy Rcr UTIL Pymt          PPD ID: 9000000091                                                           34.56
08/12   Chase Credit Crd Autopay         PPD ID: 4760039224                                                             163.00
08/12
08/13
        Coserv Od Cw Aw Bill Pay 12033459161     Web ID: 7529027011
        Citi Autopay Payment 083039629880985 Tel ID: Citicardap
                                                                                                                         25.00
                                                                                                                         83.80
                                                                                                                                 -
                                                                                                                                 ~
08/16   American Express ACH Pmt            PPD ID: 9493560001                                                          500.00
08/16   Nafmd        Phonecheck         Tel ID: 3383693141                                                               39.95
08/21   Neiman Marcus Online Pmt 000001939936178 Web ID: 9541719427                                                     150.31
Total Electronic Withdrawals                                                                                    $15,229.24


I FEES I i - - - - - - - - - - - - - - - - - - - -
DATE    DESCRIPTION                                                                                                    AMOUNT
07/24   Returned Item Fee For An Unpaid $4,046.07 Item - Details: Affiliated Bank 1 Time Dft                           $34.00
        0073249344       Web1D:9Redep
08/06   Insufficient Funds Fee For A $1,360.80 Item - Details: TD Auto Finance Web Pay                                  34.00
        0001102822336 Web ID: 5202614244
08/07   Returned Item Fee For An Unpaid $1,707.09 Item - Details: Cadence Bank ACH                                      34.00
        713-871-4012 Tel ID: 1640156695
08/09   Insufficient Funds Fee For A $7,000.00 Item - Details: Pace Web ACH 9Stdactach 121643                           34.00
        WeblD:5135562314
08/09   Insufficient Funds Fee For A $34.56 Item - Details: Atmos Energy Rcr UTIL Pymt                                  34.00
        PPD ID: 9000000091
08/12   Insufficient Funds Fee For Check #1783 IN The Amount of $130.00                                                 34.00
08/12   Insufficient Funds Fee For A $25.00 Item - Details: Coserv Od Cw Aw Bill Pay 12033459161                        34.00
        WeblD:7529027011
08/13   Insufficient Funds Fee For Check #916 IN The Amount of $500.00                                                  34.00
08/13   Insufficient Funds Fee For A $83.80 Item - Details: Citi Autopay Payment                                        34.00
        083039629880985 Tel ID: Citicardap
08/14   Returned Item Fee For An Unpaid Check #1782 IN The Amount of $865.00                                            34.00
08/16   Insufficient Funds Fee For A $500.00 Item - Details: American Express ACH Pmt                                   34.00
        PPD ID: 9493560001
08/16   Returned Item Fee For An Unpaid $141.59 Item - Details: City of Parker Parker                                   34.00
        PPD ID: 751382954
08/16   Insufficient Funds Fee For A $39.95 Item - Details: Nafmd        Phonecheck          Tel                        34.00
        ID:3383693141
08/21   Returned Item Fee For An Unpaid $7,818.19 Item - Details: Affiliated Bank 1 Time Oft                            34.00
        0073249344       Web ID:9Dft4
08/21   Monthly Service Fee                                                                                             25.00
Total Fees                                                                                                            $501.00




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                                     I Defendants Document Request Page 130 of 196
       CHASEO                                                                                   July 23, 2019through August 21, 2019
                                                                                            Primary A c c o u n t : - 1 7 7 3




WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $1,092.00)

    Talk to a banker about transferring your balances to Chase today!

    QR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYj
                                                                                                      Total for                    Total
                                                                                                   This Period              Year-to-date
Total Overdraft Fees •                                                                                $306.00                   $442.00.
Total Returned Item Fees                                                                               $170.00                        $204.00 \

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




   SAVINGS SUMMARY
                                                                                       AMOUNT
 Beginning Balance                                                                     $32.60
 Ending Balance                                                                        $32.60

 Annual Percentage Yield Earned This Period                                            0.00%
 Interest Paid Year-to-Date                                                             $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




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           Case 21-04077               Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                         Desc Exhibit
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      CHASEO                                                                                      July 23, 2019through August 21, 2019
                                                                                                  Primary Account: ■■■■■ 1773




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IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDlC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                        July 23, 2019through August 21, 2019
                                                              Primary Account: ■■■■■11773




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         CHASEO                                                                             June 22, 2019through July 22, 2019
        JPMorgan Chase Bank, N.A.
        PO Box 182051                                                                   Primary Account:                        773
        Columbus, OH 43218-2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                           Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001056 DRE 201 142 20419 NNNNNNNNNNN T 1 000000000 35 0000                  Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD
     MESQUITE TX 75150-2412
                                                                                   International Calls:            1-713-262-1679               =
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 ASSETS
 Checking & Savings                                            ACCOUNT                            BEGINNING BALANCE        ENDING BALANCE
                                                                                                         THIS PERIOD            THIS PERIOD
 Chase Premier Plus Checking                                        1773                                     $223.62              $1,499.43
 Chase Plus Savings                                                 5037                                        32.60                   32.60
 Total                                                                                                       $256.22              $1,532.03


 TOTAL ASSETS                                                                                                $256.22              $1,532.03




                                                                                                                                      1773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                                $223.62
 Deposits and Additions                                                      19,803.77
 Checks Paid                                                                      -680.00
 ATM & Debit Card Withdrawals                                                     -213.65
 Electronic Withdrawals                                                       -5, 191.31
 Other Withdrawals                                                          -12,350.00
 Fees                                                                              -93.00
 Ending Balance                                                              $1,499.43

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                        $0.01
 Interest Paid Year-to-Date                                                        $0.15

Your account ending in 5037 is linked to this account for overdraft protection.




                                                                                                                  Page 1 of 4
            Case 21-04077             Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                         Desc Exhibit
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        CHASEO                                                                         June 22, 2019throughJuly 22, 2019
                                                                                     Primary Account■■■■■ 773




IDEPOSITS AND ADDITIONS!
 DATE          DESCRIPTION                                                                                                 AMOUNT
06/25          ATM Cash Deposit        06/24161 W Spring Creek Pkwy Plano TX Card 3110                                     $500.00
06/27          Deposit     1860836432                                                                                       525.00
06/27          Eagle Protective Direct Dep         PPD ID: 9111111101                                                     2,641.38
07/08          Quickpay With Zelle Payment From Arlene Moonan Wfct06Hpcqp9                                                1,000.00
07/11          Deposit     1054972605                                                                                     8,496.00
07/11          Deposit     1054972547                                                                                     4,000.00
07/11          Eagle Protective Direct Dep         PPD ID: 9111111101                                                     2,641.38
07/22          Interest Payment                                                                                               0.01
Total Deposits and Additions                                                                                        $19,803.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.              DESCRIPTION                                                                  PAID                   AMOUNT
915 II                                                                                              07/15                 $500.00
1573 * II                                                                                           06/27                   50.00
1776 * II                                                                                           07/15                  130.00
Total Checks Paid                                                                                                         $680.00
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
11 An image of this check may be available for you to view on Chase.com.




IATM & DEBIT CARD WITHDRAWALS!
 DATE       DESCRIPTION                                                                                                    AMOUNT
06/24       Card   Purchase With   Pin 06/22 7-Eleven 32723 Plano TX Card 3110                                             $49.99
06/24       Card   Purchase         06/22 Cheeky Monkey Fairview Fairview TX Card 3110                                       8.65
06/25       Card   Purchase With   Pin 06/25 Specs #128 15055 lnwoo Addison TX Card 3110                                   112.02
06/26       Card   Purchase         06/24 Qt 926     08009268 Allen TX Card 3110                                             6.10
06/27       Card   Purchase With   Pin 06/27 Wal-Mart #5672 Lucas TX Card 3110                                              36.89
Total ATM & Debit Card Withdrawals                                                                                        $213.65


!ELECTRONIC WITHDRAWALS!
 DATE       DESCRIPTION                                                                                                   AMOUNT
06/25       Grayson-Collin Elec Paymt           PPD ID: 1750300645                                                        $167.72
06/25       A.R.M. Solutions Preauthpmt Pns* Arm Soluti Tel ID: 1273535182                                                 147.03
06/26       U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853                                                      560.24
07/03       Nfm          Payment            PPD ID: 1490000027                                                             199.00
07/09       Atmos Energy Rcr UTIL Pymt            PPD ID: 9000000091                                                        28.82
07/09       Coserv Od Cw Aw Bill Pay 11971282441 Web ID: 7529027011                                                         21.00
07/11       Neiman Marcus Online Pmt 000001931176888 Web ID: 9541719427                                                    200.00
07/11       Chase Credit Crd Autopay 000000000245719 PPD ID: 4760039224                                                    168.00
07/11       Citi Autopay Payment 083011059041736 Tel ID: Citicardap                                                        118.96
07/12       Quickpay With Zelle Payment To Guy Cannon 8426092861                                                           200.00
07/16       Quickpay With Zelle Payment To Guy Cannon 8438698515                                                           200.00

                                                                                                             Page 2of 4
               Case 21-04077             Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                Desc Exhibit
                                         I Defendants Document Request Page 135 of 196
             CHASEO                                                                             June 22, 2019through July 22, 2019
                                                                                               Primary Account: ■■■■■ 1773




!ELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_1_ _ _ _ _ _ _ _ _ _ _ __
     DATE     DESCRIPTION                                                                                                               AMOUNT
    07/16     American Express ACH Pmt              PPD ID: 9493560001                                                                   500.00
    07/16     City of Parker Parker           PPD ID: 751382954                                                                          141.59
    07/16
    07/17
              Nafmd         Phonecheck          Tel ID: 3383693141
              Quickpay With Zelle Payment To Guy Cannon 8441353969
                                                                                                                                          39.95
                                                                                                                                         100.00
                                                                                                                                                  ---
    07 /17    American Express ACH Pmt W6794            Web ID: 2005032111                                                             2,000.00
    07/18     Quickpay With Zelle Payment To Guy Cannon 8443436515                                                                       399.00   ====
    Total Electronic Withdrawals                                                                                                  $5,191.31


IOTHER WITHDRAWALS,__!_ _ _ _ _ _ _ _ _ _ _ _ _ __
     DATE     DESCRIPTION                                                                                                               AMOUNT
    06/27     06/27 Withdrawal                                                                                                    $2,350.00
    07/11     07/11 Withdrawal                                                                                                    10,000.00
    Total Other Withdrawals                                                                                                     $12,350.00


I    FEES        1 - - I-   -     -      -     -      -      -      -      -      -        -   -   -      -       -    -         -        -




     DATE     DESCRIPTION                                                                                                               AMOUNT
    06/26     Insufficient Funds Fee For A $560.24 Item - Details: U.S. Bank N.A. Payment                                               $34.00
              000000515313653 Tel ID: 5551540853
    07/19     Returned Item Fee For An Unpaid $4,046.07 Item - Details: Affiliated Bank 1 Time Dft                                       34.00
              0073249344       WeblD:9Dft4
    07 /22    Monthly Service Fee                                                                                                        25.00
    Total Fees                                                                                                                          $93.00

    WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

    A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
    this fee during any statement period.
          Have an average qualifying deposit and investment balance of at least $15,000.00 during your
          statement period.
          (Your average qualifying deposit and investment balance was $1,539.00)

        Talk to a banker about transferring your balances to Chase today!

        OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
        (You do not have a qualifying Chase mortgage)

         Talk to a banker about a Chase morlgage!

    Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMAR~
                                                                                                      Total for                   Total
                                                                                                   This Period             Year-to-date
    Total Overdraft Fees *                                                                             $34.00                  $136.00
    Total Returned Item Fees                                                                           $34.00                   $34.00

    * Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                                       Page   3 of 4
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      CHASEO                                                                                              June 22, 2019through July 22, 2019
                                                                                                     Primary A c c o u n t : - 1 7 7 3




   SAVINGS SUMMARY
                                                                                          AMOUNT
 Beginning Balance                                                                         $32.60
 Ending Balance                                                                            $32.60

 Annual Percentage Yield Earned This Period                                                0.00%
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
        •      The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whf you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. ff any such error appears,
you must notiry the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDIC

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                                                                                             ~LIIWSIIIO
                                                                                                           JPMorgan Chase Bank, N.A. Member FDIC
                                                                                             LENDER




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         CHASEO                                                                             May 22, 2019through June 21, 2019
        JPMorgan Chase Bank, NA
        PO Box 182051                                                                   Primary Account:   ■■■■■ 1773
        Columbus, OH 43218- 2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                             Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001054 DRE 201 14217319 NNNNNNNNNNN T 1 000000000 35 0000                   Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD
     MESQUITE TX 75150-2412
                                                                                   International Calls:            1-713-262-1679             -
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 ASSETS
 Checking & Savings                                           ACCOUNT                             BEGINNING BALANCE        ENDING BALANCE
                                                                                                          THIS PERIOD           THIS PERIOD
 Chase Premier Plus Checking                                                                               $2,680.47              $223.62
 Chase Plus Savings                                                                                            32.60                 32.60
 Total                                                                                                     $2,713.07              $256.22


 TOTAL ASSETS                                                                                              $2,713.07              $256.22




                                                                                                                                  773



I CHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $2,680.47
 Deposits and Additions                                                      14,099.77
 Checks Paid                                                                  -3,777.64
 ATM & Debit Card Withdrawals                                                     -432.90
 Electronic Withdrawals                                                     -12,075.08
 Other Withdrawals                                                                -178.00
 Fees                                                                              -93.00
 Ending Balance                                                                   $223.62

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                         $0.01
 Interest Paid Year-to-Date                                                        $0.14

Your account ending in 5037 is linked to this account for overdraft protection.




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        CHASEO                                                                         May 22, 2019throughJune 21, 2019
                                                                                     Primary Account:                      773




IDEPOSITS AND ADDITIONS!
 DATE           DESCRIPTION                                                                                                 AMOUNT
05/30           Eagle Protective Direct Dep           PPD ID: 9111111101                                              $2,641.38
06/10           Deposit     1041940977                                                                                   500.00
06/10           Quickpay With Zelle Payment From Guy G Cannon 8319297455                                                 860.00
06/10           Quickpay With Zelle Payment From Guy G Cannon 8319291758                                                  12.00
06/13           Eagle Protective Direct Dep          PPD ID: 9111111101                                                2,641.38
06/17           Deposit     1047937514                                                                                 6,445.00
06/21           ATM Cash Deposit        06/21 819 S Allen Heights DR Allen TX Card 3110                                1,000.00
06/21           Interest Payment                                                                                           O.Q1
Total Deposits and Additions                                                                                        $14,099.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.               DESCRIPTION                                                                 PAID                    AMOUNT
914 "                                                                                               06/13                  $500.00
1109 *   A                                                                                          06/21                     27.64
1574    *"                                                                                          06/07                  1,000.00
1763    *"                                                                                          05/30                  2,000.00
1780    *"                                                                                          06/17                    250.00
Total Checks Paid                                                                                                     $3,777.64
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
"An image of this check may be available for you to view on Chase.com.


IATM & DEBIT CARD WITHDRAWALS!
 DATE        DESCRIPTION                                                                                                    AMOUNT
05/22        Card   Purchase With   Pin 05/22 Wm Supercenter # Lucas TX Card 3110                                           $17.38
05/28        Card   Purchase         05/24 Gt Distributors Dallas Dallas TX Card 3110                                       281.44
05/30        Card   Purchase         05/29 Furrs 234 Dallas TX Card 3110                                                     18.17
06/03        Card   Purchase         06/02 Subway        00032631 Garland TX Card 3110                                        8.43
06/04        Card   Purchase         06/03 Qt 926      08009268 Allen TX Card 3110                                            5.22
06/04        Card   Purchase With   Pin 06/04 Gamestop #540 3112 NJ Garland TX Card 3110                                      6.48
06/05        Card   Purchase         06/04 Gamestop #540 Garland TX Card 3110                                                 6.48
06/06        Card   Purchase         06/05 Taco Bueno Addison 1 Addison TX Card 3110                                          4.52
06/12        Card   Purchase With   Pin 06/11 Wm Supercenter # Lucas TX Card 3110                                            23.66
06/13        Card   Purchase With   Pin 06/13 Shell Service Station Addison TX Card 3110                                     13.58
06/14        Card   Purchase         06/13 Chipotle 2816 Dallas TX Card 3110                                                  7.52
06/17        Card   Purchase         06/15 Chevron 0210336 Carrollton TX Card 3110                                            9.99
06/17        Card   Purchase         06/15 Taco Bell #32187 Allen TX Card 3110                                               19.12
06/19        Card   Purchase         06/18 Taco Bell 035435 Plano TX Card 3110                                               10.91
Total ATM & Debit Card Withdrawals                                                                                         $432.90




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            CHASEO                                                                  May 22, 2019throughJune 21, 2019
                                                                                  Primary Account:                    1773




!ELECTRONIC WITHDRAWALS!
    DATE
    05/22
            DESCRIPTION
            Quickpay With Zelle Payment To Tovar Frankarlos 8255394727
                                                                                                                           AMOUNT
                                                                                                                           $250.00
                                                                                                                                     -
    05/23
    05/30
            Grayson-Collin Elec Paymt            PPD ID: 1750300645
            U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853
                                                                                                                            137.34
                                                                                                                            560.24
                                                                                                                                     ==
                                                                                                                                     ~

    05/31   Paypal         Echeck 5Exj2Arxe5Rma Web ID: Paypalec88                                                           24.95
    06/04
    06/04
            Discover
            Nfm
                           E-Payment 5319
                          Payment
                                                  Web ID: 2510020270
                                             PPD ID: 1490000027
                                                                                                                            700.00
                                                                                                                            199.00
                                                                                                                                     ===
                                                                                                                                     =
    06/07   Atmos Energy Rcr UTIL Pymt             PPD ID: 9000000091                                                        36.08   =
    06/10   Coserv Od Cw Aw Bill Pay 11907580321         Web ID: 7529027011                                                  58.00
    06/11   Quickpay With Zelle Payment To Guy Cannon 8321144745                                                            593.00
    06/11   Citi Autopay Payment 082985140620981 Tel ID: Citicardap                                                         208.50
    06/11   Chase Credit Crd Autopay 000000000239931 PPD ID: 4760039224                                                     165.00
    06/17   American Express ACH Pmt               PPD ID: 9493560001                                                       500.00
    06/17   Discover       E-Payment 5319         Web ID: 2510020270                                                        419.00
    06/17   City of Parker Parker             PPD ID: 751382954                                                             148.41
    06/18   Simmons Bank - L Tel Pmts Ykb8           Tel ID: 1710162300                                                   2,418.74
    06/18   Nafmd          Phonecheck          Tel ID: 3383693141                                                            39.95
    06/19   Affiliated Bank 1 Time Oft 0073249344    Web ID: 9Dft4                                                        4,046.07
    06/19   Discover       E-Payment 5319         Web ID: 2510020270                                                        970.80
    06/19 . Neiman Marcus Online Pmt 000001913122494 Web ID: 9541719427                                                     100.00
    06/21   American Express ACH Pmt W8962             Web ID: 2005032111                                                   500.00
    Total Electronic Withdrawals                                                                                   $12,075.08


IOTHER W I T H D R A W A L S l 1 - - - - - - - - - - - - - - - -
    DATE    DESCRIPTION                                                                                                    AMOUNT
    06/10   06/10 Withdrawal                                                                                              $178.00
    Total Other Withdrawals                                                                                               $178.00


I   FEES         1 - - I-   -   -   -   -     -     -    -     -     -     -     -     -      -      -    -        -         -




    DATE    DESCRIPTION                                                                                                    AMOUNT
    06/19   Insufficient Funds Fee For A $970.80 Item - Details: Discover    E-Payment 5319                                $34.00
            WeblD:2510020270
    06/19   Insufficient Funds Fee For A $100.00 Item - Details: Neiman Marcus Online Pmt                                   34.00
            000001913122494 Web ID: 9541719427
    06/21   Monthly Service Fee                                                                                             25.00
    Total Fees                                                                                                             $93.00




                                                                                                          Page   3 of 6
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           CHASEO                                                                                   May 22, 2019throughJune 21, 2019
                                                                                                Primary Account:-1773




    WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

    A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
    this fee during any statement period.
          Have an average qualifying deposit and investment balance of at least $15,000.00 during your
          statement period.
         (Your average qualifying deposit and investment balance was $1,874.00)

        Talk to a banker about transferring your balances to Chase today!

        OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
        (You do not have a qualifying Chase mortgage)

         Talk to a banker about a Chase mortgage!

    Stop in today and explore all Chase has to offer.


IOVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                         Total for                   Total
                                                                                                      This Period             Year-to-date
, Total Overdraft Fees*                                                                                   $68.00                  $102.00
i   Total Returned Item Fees                                                                                 $.00                      $.00

    * Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




       SAVINGS SUMMARY
                                                                                           AMOUNT
     Beginning Balance                                                                     $32.60
     Ending Balance                                                                        $32.60

     Annual Percentage Yield Earned This Period                                            0.00%
     Interest Paid Year-to-Date                                                             $0.04

    The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

    You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
    qualifying Chase Premier Plus Checking account.




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      CHASEO                                                                                       May 22, 2019throughJune 21, 2019
                                                                                                  Primary Account:■■■■■■ 773




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                         May 22, 2019throughJune 21, 2019
                                                              Primary Account: ■■■■■11773




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         CHASEO                                                                        April 20, 2019through May 21, 2019
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                   Primary Account:                       1773
      Columbus, OH 43218-2051

                                                                                 CUSTOMER SERVICE INFORMATION
                                                                                 Web site:                          Chase.com
                                                                                 Service Center:                1-800-935-9935
     00001119 DRE 201 14214219 NNNNNNNNNNN T 1 000000000 35 0000                 Deaf and Hard of Hearing:      1-800-242-7383
     MUHAMMAD N SIDDIQI                                                          Para Espanol:                  1-877-312-4273
     3020 BIGTOWN BLVD                                                           International Calls:           1-713-262-1679
     MESQUITE TX 75150-2412
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We want to remind you about the overdraft service options that are available for your personal
checking account(s)
We've included information on the last page of this statement to remind you about our overdraft services and associated
fees. You can find more information about these services and ways to avoid overdraft fees at
chase.com/overdraft-services .

If you have questions, please call us anytime at the number on your statement.




 ASSETS
 Checking & Savings                                           ACCOUNT                        BEGINNING BALANCE          ENDING BALANCE
                                                                                                    THIS PERIOD             THIS PERIOD
 Chase Premier Plus Checking                                       1773                                  $1,667.52              $2,680.47
 Chase Plus Savings                                                5037                                      32.60                  32.60
 Total                                                                                                   $1,700.12              $2,713.07


 TOTAL ASSETS                                                                                            $1,700.12              $2,713.07




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          Case 21-04077            Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                  Desc Exhibit
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        CHASEO                                                                             April 20, 2019through May 21, 2019
                                                                                       Primary Account:-1773




                                                                                                                                   773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,667.52
 Deposits and Additions                                                      21,517.03
 Checks Paid                                                                  -4,673.15
 A TM & Debit Card Withdrawals                                                -1,290.16
 Electronic Withdrawals                                                       -9,715.77
 Other Withdrawals                                                            -4,800.00
 Fees                                                                             -25.00
 Ending Balance                                                              $2,680.47

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                        $0.02
 Interest Paid Year-to-Date                                                       $0.13

Your account ending in 5037 is linked to this account for overdraft protection.


IDEPOSITS AND ADDITIONS!
DATE         DESCRIPTION                                                                                                        AMOUNT
04/23        Remote Online Deposit           1                                                                             $1,428.00
04/23        Deposit     1021537007                                                                                             4.25
04/25        Remote Online Deposit           1                                                                              3,925.00
05/02        Eagle Protective Direct Dep          PPD ID: 9111111101                                                        2,641.38
05/06        QuickpayWith Zelle Payment From Guy G Cannon 8205273519                                                          225.00
05/16        Eagle Protective Direct Dep          PPD ID: 9111111101                                                        2,641.38
05/20        ATM Cash Deposit        05/19 161 W Spring Creek Pkwy Plano TX Card           3110                             2,500.00
05/20        Remote Online Deposit           1                                                                              3,212.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21161 W Spring Creek Pkwy Plano TX Card           3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21161 W Spring Creek Pkwy Plano TX Card           3110                                580.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                520.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                460.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                380.00
05/21        Interest Payment                                                                                                   0.02
Total Deposits and Additions                                                                                             $21,517.03




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        CHASEO                                                                        April 20, 2019through May 21, 2019
                                                                                     Primary Account:                 1773




ICHECKS PAIDI
CHECK NO.               DESCRIPTION
                                                                                                    DATE
                                                                                                    PAID                      AMOUNT
                                                                                                                                        -====
913
1030
       {\



        *"
                                                                                                    05/13
                                                                                                    05/21
                                                                                                                              $500.00
                                                                                                                                26.48
                                                                                                                                        ==
                                                                                                                                        -
1084    *"                                                                                          04/23                       25.00
1754 *"                                                                                             04/29                      370.00   ~
1773 *"                                                                                             05/08                       65.00   ~
1774 h                                                                                              04/24                    1,150.00   =
1775 A                                                                                              04/25                    2,471.67
1778 * A                                                                                            05/20                       65.00
Total Checks Paid                                                                                                       $4,673.15
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
" An image of this check may be available for you to view on Chase.com.


jATM & DEBIT CARD WITHDRAWALS!
DATE         DESCRIPTION                                                                                                      AMOUNT
04/22        Card   Purchase         04/20 Sayyad Mediterranean Ki Richardson TX Card 3110                                    $26.63
04/29        Card   Purchase         04/28 Sq *Elegance By Monika Plano TX Card 3110                                           43.30
04/29        Card   Purchase With   Pin 04/28 Wal Wal-Mart Super 552 Lucas TX Card 3110                                       117.79
04/29        Card   Purchase         04/29 Wal-Mart #5672 Lucas TX Card 3110                                                   17.28
05/03        Card   Purchase With   Pin 05/03 Racetrac 93 Allen TX Card 3110                                                   20.79
05/06        Card   Purchase With   Pin 05/04 Wal Wal-Mart Super 241 Lucas TX Card 3110                                       233.17
05/13        Card   Purchase         05/12 Kebab N Kurry, Inc Plano TX Card 3110                                              237.61
05/17        Card   Purchase With   Pin 05/17 Bananarepublic US 8559 Frisco TX Card 3110                                      106.09
05/20        Card   Purchase         05/17 Nordstrom #0724 Frisco TX Card 3110                                                355.06
05/20        Card   Purchase         05/17 Nordstrom #0724 Frisco TX Card 3110                                                 95.26
05/20        Card   Purchase         05/17 Panda Express #1951 Frisco TX Card 3110                                             18.84
05/20        Card   Purchase         05/17 Auntie Anne's TX174 Frisco TX Card 3110                                              6.36
05/20        Card   Purchase         05/19 Taco Bell 035444 Dallas TX Card 3110                                                11.98
Total ATM & Debit Card Withdrawals                                                                                      $1,290.16


!ELECTRONIC WITHDRAWALS!
DATE         DESCRIPTION                                                                                                      AMOUNT
04/22        Quickpay With Zelle Payment To Guy Cannon 8157227765                                                            $300.00
04/24        Grayson-Collin Elec Paymt           PPD ID: 1750300645                                                           122.21
04/29        Quickpay With Zelle Payment To Tovar Frankarlos 8175356839                                                         1.00
04/29        Quickpay With Zelle Payment To Tovar Frankarlos 8175360053                                                       500.00
04/29        Discover      E-Payment 5319        Web ID: 2510020270                                                           134.07
05/03        U.S. Bank NA Payment 000000515313653 Tel ID: 5551540853                                                          588.25
05/03        Nfm         Payment             PPD ID: 1490000027                                                               199.00
05/09        Atmos Energy Rcr UTIL Pymt            PPD ID: 9000000091                                                          44.14
05/10        Coserv Od Cw Aw Bill Pay 11849479441 Web ID: 7529027011                                                           78.00
05/13        Quickpay With Zelle Payment To Tovar Frankarlos 8220515871                                                       100.00
05/13        Citi Autopay Payment 082958354771892 Tel ID: Citicardap                                                          198.03

                                                                                                             Page   3 of 6
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         CHASEO                                                                         April 20, 2019through May 21, 2019
                                                                                       Primary Account: ■■■■-1773




!ELECTRONIC WITHDRAWALSj_(c_on_tin_u_ed_1- - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                         AMOUNT
05/13     Chase Credit Crd Autopay             PPDID:4760039224                                                            169.00
05/16     Simmons Bank - L Tel Pmts Tr88          Tel ID: 1710162300                                                     2,418.74
05/16     American Express ACH Pmt               PPD ID: 9493560001                                                        500.00
05/16     City of Parker Parker             PPD ID: 751382954                                                              139.31
05/16     Nafmd          Phonecheck          Tel ID: 3383693141                                                             39.95
05/20     Neiman Marcus Online Pmt 000001907736345 Web ID: 9541719427                                                      100.00
05/20     Nordstrom       Payment 043000096069368 Web ID: 9044022131                                                        38.00
05/21     Affiliated Bank 1 Time Dft 0073249344    Web ID: 9Dft4                                                         4,046.07
Total Electronic Withdrawals                                                                                            $9,715.77


!OTHER W I T H D R A W A L S - I - - - - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                         AMOUNT
04/23     04/23 Withdrawal                                                                                                    $300.00
05/20     05/20 Withdrawal                                                                                                   4,500.00
Total Other Withdrawals                                                                                                 $4,800.00


I FEES I
 DA TE    DESCRIPTION                                                                                                         AMOUNT
05/21     Monthly Service Fee                                                                                                 $25.00
Total Fees                                                                                                                    $25.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $2,337.00)

    Talk to a banker about transferring your balances to Chase today!

    OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
    (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMAR~
                                                                                             Total for                    Total
                                                                                          This Period              Year-to-date
Total Overdraft Fees *                                                                           $.00                   $34.00
Total Returned Item Fees                                                                         $.00                      $.00,

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                               Page 4 of 6
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      CHASEO                                                                                        April 20, 2019through May 21, 2019
                                                                                                  Primary A c c o u n t : - 1 7 7 3




                                                                                                                                            5037
                                                                                                                                                         -=
   SAVINGS SUMMARY
                                                                                          AMOUNT
                                                                                                                                                         =
                                                                                                                                                         ~

 Beginning Balance                                                                         $32.60
                                                                                                                                                         ~
 Ending Balance                                                                            $32.60
                                                                                                                                                         ~
 Annual Percentage Yield Earned This Period                                                0.00%                                                         ===
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement {non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
        •      The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whf you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDIC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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      CHASEO                                                                                   April 20, 2019through May 21, 2019
                                                                                              Primary A c c o u n t : - 1 n 3




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:
            1.    We have standard overdraft practices that come with your account.
         2.      We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
                 than our standard overdraft practices. You can contact us to learn more.


This notice explains our standard overdraft practices.


        •        What are the standard overdraft practices that come with my account?
                 We do authorize and pay overdrafts for the following types of transactions:
                      •   Checks and other transactions made using your checking account number
                      •   Recurring debit card transactions
                     We do not authorize and pay overdrafts for the following types of transactions. unless you ask us to
                     (see below):
                           Everyday debit card transactions
                     We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
                     any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


                  What fees will I be charged if Chase pays my overdraft?
                     Under our standard overdraft practices:
                  •       If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                          account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
                  •       We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


                 We waive fees for some account types:

                 •        For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                          you've had four or fewer Insufficient Funds or Returned Item occurrences in the past 12 months.

                 •        For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


                 What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
                 If you or a joint account owner would like to change your selection, sign in to chase.com to update your account
                 settings, or call us anytime at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a
                 Chase branch.




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                                                                                  Activity From 04/01 /19-04/30/1 9
                                                                                                              Page 1 of 3
          P.O. Box 853912                                                        Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                          ~     Phone          972.348.2000
                                                                                Toll-Free      800.843.5295
                                                                                Auto-Access    972.348.2001
                                                                                               800.843.6426

                                                                          '1J   Online         www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BLVD                                                       i:8J Mail            P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                      Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER          BALANCE
My Texans Checking           XXXXXX8631        $338.14
Consumer Shares (Savings)    XXXXXX2750      $1,574.68
Certificate of Deposit(s)    1 Account(s)    $1,242.70
Total Current Value                          $3,155.52
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

Change of address, phone number, email address: You may log into online banking, call us at the phone number on the front of this
statement or visit your local branch to update your information.

Membership account agreement: Current copies of the membership account agreement and deposit account disclosure (fee schedule) may
be obtained on our website at www.texanscu.org or at your local branch.

Electronic transfers: In case of errors or questions about your electronic transfers: If you think your statement or receipt is wrong or you need
more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals, point-of-sale transactions) on the
statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
         complete our investigation.

Loans: In case of errors or questions about line-of-credit loans: If you think your statement is wrong or you need more information about
your loan, write us at the address listed on the front of this statement as soon as you can. We must hear from you no later than 60 days
after we sent you the FIRST statement on which the error or problem appeared. You can call us, but doing so will not preserve your rights.

         You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your
         statement that are not in question. While we investigate your question, we cannot report you as delinquent or take any action
         to collect the amount in question.

For either type of error or question:
          • Tell us your name and account number.
          • Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
            you need more information.
          • Tell us the dollar amount of the suspected error.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our investigation.

Direct deposits: To confirm pre-authorized credits (direct deposits, e.g.) were deposited as scheduled, you may call us at the phone number
on the front of this statement, review your on line banking activity or visit your local branch.

Reporting other problems: You must examine your statement carefully and promptly. You are in the best position to discover errors and
unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized transaction within
the time period specified in the deposit agreement (which periods are no more than 60 days after we make the statement available to you
and in some cases are 30 days or less), we are not liable to you for, and you agree to not make a claim against us for the problems or
unauthorized transactions.

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
be reflected in your credit report.

You have the right to dispute the accuracy of information that Texans Credit Union has furnished to a consumer reporting agency by writing
to us at the address on the front of your statement. Please describe the specific information that is inaccurate or in dispute and the basis for
the dispute along with supporting documentation. If you believe the information furnished is the result of identity theft, please provide us
with an identity theft report.


                        Texans Credit Union is federally insured by the National Credit Union Association.




✓ Balance your checking account: Visit www.texanscu.org/balance for a printable version of the How to Balance Your Account Worksheet.
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                                                                                                        XXXXXX8631

BEGINNING BALANCE                 DEPOSITS        DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES      ENDING BALANCE
338.14                                0.00               0.00            0.00          0.00                    338.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                   338.14
            No Activity This Period

                                                                                                        XXXXXX2750

BEGINNING BALANCE                DEPOSITS         DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES      ENDING BALANCE
3,483.70                              0.00               0.07          1,909.09        0.00                  1,574.68

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                 3,483.70
04/04       External Withdrawal CADENCE BANK - ACH                                    -1,909.09              1,574.61
04/30       Credit Dividends                                                                         0.07    1,574.68
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.22

 ill Momtfi letlific:ate                                                                                     XX5350

BEGINNING BALANCE                DEPOSITS         INTEREST EARNED    WITHDRAWALS   SERVICE FEES      ENDING BALANCE
1,242.39                              0.00               0.31           0.00           0.00                  1,242.70

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                 1,242.39
04/30       Credit Dividends                                                                         0.31    1,242.70
The Annual Percentage Yield Earned for this account is 0.30%
Interest Paid in 2019 for this account is 1.24
The Certificate Maturity date for this account is 05/18/19
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                                 I Defendants Document Request Page 152 of 196                               May 2019
                                                                                           Activity From 05/01 /19-05/31 /19
                                                                                                                 Page 1 of 3
          P.O. Box 853912                                                                 Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                                     ~   Phone          972.348.2000
                                                                                         Toll-Free      800.843.5295
                                                                                         Auto-Access    972.348.2001
                                                                                                        800.843.6426

                                                                                    J[lj Online         www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                                                ~    Mail           P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                               Richardson, TX 75085-3912




Statement Summary                                          Important Information
ACCOUNT TYPE                 NUMBER          BALANCE       We've Updated Your Consumer Membership Account
My Texans Checking           XXXXXX8631        $332.14     Agreement (Agreement) - Effective immediately
Consumer Shares (Savings)    XXXXXX2750      $1,665.67
Certificate of Deposit(s)    1 Account(s)    $1,243.59     Your Agreement has been updated to clarify the following General
Total Current Value                          $3,241.40     Terms and Conditions: 7. Transactions from our Account(s). a)
                                                           Payment Order of Your Transactions, 15. Courtesy Pay, Overdraft,
                                                           and Overdraft Protection Plan, and 27. Telephone Requests;
                                                           Recording Communications and Consent to Communications from
                                                           the Credit Union. Our funds availability policy Special Rules for
                                                           New Accounts section has been updated. Your continued use of your
                                                           account( s) is your acceptance of the revisions. You can obtain a copy
                                                           of the revised Agreement by VIS!tmg our website at
                                                           www.TexansCU.org/disclosures, at any branch location or by calling
                                                           us at 972.348.2000.
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

Change of address, phone number, email address: You may log into online banking, call us at the phone number on the front of this
statement or visit your local branch to update your information.

Membership account agreement: Current copies of the membership account agreement and deposit account disclosure (fee schedule) may
be obtained on our website at www.texanscu.org or at your local branch.

Electronic transfers: In case of errors or questions about your electronic transfers: If you think your statement or receipt is wrong or you need
more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals, point-of-sale transactions) on the
statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primanJy for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
         complete our investigation.

Loans: In case of errors or questions about line-of-credit loans: If you think your statement is wrong or you need more information about
your loan, write us at the address listed on the front of this statement as soon as you can. We must hear from you no later than 60 days
after we sent you the FIRST statement on which the error or problem appeared. You can call us, but doing so will not preserve your rights.

         You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your
         statement that are not in question. While we investigate your question, we cannot report you as delinquent or take any action
         to collect the amount in question.

For either type of error or question:
          • Tell us your name and account number.
          • Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
            you need more information.
          • Tell us the dollar amount of the suspected error.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our investigation.

Direct deposits: To confirm pre-authorized credits (direct deposits, e.g.) were deposited as scheduled, you may call us at the phone number
on the front of this statement, review your online banking activity or visit your local branch.

Reporting other problems: You must examine your statement carefully and promptly. You are in the best position to discover errors and
unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized transaction within
the time period specified in the deposit agreement (which periods are no more than 60 days after we make the statement available to you
and in some cases are 30 days or less), we are not liable to you for, and you agree to not make a claim against us for the problems or
unauthorized transactions.

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
be reflected in your credit report.

You have the right to dispute the accuracy of information that Texans Credit Union has furnished to a consumer reporting agency by writing
to us at the address on the front of your statement. Please describe the specific information that is inaccurate or in dispute and the basis for
the dispute along with supporting documentation. If you believe the information furnished is the result of identity theft, please provide us
with an identity theft report.


                        Texans Credit Union is federally insured by the National Credit Union Association.




✓ Balance your checking account: Visit www.texanscu.org/balance for a printable version of the How to Balance Your Account Worksheet.
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                                                                                                         XXXXXX8631

BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
338.14                            0.00                       0.00        0.00          6.00                    332.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TR.t1NSACTION                                                DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                    338.14
05/31       Inactivity Fee                                                                -6.00                 332.14

                                                                                                         XXXXXX2750

BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,574.68                        2,000.00                 0.08          1,909.09        0.00                   1,665.67

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRM~SACTION                                                  DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                  1,574.68
05/02       Deposit                                                                               2,000.00    3,574.68
05/06       External Withdrawal CADENCE BANK • ACH                                    -1,909.09               1,665.59
05/31       Credit Dividends                                                                         0.08     1,665.67
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.30

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,242.70                          0.00                   0.89           0.00           0.00                   1,243.59

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                  1,242.70
05/17       Credit Dividends                                                                         0.17     1,242.87
05/31       Credit Dividends                                                                         0.72     1,243.59
The Annual Percentage Yield Earned for this account is 0.85%
Interest Paid in 2019 for this account is 2.13
The Certificate Maturity date for this account is 05/18/21
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                                                                                      Activity From 06/01/19-06/30/19
                                                                                                               Page 1 of 3
          P.O. Box 853912                                                            Member Number: XXXXXXX2000
     Richardson, 1X 75085-3912




                                                                          ~         Phone          972.348.2000
                                                                                    Toll-Free      800.843.5295
                                                                                    Auto-Access    972.348.2001
                                                                                                   800.843.6426

                                                                          -1J       Online         www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BLVD                                                       C?::.s1   Mail           P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                          Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER          BALANCE
My Texans Checking           XXXXXX8631        $326.14
Consumer Shares (Savings)    XXXXXX2750      $1,824.69
Certificate of Deposit(s)    1 Account(s)    $1,245.12
Total Current Value                          $3,395.95
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

Change of address, phone number, email address: You may log into online banking, call us at the phone number on the front of this
statement or visit your local branch to update your information.

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statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
         complete our investigation.

Loans: In case of errors or questions about line-of-credit loans: If you think your statement is wrong or you need more information about
your loan, write us at the address listed on the front of this statement as soon as you can. We must hear from you no later than 60 days
after we sent you the FIRST statement on which the error or problem appeared. You can call us, but doing so will not preserve your rights.

         You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your
         statement that are not in question. While we investigate your question, we cannot report you as delinquent or take any action
         to collect the amount in question.

For either type of error or question:
          • Tell us your name and account number.
          • Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
            you need more information.
          • Tell us the dollar amount of the suspected error.

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the time period specified in the deposit agreement (which periods are no more than 60 days after we make the statement available to you
and in some cases are 30 days or less), we are not liable to you for, and you agree to not make a claim against us for the problems or
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                        Texans Credit Union is federally insured by the National Credit Union Association.




✓ Balance your checking account: Visit www.texasncu.org/balance for a printable version of the How to Balance Your Account Worksheet.
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                                                                                                             XXXXXX8631
BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
332.14                            0.00                       0.00            0.00          6.00                     326.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                        332.14
06/30       Inactivity Fee                                                                    -6.00                 326.14

                                                                                                             XXXXXX2750
BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,665.67                        2,068.00                     0.11          1,909.09        0.00                   1,824.69

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                      1,665.67
06/02       Deposit Shared Branch Mobile          Richardson        TX                                 640.00     2,305.67
06/02       Deposit Shared Branch Mobile          Richardson        TX                                1,428.00    3,733.67
06/04       External Withdrawal CADENCE BANK • ACH                                        -1,909.09               1,824.58
06/04       External Withdrawal CADENCE BANK - ACH (Returned)                                         1,909.09    3,733.67
06/17       External Withdrawal CADENCE BANK - ACH                                        -1,909.09               1,824.58
06/30       Credit Dividends                                                                             0.11     1,824.69
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.41

                                                                                                                  XX5350
BEGINNING BALANCE              DEPOSITS           INTEREST EARNED        WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,243.59                          0.00                       1.53           0.00           0.00                   1,245.12

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                      1,243.59
06/30       Credit Dividends                                                                             1.53     1,245.12
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 3.66
The Certificate Maturity date for this account is 05/18/21
       Case 21-04077             Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06             Desc Exhibit
                                 I Defendants Document Request Page 158 of 196                        July 2019
                                                                                   Activity From 07/01/19-07/31/19
                                                                                                        Page 1 of 3
          P.O. Box 853912                                                         Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                          ~      Phone          972.348.2000
                                                                                 Toll-Free      800.843.5295
                                                                                 Auto-Access    972.348.2001
                                                                                                800.843.6426

                                                                          -1eJ   Online         www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                                      [8'J Mail             P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                       Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER          BAU\NCE
My Texans Checking           XXXXXX8631       $320.14
Consumer Shares (Savings)    XXXXXX2750     $1,824.77
Certificate of Deposit(s)    1 Account(s)   $1,246.71
Total Current Value                         $3,391.62
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

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statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primanfy for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
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                                                                                                         XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
326.14                            0.00                   0.00           0.00           6.00                     320.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                    326.14
07/31       Inactivity Fee                                                                -6.00                 320.14

                                                                                                         XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,824.69                          0.00                   0.08           0.00           0.00                   1,824.77

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                  1,824.69
07/05       External Withdrawal CADENCE BANK - ACH                                    -1,909.09
07/05       External Withdrawal CADENCE BANK - ACH (Returned)                                     1,909.09    1,824.69
07/31       Credit Dividends                                                                         0.08     1,824.77
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.49

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,245.12                          0.00                       1.59       0.00           0.00                   1,246.71

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                  1,245.12
07 /31      Credit Dividends                                                                          1.59    1,246.71
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 5.25
The Certificate Maturity date for this account is 05/18/21
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                                 I Defendants Document Request Page 161 of 196               August 2019
                                                                                 Activity From 08/01 /19-08/31 /19
                                                                                                       Page 1 of 3
          P.O. Box 853912                                                       Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                          ~ Phone            972.348.2000
                                                                              Toll-Free      800.843.5295
                                                                              Auto-Access    972.348.2001
                                                                                             800.843.6426

                                                                          -'e) Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                                      C8J Mail           P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                    Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER          BALANCE
My Texans Checking           XXXXXX8631        $314.14
Consumer Shares (Savings)    XXXXXX2750      $3,572.85
Certificate of Deposit(s)    1 Account(s)    $1,248.30
Total Current Value                          $5,135.29
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                                                                                                             XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
320.14                            0.00                   0.00                0.00          6.00                     314.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                        320.14
08/31       Inactivity Fee                                                                    -6.00                 314.14

                                                                                                             XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       Ef\JDING BALANCE
1,824.77                        1,748.00                 0.08                0.00          0.00                   3,572.85

Transactions for Consumer Shares {Savings)
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                      1,824.77
08/30       Deposit Shared Branch Mobile          Richardson        TX                                1,748.00    3,572.77
08/31       Credit Dividends                                                                             0.08     3,572.85
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.57

                                                                                                                  XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED        WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,246.71                          0.00                       1.59           0.00           0.00                   1,248.30

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                      1,246.71
08/31       Credit Dividends                                                                              1.59    1,248.30
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 6.84
The Certificate Maturity date for this account is 05/18/21
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                                 I Defendants Document Request Page 164 of 196 September 2019
                                                                             Activity From 09/01 /19-09/30/19
                                                                                                    Page 1 of 3
          P.O. Box 853912                                                   Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                      ~   Phone         972.348.2000
                                                                          Toll-Free     800.843.5295
                                                                          Auto-Access   972.348.2001
                                                                                        800.843 .6426

                                                                      4:) Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                                  l23l Mail         P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                               Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BALANCE
My Texans Checking           XXXXXX8631     $824.88
Consumer Shares (Savings)    XXXXXX2750     $154.69
Certificate of Deposit(s)    1 Account(s)     $0.00
Total Current Value                         $979.57
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          • Tell us the dollar amount of the suspected error.

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                                                                                                         XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
314.14                          4,356.81                 0.00          3,846.07        0.00                    824.88

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
09/01       Starting Balance                                                                                    314.14
09/24       Deposit                                                                               2,641.38    2,955.52
09/24       Deposit                                                                               1,215.43    4,170.95
09/24       Deposit                                                                                 500.00    4,670.95
09/24       Withdrawal                                                                -3,846.07                 824.88

                                                                                                         XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
3,572.85                          0.00                   0.02          3,418.18        0.00                    154.69

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
 09/01    Starting Balance                                                                                    3,572.85
 09/04    External Withdrawal CADENCE BANK - ACH                                      -3.418.18                 154.67
 09/30    Credit Dividends                                                                            0.02      154.69
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.59

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,248.30                          0.00                       1.18      1,224.48       25.00                       0.00

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
09/01     Starting Balance                                                                                    1,248.30
09/24     CD Early Withdrawal Fee                                                        -25.00               1,223.30
 09/24    Closeout Withdrawal                                                         -1,215.43                   7.87
 09/24    Credit Dividends                                                                            1.18        9.05
 09/24    Penalty                                                                         -9.05                  -0.00
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 8.02
The Certificate Maturity date for this account is 05/18/21
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        CHASEO                                                                   October 22, 2019through November 21, 2019
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                 Primary Account■•-••111685
      Columbus, OH 43218-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                        Chase.com
                                                                               Service Center:              1-800-935-9935
     00006725 DRE 201 21032619 NNNNNNNNNNN 1 000000000 34 0000                 Deaf and Hard of Hearing:    1-800-242-7383
                                                                               Para Espanol:                1-877-312-4273
     FATIMA ALI
                                                                               International Calls:         1-713-262-1679
                                                                                                                                      ==

                                                                                                                                      ==
     1901 EASTFORK LN


                                                                                                                                      ==
     WYLIE TX 75098-7754

                                                                                                                                      -
                                                                                                                                      -=
                                                                                                                                      --=

We want to remind you about the overdraft service options that are available for your personal
checking account(s)
We've included information on the last page of this statement to remind you of our overdraft services and associated fees.
You can find more information about these services and ways to avoid overdraft fees at chase.com/overdraft-services.

If you have questions, please call us at the number on your statement.




 ASSETS
 Checking & Savings                                          ACCOUNT                       BEGINNING BALANCE       ENDING BALANCE
                                                                                                  THIS PERIOD          THIS PERIOD
 Chase Total Checking                                            685                                   $91.53                $35.66
 Chase Savings                                                    172                                   25.17                 30.17
 Total                                                                                                $116.70                $65.83


 TOTAL ASSETS                                                                                         $116.70                $65.83




                                                                                                                         4685


ICHECKING SUMMARY I                                                           AMOUNT
 Beginning Balance                                                            $91.53
 Deposits and Additions                                                     4,730.67
 ATM & Debit Card Withdrawals                                                 -909.91
 Electronic Withdrawals                                                     -3,864.63
 Fees                                                                          -12.00
 Ending Balance                                                               $35.66




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        CHASEO                                                                    October 22, 2019through November 21, 2019
                                                                                    Primary Account: • • • • •685          1




Your account ending in 4172 is linked to this account for overdraft protection.


ITRANSACTION DETAIL!
DATE       DESCRIPTION                                                                              AMOUNT                 BALANCE
             Beginning Balance                                                                                                 $91.53
10/22      Card Purchase         10/20 Aldi 75046 Wilie TX Card 4822                                  -7.47                     84.06
10/24      Recurring Card Purchase 10/24 Molina Healthcare Inc 888-560-2025 TX                       -39.73                     44.33
           Card 4822
10/25      ATM Cash Deposit        10/25 1204 Anael Pkwy Allen TX Card 4822                         500.00                     544.33
10/25      Quickeai With Zelle Payment To Naazi Khana Jpm284859212                                   -15.00                    529.33
10/28      Paipal       Transfer             PPD ID: Paypalsd11                                       30.67                    560.00
10/28      Card Purchase         10/26 Kr~er 0578 Wylie TX Card 4822                                 -35.06                    524.94
10/28      Wan Xina Ke Ji J lat Paypal 1006983210793 Web ID: 770510487C                              -37.83                    487.11
10/28      Paieal       Inst Xfer Adobe Inc     Web ID: Paipalsi77                                  -10.81                     476.30
10/29      Card Purchase         10/28 Grayson-Collin Elect Graysoncollin TX Card                  -365.52                     110.78
           4822
10/29      Paieal        Inst Xfer 2Checkoutco Web ID: Paypalsi77                                    -64.25                     46.53
11/01      ATM Cash Deposit         11/01 190 E Staci Rd Allen TX Card 4822                         700.00                     746.53
11/01      lga Foundation D ACH Debit 5230375964          WeblD:9200502236                         -515.00                     231.53
11/04      Card Purchase          11/01 Taraet      00025163 Allen TX Card 4822                       -2.88                    228.65
11/04      Card Purchase          11/01 Chick-Fil-A #02354 Allen TX Card 4822                         -5.52                    223.13
11/04      Card Purchase          11/02 Apple.Com/Bill 866-712-7753 CA Card 4822                      -3.24                    219.89
11/04      Card Purchase          11/02 Chick-Fil-A #02354 Allen TX Card 4822                         -9.09                    210.80
11/04      Card Purchase          11/03 Amzn Mktp US*Kc2Rc8W Amzn.Com/Bill WA                        -32.46                    178.34
           Card 4822
11/04      Card Purchase          11/03 Taco Bell# '032187 Allen TX Card 4822                         -5.61                    172.73
11/04      Card Purchase With Pin 11/03 Old Navi US 3389 Garland TX Card 4822                        -27.70                    145.03
11/04      Card Purchase          11/03 Kr~er 0578 Wilie TX Card 4822                                 -8.77                    136.26
11/04      Card Purchase          11/03 Taco Bell# '032187 Allen TX Card 4822                         -3.67                    132.59
11/04      Recurring Card Purchase 11/01 Cts*Frontier Onlinepa 800-921-8101 CT                       -67.91                     64.68
           Card 4822
11/05      Deposit     1905681932                                                                 3,000.00             3,064.68
11/05      Card Purchase          11/04 Wendts #11493 Lucas TX Card 4822                             -5.49             3,059.19
11/05      11/05 Online Payment 8829394433 To Mr Cooper New Morta9e 2019                         -1,800.00             1,259.19
11/05      Capital One     Online Pmt 930939910430677 Web ID: 9279744991                           -200.00             1,059.19
11/05      Best Bui       Auto Pymt 723085241260063 Web ID: Citiautfdr                              -28.00             1,031.19
11/06      Card Purchase          11/05 TJmaxx #0258 Plano TX Card 4822                             -87.38               943.81
11/06      Card Purchase          11/05 Ta!:aet     00025163 Allen TX Card 4822                     -59.47               884.34
11/06      Card Purchase          11/05 Wendy's #11493 Lucas TX Card 4822                            -9.50               874.84
11/07      11/07 Online Pa~ment 8731520719 To Best Bui                                              -50.00               824.84
11/12      Chase Credit Crd Autoeai                PPDID:4760039224                                -100.00               724.84
11/12      Recurring Card Purchase 11/09 Fsi*Coserv 800-274-4014 TX Card 4822                       -43.00               681.84
11/14      Card Purchase          11/13 Amzn Mktp US*Km2285E Amzn.Com/Bill WA                       -23.95               657.89
           Card 4822
11/14      Best Bui       Paiment 203118873565734 Tel ID: Citiaeufdr                               -261.00                     396.89
11/15      11/15 Transfer To Sav Xxxxx4172                                                           -5.00                     391.89
11/15      Capital One     Crcardpmt 931830180185622 Web ID: 9541719018                             -50.00                     341.89
11/18      ATM Cash Deposit         11/18 161 W Spring Creek Pkwy Plano TX Card                     500.00                     841.89
           4822
11/18      Quickpay With Zelle Paiment To Cleaning 8873376112                                      -220.00                     621.89
11/18      City of Parker Parker                PPD ID: 751382954                                  -507.74                     114.15

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        CHASEO                                                                            October 22, 2019throughNovember21, 2019
                                                                                            Primary A c c o u n ~




!TRANSACTION                 DETAILj_~_co_nt_inu_e_dJ_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

DATE         DESCRIPTION                                                                                    AMOUNT                BALANCE
11/19        Card Purchase With Pin 11/19 Wm Superc Wal-Mart Sup Lucas TX Card                                  -65.41              48.74
             4822
                                                                                                                                               ="'
11/19        Card Purchase With Pin 11 /19 Wal-Mart #5672 Lucas TX Card 4822                                     -1.08                 47.66   = "'
                                                                                                                                               ====8
                                                                                                                                                   §
11/21        Monthly Service Fee
               Ending Balance

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?
                                                                                                                -12.00                 35.66
                                                                                                                                      $35.66
                                                                                                                                               __
                                                                                                                                               ====~
                                                                                                                                               ====~
                                                                                                                                               ====~...,
                                                                                                                                               =r--
                                                                                                                                               = 8
                                                                                                                                               ~~
A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (Your total direct deposits this period were $30.67. Note: some deposits may be listed on your previous statement)

•      OR, keep a minimum daily balance in this checking account of $1,500.00 or more.
       (Your minimum daily balance was $44.33)

•      OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
       (Your average daily balance of qualifying linked deposits and investments was $422.68)

       Talk to a banker about transferring your balances to Chase today!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYj
                                                                                                    Total for                      Total
                                                                                                 This Period                Year-to-date
Total Overdraft Fees *                                                                                  $.00                     $34.00
Total Returned Item Fees                                                                                $.00                           $.00

• Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




     SAVINGS SUMMARY
                                                                                       AMOUNT
    Beginning Balance                                                                   $25.17
    Deposits and Additions                                                               5.00
    Ending Balance                                                                     $30.17

    Annual Percentage Yield Earned This Period                                         0.00%




                                                                                                                         Page 3 of6
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        CHASEO                                                                                 October 22, 2019through November 21, 2019
                                                                                                  Primary A c c o u n t : - 4 6 8 5




ITRANSACTION DETAIL!
DATE        DESCRIPTION                                                                                            AMOUNT                     BALANCE
              Beginning Balance                                                                                                                $25.17
11/15       Transfer From Chk Xxxxx4685                                                                                5.00                     30.17
              Ending Balance                                                                                                                   $30.17




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompUy. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC


                                                                                            '5l      JPMorgan Chase Bank, N.A. Member FDIC




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      CHASEO                                                                        October 22, 2019through November 21, 2019
                                                                                       Primary Account:




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
                                                                                                                                     ====
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:
                                                                                                                                     -=
                                                                                                                                     --
         1.
         2.
              We have standard overdraft practices that come with your account.
              We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
                                                                                                                                     =
                                                                                                                                     =
              than our standard overdraft practices. You can contact us to learn more.


This notice explains our standard overdraft practices.


              What are the standard overdraft practices that come with my account?
              We do authorize and pay overdrafts for the following types of transactions:
               •   Checks and other transactions made using your checking account number
               •   Recurring debit card transactions


               We do not authorize and pay overdrafts for the following types of transactions, unless you ask us to
               (see below):
                    Everyday debit card transactions


               We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
               any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


               What fees will I be charged if Chase pays my overdraft?
               Under our standard overdraft practices:
               •   If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                   account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
               •   We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


              We waive fees for some account types:

                   For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                   items(s) are presented or withdrawal request(s) are made against an account with insufficient funds on four
                   or fewer business days in the past 12 months.

                   For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


              What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
              If you or a joint account owner would like to change your selection, sign in to chase.com to update your account
              settings, or call us at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a Chase branch.
              We accept operator relay calls.




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CHASEO                                                        October 22, 2019through November 21, 2019
                                                                Primary Account: ■■■■■14685




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      CHASEO                                                                      September 21, 2019through October 21, 2019
      JPMorgan Chase Bank, NA
      PO Box 182051                                                                    Primary Account:a•••-4685
      Columbus, OH 43218-2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Website:                           Chase.com
                                                                                Service Center:              1-800-935-9935
     00006722 DRE 201 210 29519 NNNNNNNNNNN 1 000000000 34 0000                 Deaf and Hard of Hearing:    1-800-242-7383
     FATIMA ALI                                                                 Para Espanol:                1-877-312-4273
     1901 EASTFORK LN                                                           International Calls:         1-713-262-1679
     WYLIE TX 75098-7754




Good news! We're making it easier to get a replacement account number if your account is
compromised.
Starting November 17, 2019, if your account is compromised, we can simply issue you a replacement account number
without the hassle of closing your existing account and opening a new one. This will allow you to continue using your existing
debit carcl.

We've updated our Deposit Account Agreement to explain this change:

         We can assign and transfer your account information and documentation to a replacement account number at our
         discretion. We may make this assignment when your account is reported compromised by you or any signer. If we
         issue you a replacement account number, this Deposit Account Agreement governing you and your account will
         continue to apply, without interruption, as if you retained the discontinued account number.

Please call us at the number at the top of this statement if you have any questions.




 ASSETS
 Checking & Savings                                           ACCOUNT                        BEGINNING BALANCE        ENDING BALANCE
                                                                                                    THIS PERIOD           THIS PERIOD
 Chase Total Checking                                              685                               $1,087.89                 $91.53
 Chase Savings                                                     172                                    20.17                  25.17
 Total                                                                                               $1,108.06               $116.70


 TOTAL ASSETS                                                                                        $1,108.06               $116.70




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        CHASEO                                                                      September 21, 2019through October 21, 2019
                                                                                       Primary Account: ■■■■■4685




ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,087.89
 Deposits and Additions                                                        5,396.66
 Checks Paid                                                                  -1,065.49
 ATM & Debit Carel Withdrawals                                                -1,643.43
 Electronic Withdrawals                                                       -3,672.10
 Fees                                                                            -12.00
 Ending Balance                                                                   $91.53


Your account ending in 4172 is linked to this account for overdraft protection.


ICHECKS PAIDI
CHECK NUMBER                      DATE                                      AMOUNT
                                  PAID
256 A                             09/24                                     $265.49
296 * A                           10/18                                      400.00
346 * A                           09/23                                      400.00
Total Checks Paid                                                        $1,065.49
If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
" An image of this check may be available for you to view on Chase.com.


!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE       DESCRIPTION                                                                                AMOUNT                BALANCE
             Beginning Balance                                                                                         $1,087.89
09/23      Card Purchase         09/20 Nordstrom #0724 Frisco TX Card 4822                              -4.32           1,083.57
09/23      Card Purchase        09/20 Nordstrom #0724 Frisco TX Carel 4822                              -1.08           1,082.49
09/23      Card Purchase        09/20 Subway       00346163 Frisco TX Card 4822                         -7.57           1,074.92
09/23      Check                 #346                                                                 -400.00             674.92
09/23      Recurring Carel Purchase 09/22 Netflix.Com Netflix.Com CA Card 4822                         -14.06             660.86
09/23      Paypal       Inst Xfer 360Training Web ID: Paypalsi77                                        -7.00             653.86
09/24      Check                 #256                                                                 -265.49             388.37
09/24      Recurring Carel Purchase 09/24 Molina Healthcare Inc 888-560-2025 TX                        -39.73             348.64
           Card 4822
09/24      Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                                       -38.97                309.67
09/25      Card Purchase         09/24 Murphy Express 8722 Allen TX Card 4822                           -3.23                306.44
09/25      Card Purchase         09/24 Murphy Express 8722 Allen TX Card 4822                          -60.72                245.72
09/25      Quickpay With Zelle Payment To Sani 8681479518                                             -100.00                145.72

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        CHASEO                                                             September 21, 2019through October 21, 2019
                                                                             Primary Account:                   4685




!TRANSACTION            DETAILl_~_co_nt,_·nu_ed_~----------------
DATE      DESCRIPTION                                                                           AMOUNT               BALANCE
09/26    Card Purchase With Pin 09/26 Wm Superc Wal-Mart Sup Lucas TX Card                       -8.58                137.14
         4822                                                                                                                  =
09/27    Card Purchase         09/26 Whataburger 975 Murphy TX Card 4822                       -2.91               134.23
                                                                                                                               =..,
                                                                                                                               =CPg
09/27    Card Purchase         09/26 Wendy's #11493 Lucas TX Card 4822                         -8.41               125.82      =o
                                                                                                                               ====8
09/27    Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                                -27.06                98.76      ====~
                                                                                                                               ~g
09/30    ATM Cash Deposit        09/30 819 S Allen Heights DR Allen TX Card 4822            3,000.00             3,098.76      ===~
                                                                                                                               --"'
                                                                                                                               =   ...
09/30    Card Purchase
         Card 4822
                               09/29 Amzn Mktp US*B49T357 Amzn.Com/Bill WA                    -13.95             3,084.81      ====~
                                                                                                                               ~ ~

09/30    Card Purchase         09/29 Wendy's #11493 Lucas TX Card 4822                           -9.06           3,075.75
10/02    Card Purchase         09/30 Kroger 0578 Wylie TX Card 4822                             -65.61           3,010.14
10/02    Card Purchase         10/01 Apl*ltunes.Com/Bill 866-712-7753 CA Card                    -5.39           3,004.75
         4822
10/02    Card Purchase         10/01 Panera Bread #601404 Allen TX Card 4822                  -14.08             2,990.67
10/02    lqa Foundation DACH Debit 5227429311          Web ID: 9200502236                    -515.00             2,475.67
10/03    10/02 Online Payment 8709609765 To Kohls                                             -30.00             2,445.67
10/03    10/02 Online Payment 8709610328 To Mr Cooper New Mortage 2019                     -1,900.00               545.67
10/03    Card Purchase         10/03 Amzn Mktp US*N53Ux4U Amzn.Com/Bill WA                     -9.21               536.46
         Card 4822
10/03    Card Purchase         10/03 Audible US*Un7Fp1Jy3 888-283-5051 NJ Card                  -16.18                520.28
         4822
10/03    Card Purchase With Pin 10/03 Wm Superc Wal-Mart Sup Lucas TX Card                      -48.94                471.34
         4822
10/03    Card Purchase With Pin 10/03 Racetrac 79 Murphy TX Card 4822                           -52.60                418.74
10/04    Card Purchase         10/03 Party City 219 Plano TX Card 4822                          -20.37                398.37
10/04    Card Purchase         10/03 Cts*Frontier Onlinepa 800-921-8101 CT Card                 -78.62                319.75
         4822
10/04    Card Purchase         10/03 Sonrisa Dental Clinic Irving TX Card 4822                  -60.00             259.75
10/07    Card Purchase         10/06 Wendy's #11493 Lucas TX Card 4822                          -30.13             229.62
10/07    Card Purchase         10/06 Qt 926      08009268 Allen TX Card 4822                    -11.73             217.89
10/07    Best Buy      Auto Pymt 723059320570124 Web ID: Citiautfdr                             -28.00             189.89
10/08    Card Purchase Return 10/07 Journeys 080270 Allen TX Card 4822                         97.41               287.30
10/08    Remote Online Deposit           1                                                    850.00             1,137.30
10/08    Card Purchase         10/07 India Bazaar Plano Plano TX Card 4822                    -28.02             1,109.28
10/08    Card Purchase         10/07 Journeys 080270 Allen TX Card 4822                       -16.24             1,093.04
10/08    Card Purchase         10/07 Coca Cola Buckner Dallas TX Card 4822                     -1.75             1,091.29
10/09    Card Purchase         10/07 Chick-Fil-A #02354 Allen TX Card 4822                    -21.55             1,069.74
10/09    Card Purchase         10/08 Target      00025502 Wylie TX Card 4822                 -117.37               952.37
10/09    Card Purchase         10/08 Target      00025502 Wylie TX Card 4822                  -13.51               938.86
10/09    10/09 Online Payment 862584641 OTo Best Buy                                          -50.00               888.86
10/09    Card Purchase With Pin 10/09 Desi Bazaar Allen TX Card 4822                          -19.59               869.27
10/10    Card Purchase         10/09 Spice Thai Cafe 214-383-3366 TX Card 4822                -25.28               843.99
10/11    Card Purchase         10/10 Wendy's #11493 Lucas TX Card 4822                           -7.23             836.76
10/15    Card Purchase Return 10/14 Kroger Fuel Ctr 1578 Wylie TX Card 4822                     1.00               837.76
10/15    Card Purchase         10/11 Grayson-Collin Elect Graysoncollin TX Card              -408.04               429.72
         4822
10/15    Card Purchase         10/11 Fsi*Coserv 800-274-4014 TX Card 4822                       -68.00                361.72
10/15    Card Purchase         10/11 Wholefds Fvw 10358 Fairview TX Card 4822                   -24.99                336.73
10/15    Card Purchase         10/11 Sally Beauty #2922 Allen TX Card 4822                      -16.40                320.33
10/15    Card Purchase         10/11 Wendy's #11493 Lucas TX Card 4822                           -3.88                316.45
10/15    Card Purchase         10/12 Asia Salon Murphy TX Card 4822                             -11.00                305.45
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           CHASEO                                                                     September 21, 2019through October 21, 2019
                                                                                        Primary Account: ■■■■■4685




!TRANSACTION DETAILl_f_co_nt,_·nu_ed_)_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    DATE      DESCRIPTION                                                                               AMOUNT                  BALANCE
10/15        Card Purchase         10/13 Amzn Mktp US*Sj0J44G Amzn.Com/Bill WA                           -18.36                  287.09
             Card 4822
10/15        Card Purchase         10/13 Apl* ltunes.Com/Bill 866-712-7753 CA Card                        -6.46                  280.63
             4822
10/15        Card Purchase         10/13 Kroger 0578 Wylie TX Card 4822                                  -55.29                   225.34
10/15        Card Purchase         10/13 Kroger Fuel Ctr 1578 Wylie TX Card 4822                         -51.79                   173.55
10/15        10/15 Transfer To Sav Xxxxx4172                                                               -5.00                  168.55
10/15        Chase Credit Crd Autopay               PPD ID: 4760039224                                  -100.00                    68.55
10/15        Capital One    Crcardpmt 928730180342256 Web ID: 9541719018                                 -50.00                    18.55
10/16        Deposit    1905631523                                                                     1,400.00                 1,418.55
10/17        Card Purchase         10/16 Wendy's #11493 Lucas TX Card 4822                                -5.06                 1,413.49
10/18        10/17 Online Payment 8761879337 To Best Buy                                                -300.00                 1,113.49
10/18        10/17 Online Payment 8761880709 To Capital One                                             -300.00                   813.49
10/18        Check                 # 296                                                                -400.00                   413.49
10/18        T-Mobile      Handset 7770980           WeblD:0000450304                                   -150.67                   262.82
10/21        Card Purchase Return 10/18 Target         00025502 Wylie TX Card 4822                        48.25                   311.07
10/21        Card Purchase         10/18 Target      00025502 Wylie TX Card 4822                         -51.84                   259.23
10/21        Card Purchase         10/18 Kroger 0578 Wylie TX Card 4822                                  -34.60                   224.63
10/21        Card Purchase         10/19 Taco Bell# '032187 Allen TX Card 4822                           -10.10                   214.53
10/21        Card Purchase         10/21 Apl*ltunes.Com/Bill 866-712-7753 CA Card                         -5.39                   209.14
             4822
10/21        Card Purchase         10/20 Dollar Tree Wylie TX Card 4822                                  -25.98                  183.16
10/21        Card Purchase         10/20 Target      00025502 Wylie TX Card 4822                           -2.05                 181.11
10/21        Card Purchase         10/20 Target      00025502 Wylie TX Card 4822                          -7.18                  173.93
10/21        Maryam Yasin     lat Paypal 1006900520701 Web ID: 770510487C                                -35.40                  138.53
10/21        Chase Credit Crd Autopay               PPD ID: 4760039224                                   -35.00                  103.53
10/21        Monthly Service Fee                                                                         -12.00                   91.53
              Ending Balance                                                                                                     $91.53

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (You did not have a direct deposit this statement period)

       One of our bankers can help you set up direct deposit in just a few minutes.

•     OR, keep a minimum daily balance in this checking account of $1,500.00 or more.
      (Your minimum daily balance was $18.55)

•     OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
      (Your average daily balance of qualifying linked deposits and investments was $815.07)

       Talk to a banker about transferring your balances to Chase today!

Stop in today and explore all Chase has to offer.




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        CHASEO                                                                                September 21, 2019through October 21, 2019
                                                                                                  Primary Account-4685




!OVERDRAFT AND RETURNED ITEM FEE SUMMARY!
                                                                                                           Total for
                                                                                                        This Period
                                                                                                                                        Total
                                                                                                                                 Year-to-date
                                                                                                                                                        -
                                                                                                                                                        =
                                                                                                                                                        iiiii



                                                                                                                                                        _
                                                                                                                                                        -~
Total Overdraft Fees*                                                                                          $.00                    $34.00           -8
Total Returned Item Fees                                                                                       $.00                      $.00           -§
                                                                                                                                                        -       §
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees

                                                                                                                                                        =~
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                                                                                                                                             1172



   SAVINGS SUMMARY
                                                                                         AMOUNT
 Beginning Balance                                                                        $20.17
 Deposits and Additions                                                                      5.00
 Ending Balance                                                                           $25.17

 Annual Percentage Yield Earned This Period                                               0.00%

!TRANSACTION DETAIL!
 DATE       DESCRIPTION                                                                                            AMOUNT                 BALANCE
              Beginning Balance                                                                                                            $20.17
10/15       Transfer From Chk Xxxxx4685                                                                                5.00                 25.17
              Ending Balance                                                                                                               $25.17




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts} to do this, we will credit your account for the amount you think is in error so that you will have use ofthe money during the time it takes
us to complete our investigation
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
 incorrect or if_you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
 JPMorgan Chase Bank, N.A. Member FDIC

                                                                                            @          JPMorgan Chase Bank, N.A. Member FDIC
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CHASEO                                                        September 21, 2019through October 21, 2019

                                                                Primary Account: ■■■■■14685




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         CHASEO                                                                August 21, 2019throughSeptember 20, 2019
      JPMorgan Chase Bank, NA
      PO Box 182051                                                              Primary Accouni:■■■■■,4685
      Columbus, OH 43218-2051

                                                                            CUSTOMER SERVICE INFORMATION
                                                                            Website:                           Chase.com
                                                                            Service Center:              1-800-935-9935
     00006770 DRE 201 21026419 NNNNNNNNNNN 1 000000000 34 0000              Deaf and Hard of Hearing:    1-800-242-7383




                                                                                                                                    -=§
     FATIMA ALI                                                             Para Espanol:                1-877-312-4273             .............
     1901 EASTFORK LN
     WYLIE TX 75098-7754
                                                                            International Calls:         1-713-262-1679
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Good news! We've made it easier to waive the $5 Monthly Service Fee for your Chase
Savings 8 M account
We now waive this fee when you make $25 or more in total Autosave or other repeating automatic transfers from your
personal Chase checking account or Chase Liquid ® Card to your Chase Savings account during each monthly statement
period.

You can set up Autosave in the Chase Mobile® app or on chase.com. To learn more about Autosave visit
chase.com/personal/checking/savings-program.

As a reminder, you won't be charged a Monthly Service Fee when you have one of the following in your Chase Savings
account during each monthly statement period:
        A balance at the beginning of each day of $300 or more in this account;
        OR, $25 or more in total Autosave or other repeating automatic transfers from your personal Chase checking
        account or Chase Liquid Card;
        OR, a Chase College Checking SM account linked to this account for Overdraft Protection
        OR, an account owner who is an individual younger than 18;
        OR, a linked Chase Better Banking® Checking, Chase Premier Checking SM, Chase Premier Plus Checking SM,
         Chase Sapphire 8 M Checking, or Chase Private Client Checking SM account.

Please call us at the number on this statement if you have any questions.

~-µ
 ASSETS
 Checking & Savings                                          ACCOUNT                    BEGINNING BALANCE         ENDING BALANCE
                                                                                               THIS PERIOD            THIS PERIOD
 Chase Total Checking                                            685                                 -$1.35            $1,087.89
 Chase Savings                                                   172                                    9.28               20.17
 Total                                                                                                $7.93            $1,108.06


 TOTAL ASSETS                                                                                        $7.93             $1,108.06




                                                                                                         Page 1 of 6
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        CHASEO                                                                       August 21, 2019through September 20, 2019
                                                                                       Primary Account:-4685




                                                                                                                                   685


ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                                -$1.35
 Deposits and Additions                                                        7,262.18
 Checks Paid                                                                    -525.00
 ATM & Debit Card Withdrawals                                                   -789.09
 Electronic Withdrawals                                                       -4,812.85
 Fees                                                                            -46.00
 Ending Balance                                                              $1,087.89


Your account ending in 4172 is linked to this account for overdraft protection.


I CHECKS PAIDI
CHECK NUMBER                      DATE                                      AMOUNT
                                  PAID
344 /\                            08/30                                    $515.00
345 /\                            08/30                                      10.00
Total Checks Paid                                                          $525.00
If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
/\ An image of this check may be available for you to view on Chase.com.


!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE       DESCRIPTION                                                                                 AMOUNT                  BALANCE
             Beginning Balance                                                                                                  -$1.35
08/21      ODP Transfer From Savings 000009286454172                                                      1.35                    0.00
08/26      Recurring Card Purchase 08/25 Molina Healthcare Inc 888-560-2025 TX                          -39.73                  -39.73
           Card 4822
08/26      Insufficient Funds Fee For A $39.73 Recurring Card Purchase - Details:                       -34.00                  -73.73
           0825Molina Healthcare Inc 888-560-2025 TX04347692029944822
           01
08/27      ATM Cash Deposit          08/27 206 W Fm 544 Murphy TX Card 4822                            450.00                376.27
08/28      Quickpay With Zelle Payment From Arlene Meenan Wfct06R3Fchw                                 500.00                876.27
08/29      Quickpay With Zelle Payment From Arlene Moonan Wfct06R7Bsbw                                 500.00              1,376.27
08/29      Card Purchase           08/27 Asia Salon Murphy TX Card 4822                                -15.00              1,361.27
08/29      Card Purchase           08/27 Chick-Fil-A #02493 Murphy TX Card 4822                        -11.90              1,349.37
08/29      T-Mobile        Handset 0044229           Web ID: 0000450304                               -155.31              1,194.06
08/30      Card Purchase           08/29 Target      00025502 Wylie TX Card 4822                       -58.35              1,135.71
08/30      Card Purchase           08/29 Wal-Mart #5672 Allen TX Card 4822                             -13.50              1,122.21
08/30      Check                   #344                                                               -515.00                607.21
08/30      Paypal         Inst Xfer Lifetouchns Web ID: Paypalsi77                                     -35.72                571.49
08/30      Check                   #345                                                                -10.00                561.49
                                                                                                                 Page 2 of 6
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        CHASEO                                                              August 21, 2019through September 20, 2019
                                                                              Primary Accouni: ■■■■■,4685




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!TRANSACTION DETAILi-1_ < c o _ n t _ i n u _ e d _ ~ - - - - - - - - - - - - - - - -                                          ...........
 DATE     DESCRIPTION                                                                        AMOUNT                  BALANCE   ======
09/03    Card Purchase         09/02 Target      00025163 Allen TX Card 4822                    -6.37              555.12
                                                                                                                               ~
09/04    Card Purchase         09/03 Kroger 0578 Wylie TX Card 4822                            -24.61              530.51      &iii..,
                                                                                                                               --8
09/05    Best Buy      Auto Pymt 723032537100207 Web ID: Citiautfdr                            -28.00              502.51      -§
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                     -14.99              487.52      !!!!!!!!!!! §
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                     -20.00              467.52      ~I"
                                                                                                                               -     i! '
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                      -3.52              464.00      !!!!!!
                                                                                                                               _ . , _8
09/06
09/09
09/09
         Paypal
         Deposit
                      Inst Xfer Uzmazafarul Web ID: Paypalsi77
                    1888010786
         Card Purchase         09/06 Apl*ltunes.Com/Bill 866-712-7753 CA Card
                                                                                               -10.00
                                                                                            5,000.00
                                                                                                -3.24
                                                                                                                   454.00
                                                                                                                 5,454.00
                                                                                                                 5,450.76
                                                                                                                               --
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                                                                                                                               iiiiiiii 8


         4822
09/09    09/09 Online Payment 8515955149 To Best Buy                                          -50.00             5,400.76
09/09    09/09 Payment To Chase Card Ending IN 3455                                          -500.00             4,900.76
09/09    09/09 Payment To Chase Card Ending IN 3570                                          -200.00             4,700.76
09/09    09/09 Online Payment 8627118964 To Kohls                                            -100.00             4,600.76
09/09    09/09 Online Payment 8627120004 To Mr Cooper New Mortage 2019                     -1,900.00             2,700.76
09/09    09/09 Online Payment 8627123304 To Best Buy                                         -300.00             2,400.76
09/09    Capital One    Online Pmt 925239910567273 Web ID: 9279744991                        -450.00             1,950.76
09/10    Remote Online Deposit           1                                                    800.00             2,750.76
09/10    Paypal       Inst Xfer Usti Epay     Web ID: Paypalsi77                             -160.77             2,589.99
09/11    Card Purchase         09/10 Wal-Mart #5672 Allen TX Card 4822                         -1.05             2,588.94
09/11    Card Purchase         09/10 Subway       00579490 Lucas TX Card 4822                  -2.17             2,586.77
09/11    Card Purchase         09/10 Ulta #1489 Wylie TX Card 4822                            -65.71             2,521.06
09/11    Chase Credit Crd Autopay 000000000167649 PPD ID: 4760039224                         -100.00             2,421.06
09/12    09/12 Payment To Chase Card Ending IN 3570                                          -202.07             2,218.99
09/12    09/12 Payment To Chase Card Ending IN 3455                                          -400.00             1,818.99
09/13    Card Purchase         09/12 Murphy Express 8722 Allen TX Card 4822                   -52.58             1,766.41
09/13    Card Purchase         09/12 Journeys 080270 Allen TX Card 4822                      -108.22             1,658.19
09/13    Card Purchase         09/12 Coca Cola Buckner Dallas TX Card 4822                     -2.00             1,656.19
09/13    Card Purchase         09/12 Coca Cola Buckner Dallas TX Card 4822                     -1.75             1,654.44
09/13    Card Purchase         09/12 Target     00025163 Allen TX Card 4822                   -31.29             1,623.15
09/13    Card Purchase         09/12 Target     00025163 Allen TX Card 4822                   -11.77             1,611.38
09/13    Card Purchase         09/12 Taco Bell #29889 Allen TX Card 4822                       -9.26             1,602.12
09/13    Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                                -12.99             1,589.13
09/16    Card Purchase         09/13 Kroger 0578 Wylie TX Card 4822                           -19.51             1,569.62
09/16    Card Purchase        09/14 Taco Bell #027875 Mckinney TX Card 4822                   -26.78             1,542.84
09/16    Card Purchase        09/14 Taco Bell #027875 Mckinney TX Card 4822                    -1.08             1,541.76
09/16    09/16 Transfer To Sav Xxxxx4172                                                       -5.00             1,536.76
09/16    Card Purchase With Pin 09/16 Wal-Mart #6078 Wylie TX Card 4822                       -19.28             1,517.48
09/16    Capital One    Crcardpmt 925730180193522 Web ID: 9541719018                          -50.00             1,467.48
09/17    Card Purchase         09/16 India Bazaar Plano Plano TX Card 4822                    -26.66             1,440.82
09/17    Card Purchase         09/16 Oasis International Mar Plano TX Card 4822               -48.11             1,392.71
09/18    Card Purchase         09/16 Asia Salon Murphy TX Card 4822                           -15.00             1,377.71
09/18    Card Purchase         09/16 Academic Outfitters Plano TX Card 4822                   -70.37             1,307.34
09/18    Card Purchase         09/17 Agha Juice Plano TX Card 4822                            -14.58             1,292.76
09/18    Card Purchase         09/17 Apl*ltunes.Com/Bill 866-712-7753 CA Card                   -5.40            1,287.36
         4822
09/18    T-Mobile      Handset 5562882          WeblD:0000450304                             -152.99             1,134.37
09/20    Card Purchase Return 09/19 Target          00025502 Wylie TX Card 4822                10.83             1,145.20

                                                                                                        Page 3 of6
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        CHASEO                                                                            August 21, 2019through September 20, 2019
                                                                                            Primary Account: ■■■■-4885




!TRANSACTION DETAILj                          (continued)

 DATE        DESCRIPTION                                                                                    AMOUNT                   BALANCE
09/20        Card Purchase       09/19 Target   00025502 Wylie TX Card 4822                                    -28.81            1,116.39
09/20        Card Purchase       09/20 Amzn Mktp US*Xd24Q71 Amzn.Com/Bill WA                                   -16.50            1,099.89
             Card 4822
09/20        Monthly Service Fee                                                                               -12.00            1,087.89
              Ending Balance                                                                                                    $1,087.89

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (You did not have a direct deposit this statement period)

       One of our bankers can help you set up direct deposit in just a few minutes.

•      OR, keep a minimum daily balance In this checking account of $1,500.00 or more.
       (Your minimum daily balance was -$73.73)

•      OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
       (Your average daily balance of qualifying linked deposits and investments was $859.19)

       Talk to a banker about transferring your balances to Chase today!

Stop In today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARY!
                                                                                                   Total for                      Total
                                                                                                This Period                Year-to-date
Total Overdraft Fees*                                                                               $34.00                      $34.00
Total Returned Item Fees                                                                               $.00                        $.00

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                                                        4172


     SAVINGS SUMMARY
                                                                                       AMOUNT
    Beginning Balance                                                                   $9.28
    Deposits and Additions                                                              12.24
    Other Withdrawals                                                                   -1.35
    Ending Balance                                                                     $20.17

    Annual Percentage Yield Earned This Period                                         0.00%

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        CHASEO                                                                                 August 21, 2019through September 20, 2019
                                                                                                   Primary Account:                   1685



!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE        DESCRIPTION                                                                                               AMOUNT           BALANCE
              Beginning Balance                                                                                                             $9.28
08/21
09/03
            ODP Transfer To Checking 000004420754685
            Remote Online Deposit       1
                                                                                                                       -1.35
                                                                                                                        7.24
                                                                                                                                             7.93
                                                                                                                                            15.17
                                                                                                                                                         -====
09/16       Transfer From Chk Xxxxx4685                                                                                 5.00                20.17
              Ending Balance                                                                                                               $20.17        -ra
                                                                                                                                                            8
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IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
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incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. lfwe take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, N.A. Member FDlC

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                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                        August 21, 2019through September 20, 2019
                                                                Primary Account:■■■■■•685




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         9.
    Debtor has no
    employment
   agreement with
       Eagle
     Protections
     Group, Inc.
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                     Compan~ Code     Loc/i. _,_ Number Page                                Earnings Sl.... .:ement
                     RN /W3 20987851 01/         19846  1 of 1
                     EAGLE PROTECTIVE GROUP INC
                     PO BOX 814392                                                          Period Starting:     10/07/2019
                     DALLAS, TX 75234                                                       Period Ending:       10/20/2019
                                                                                            Pay Date:            10/31/2019




                Taxable Marital Status:       Single
                Exemptions/Allowances:           Tax Override:                                          Muhammad Siddiqi
                      Federal:   O                  Federal:   10.00Addnl
                      State:     o                  State:                                              3020 Big Town Blvd
                      Local:     o                  Local:                                              Mesquite, TX 75150
                Social Security Number:       XXX-XX-XXXX


  Earnings                    rate      hours/units            this~riod    Jlearto date
  Regular                                      0.00              3500.00      77000.00
  Bonus                                                             0.00       3300.00

                 Gross Pay                                    $3,500.00     $80,300.00



                      Statuto!)l Deductions                    this ~riod   l,!earto date
                      Federal Income                             -590.87      13543.70
                      Social Security                            -217.00       4978.60
                      Medicare                                    -50.75       1164.35

                      Net Pay                                 $2,641.38




                                                                                                   Your federal taxable wages this period are $3,500.00




                                                                                                                                                    32-2/1110
                 EAGLE PROTECTIVE GROUP INC
                 PO BOX 814392
                                                                                            Payroll Check Number:       19846
                 DALLAS, TX 75234
                                                                                            Pay Date:                   10/31/2019



Pay to the
order of:           Muhammad Siddiqi
This amount:
                                                                                                                                                $2,641.38



 CHASE                          Muhammad Siddiqi
                                3020 Big Town Blvd
                                Mesquite, TX 75150
               Case 21-04077               Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                             Desc Exhibit
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                     Company Code     Loci~              ,   Number Page                    Earnings SLa(ement
                     RN /W3N 20987851 01/                    19840  1 of 1
                     EAGLE PROTECTIVE GROUP INC
                     PO BOX 814392                                                          Period Starting:     09/23/2019
                     DALLAS, TX 75234                                                       Period Ending:       10/06/2019
                                                                                            Pay Date:            10/17/2019




                Taxable Marital Status:       Single
                Exemptions/Allowances:           Tax Override:                                          Muhammad Siddiqi
                      Federal:   o                  Federal:   10.00 Addnl
                      State:     0                  State:                                              3020 Big Town Blvd
                      Local:     o                  Local:                                              Mesquite, TX 75150
                Social Security Number:       XXX-XX-XXXX


  Earnings                    rate      hours/units             this~riod    llearto date
  Regular                                      0.00               3500.00      73500.00
  Bonus                                                              0.00       3300.00

                 Gross Pay                                     $3,500.00     $76,800.00


                      Statuto!Jl Deductions                     this~riod    llearto date
                      Federal Income                              -590.87      12952.83
                      Social Security                             -217.00       4761. 60
                      Medicare                                     -50.75       1113.60

                      Net Pay                                  $2,641.38




                                                                                                   Your federal taxable wages this period are $3,500.00




                                                                                                                                                    32-2/1110
                 EAGLE PROTECTIVE GROUP INC
                 PO BOX 814392
                 DALLAS, TX 75234
                                                                                            Payroll Check Number: 19840
                                                                                            Pay Date:             10/17/2019


Pay to the
order of:           Muhammad Siddiqi
This amount:
                                                                                                                                                $2,641.38
                                                                                            VOID - NON NEGOTIABLE



 CHASE                          Muhammad Siddiqi
                                3020 Big Town Blvd
                                Mesquite, TX 75150
              Case 21-04077               Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                  Desc Exhibit
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                    Company Code     LocA             .,   Number ~                            Earnings Stacement
                    RN /W3N 20987851 01/                   19833  Ton
                    EAGLE PROTECTIVE GROUP INC
                    PO BOX 814392                                                              Period Starting:     09/09/2019
                    DALLAS, TX 75234                                                           Period Ending:       09/22/2019
                                                                                               Pay Date:            10/03/2019




               Taxable Marital Status:      Single
               Exemptions/Allowances:          Tax Override:                                               Muhammad Siddiqi
                     Federal:   o                 Federal:   10.00 Addnl
                     State:     o                 State:                                                   3020 Big Town Blvd
                     Local:     o                 Local:                                                   Mesquite, TX 75150
               Social Security Number:      XXX-XX-XXXX


   Earnings                  rate      hours/units            this~riod        year to date
   Regular                                   0.00                3500.00         70000.00
   Bonus                                                            0.00          3300.00

                Gross Pay                                    $3,500.00         $73,300.00


                     Statutoty Deductions                     this !!!;!riOd   Jlear to date
                     Federal Income                              -590.87         12361. 96
                     Social Security                             -217.00          4544.60
                     Medicare                                     -50.75          1062. 85

                     Net Pay                                 $2,641.38




                                                                                                      Your federal taxable wages this period are $3,500.00




                EAGLE PROTECTIVE GROUP INC                                                                                                             32-2/1110
                PO BOX 814392
                DALLAS, TX 75234
                                                                                               Payroll Check Number:       19833
                                                                                               Pay Date:                   10/03/2019


Pay to the
order of:          Muhammad Siddiqi
This amount
                                                                                                                                                   $2,641.38



 CHASE                         Muhammad Siddiqi
                               3020 Big Town Blvd
                               Mesquite, TX 75150
              Case 21-04077               Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                                Desc Exhibit
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                    Company Code              Loc/L    ,   Number Page                       Earnings Stacement
                    RN/W3N20987851 01/       19827                1 of1
                    EAGLE PROTECTIVE GROUP INC
                    PO BOX 814392                                                            Period Starting:     08/26/2019
                    DALLAS, TX 75234                                                         Period Ending:       09/08/2019
                                                                                             Pay Date:            09/19/2019




               Taxable Marital Status:      Single
               Exemptions/Allowances:          Tax Override:                                             Muhammad Siddiqi
                     Federal:   O                 Federal:   10.00 Addnl
                     State:     O                 State:                                                 3020 Big Town Blvd
                     Local:     o                 Local:                                                 Mesquite, TX 75150
               Social Security Number:      XXX-XX-XXXX


  Earnings                   rate      hours/units            this~riod      ~ear to date
  Regular                                    0.00                3500.00       66500.00
  Bonus                                                             0.00        3300.00

                Gross Pay                                    $3,500.00       $69,800.00


                     Statuto!Y Deductions                     this (!§riOd   Ji!earto date
                     Federal Income                             -590.87        11771. 09
                     Social Security                            -217.00         4327.60
                     Medicare                                    -50.75         1012.10

                     Net Pay                                 $2,641.38




                                                                                                    Your federal taxable wages this period are $3,500.00




                                                                                                                                                     32-2/1110
                EAGLE PROTECTIVE GROUP INC
                PO BOX 814392
                DALLAS, TX 75234
                                                                                             Payroll Check Number: 19827
                                                                                             Pay Date:             09/19/2019



Pay to the
order of:          Muhammad Siddiqi
This amount
                                                                                                                                                 $2,641.38



 CHASE                         Muhammad Siddiqi
                               3020 Big Town Blvd
                               Mesquite, TX 75150
           Case 21-04077                 Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                             Desc Exhibit
                                         I Defendants Document Request Page 190 of 196
                  Com~y Code
                  RN/
                                 Lod.. . ,
                      N 20987851 01/
                                                         Number Page
                                                         6577967 1 of 1
                                                                                          Earnings Slu(ement
                  EAGLE PROTECTIVE GROUP INC
                  PO BOX 814392                                                           Period Starting:     08/12/2019
                  DALLAS, TX 75234                                                        Period Ending:       08/25/2019
                                                                                          Pay Date:            09/05/2019




            Taxable Marital Status:       Single
            Exemptions/Allowances:           Tax Override:                                            Muhammad Siddiqi
                  Federal:   o                  Federal:   10.00Addnl
                  State:     O                  State:                                                3020 Big Town Blvd
                  Local:     o                  Local:                                                Mesquite, TX 75150
            Social Security Number:       XXX-XX-XXXX


Earnings                  rate      hours/units            this Q!!riOd    Jlearto date
Regular                                    0.00               3500.00        63000.00
Bonus                                                            0.00         3300.00

             Gross Pay                                    $3,500.00        $66,300.00

                                                                                                  Deposits
                                                                                                  account number                        transit/ASA          amount
                  StatutO[ll Deductions                    this (l!lriod   Jlearto date
                                                                                                  XXXXXX1773                           xxxxxxxxx            2641. 38
                  Federal Income                              -590.87        11180.22
                  Social Security                             -217.00         4110.60
                  Medicare                                     -50.75          961.35

                  Net Pay                                 $2,641.38




                                                                                                 Your federal taxable wages this period are $3,500.00




             EAGLE PROTECTIVE GROUP INC
             PO BOX 814392
             DALLAS, TX 75234
                                                                                          Pay Date:                   09/05/2019



             De    ited to the account                                                                                                                  amount
             Checking DirectDeposit                                                                                                                     2641. 38




                            Muhammad Siddiqi
                            3020 Big Town Blvd
                            Mesquite, TX 75150
           Case 21-04077                  Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06                                           Desc Exhibit
                                          I Defendants Document Request Page 191 of 196
                  Com~y Code       Loc/L   Number ~                                      Earnings Sla(ement
                  RN 77'120987851 01/      6544897 Ton
                  EAGLE PROTECTIVE GROUP INC
                  PO BOX 814392                                                          Period Starting:      07/29/2019
                                                                                         Period Ending:        08/11/2019
                  DALLAS, TX 75234
                                                                                         Pay Date:             08/22/2019




            Taxable Marital Status:       Single
            Exemptions/Allowances:           Tax Override:                                           Muhammad Siddiqi
                  Federal:   O                  Federal:   10.00 Addnl
                  State:     o                  State:                                               3020 Big Town Blvd
                  Local:     o                  Local:                                               Mesquite, TX 75150
            Social Security Number:       XXX-XX-XXXX


Earnings                  rate       hours/units            this ~riod    ~ear to date
Regular                                    0.00               3500.00       59500.00
Bonus                                                            0.00        3300.00

             Gross Pay                                     $3,500.00      $62,800.00
                                                                                                 Deposits
                                                                                                 account number                        transit/ABA          amount
                  Statuto!Y Deductions                      this Qgriod   ~ear to date
                                                                                                 XXXXXX.1773                          xxxxxxxxx            2641. 38
                   Federal Income                             -590.87       10589.35
                   Social Security                            -217.00        3893.60
                   Medicare                                    -50.75         910.60

                   Net Pay                                 $2,641.38




                                                                                                Your federal taxable wages this period are $3,500.00




             EAGLE PROTECTIVE GROUP INC
             PO BOX 814392                                                               Pay Date:                   08/22/2019
             DALLAS, TX 75234




             De     ited to the account                                                                                                                amount
             Checking DirectD_eposit                                                                                                                   2641. 38




                             Muhammad Siddiqi
                             3020 Big Town Blvd
                             Mesquite, TX 75150
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      10.
Debtors Passport
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Case 21-04077   Doc 16-9 Filed 01/14/22 Entered 01/14/22 21:47:06   Desc Exhibit
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             11.
          Formation
          Documents
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   Form 201                                                                           This space reserved for office use.
   ( revised 6/01)
                                                                                                                           FILED
  Return in Duplicate to:                                                                                      In the Office of the
  Secretary of State                                                                                       Secretary of State of Texas
   P.O. Box 13697
  Austin, TX 78711-3697
                                        Articles of Incorporation                                                   MAR 1 o2003
  FAX:512/463-5709
                                        Pursua nt to Article 3.02
                                             Texas Business                                                    Corporatioos Section
  Filing Fee: $300                          Cor ration Act
                                                    \rtide I        ( orporate i\ame
The name of the corporation is as set forth below:
EAGLE PROTEC TIVE GROUP , INC.
 The name must contain the word "corporation," "company," "incoipOraied;" or an abbreviation of one
                                                                                                            of these terms. The name must not
 be the same as. deceptively similar to or similar to that of an existing corporate, limited liability company,
                                                                                                                or limited partnership name on
 file with the         of state. A relimi       check for "name availabili ' is recommended.




0     B. The initial registered agent is an individual resident of the state whose name is set forth
                                                                                                                                  below:
First Name                                                M.I.          Last Name                                            Suffix.
JAMELA                                                                 SIDDIQI
C. The business address of the re
Street Address                                                                                                    ipCode
5001 SPRINGVALLEY RD., STE 400 E

The number of directors constituting the initial board of directors and the names and addresses of
                                                                                                    the
person or persons who are to serve as directors until the first annual meeting of shareholders or
                                                                                                  until
their successors are elected and ualified are set forth below:
Director 1: First Name                                       M.I.             Last Name                                          Suffix.
JAMELA                                                                       SIDDIQI
Street Address                                     City                             State                         Zip Code
5001 Springvalley Rd., Ste 400 E DALLAS                                            TEXAS                         75244
Director 2: First Name                                       M.I.             Last Name                                         Suffix


Street Address                                     City                             State                       Zip Code


Director 3: First Name                                       M.L             Last Name                                          Suffix


Street Address                                     City                             State                       Zip Code
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                                                \rtick 4 - ,\utho.-i,c ll Shan:'>

 0 A. The total number of shares the corporation is authorized to issue is
 and the par value of each of the authorized shares is $

          . The total number of s es the corporation is authorized to issue is I
         he shares shall have no arvalue.
 If the shares are to be divided into classes, you must set forth the designation of each class, the number of shares of
                                                                                                                           each
 class, the par value (or statement of no par value), and the preferences, limitations, and relative rights of each class
                                                                                                                          in the
     ce rovided for        lemental information on this fonn.




 Text Area




 (The attached addendum are incorporated herein by reference.)


                                                         lncorpora tor
 The name and address of the incorporator is set forth below.
 Name:
  JAMELA SIDDIQI
 Street Address                          City                         State                       Zip Code
 5001 Springvalley Rd., 400 E            DALLAS                       TEXAS                       75244

 t/   This document will become effective when the document is filed by the secretary of state.

     This document will become effective at a later date, which is not more than ninety (90) days from
 the date of its filin b the secre of state. The dela eel effective date is


The undersigned incorporator signs these articles of incorporation subject to the penalties imposed by
law for the submission of a false or fraudulent document.


Signature ofincorporator·
